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     1               IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF OHIO
     2                         EASTERN DIVISION
     3
          IN RE NATIONAL PRESCRIPTION          | MDL No. 2804
     4                                         |
          OPIATE LITIGATION                    | Case No. 17-MD-2804
     5                                         |
          APPLIES TO ALL CASES                 | Hon. Dan A. Polster
     6
     7                                - - -
     8                      Wednesday, April 24, 2019
     9                                - - -
   10
                       CONFIDENTIAL - SUBJECT TO FURTHER
   11
                              CONFIDENTIALITY REVIEW
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   13
                                       Volume 2
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   15
                  VIDEOTAPED DEPOSITION of MATTHEW PERRI, III,
   16     BS Pharm, Ph.D., RPh, held at Jones Day,
          1420 Peachtree Street, N.E., Suite 800, Atlanta,
   17     Georgia, commencing at 8:35 a.m., on the above date,
          before Susan D. Wasilewski, Registered Professional
   18     Reporter, Certified Realtime Reporter and Certified
          Realtime Captioner.
   19
   20
   21                               - - -
   22                     GOLKOW LITIGATION SERVICES
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   25

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    1                  ---                                   1     him?
    2      THE VIDEOGRAPHER: We are now back on the          2         MR. LADD: I think the only thing the
    3   video record with the continued deposition of        3     defendants have to add is that on the call,
    4   Matthew Perri. Today's date is April 24th, 2019.     4     Special Master Cohen did say that the questioning
    5   The time is approximately 8:35 a.m.                  5     defendants have asked so far in no way amounted
    6      THE COURT REPORTER: Let me remind you that        6     to badgering and the questions so far the
    7   you are still under oath.                            7     defendants have asked have been, quote, perfectly
    8      THE WITNESS: Thank you.                           8     legitimate.
    9      MR. CHALOS: And, Mr. Carter, before you           9         MR. CHALOS: Right, and that's, of course,
   10   start with your questions, I would like to just     10     without the benefit of having read even a rough
   11   say a quick word about our call with Special        11     transcript at that point. He was relying on the
   12   Master Cohen last night so we get that on the       12     statements of Counsel in making those rulings.
   13   record.                                             13         MS. RODGERS: And one further point: I
   14      Correct me if I get any of this wrong.           14     think Mr. Chalos agreed, and Special Master Cohen
   15      So we had, last night, shortly before            15     was on the line, that he would hold the
   16   8:00 p.m., a conference call with Special Master    16     deposition open through last night.
   17   Cohen regarding the dispute that arose here         17         MR. CHALOS: Yes, that's true, and I
   18   yesterday in connection with Mr. Perri's prior      18     considered it open regardless of the pending
   19   opinions in an unrelated case that I believe were   19     dispute, so we comported ourself accordingly and
   20   memorialized, at least in some part, in             20     consistent with the Ohio rules and other
   21   Exhibit 10, I think.                                21     applicable rules to these proceedings.
   22      And so the dispute was the extent to which       22         MATTHEW PERRI, III, BS Pharm, Ph.D., RPh,
   23   the defendants are entitled to question Mr. Perri   23   called as a witness by the Track One Defendants,
   24   about those opinions and about any related          24   having been previously duly sworn, continued to
   25   opinions he might have in connection with the       25   testify as follows:

                                               Page 362                                                       Page 364
    1   litigation we're here about today.                   1               CROSS-EXAMINATION
    2        It was the plaintiffs' position that he         2   BY MR. CARTER:
    3   should not be questioned about opinions as it        3     Q. Good morning, Dr. Perri.
    4   relates to this litigation except to the extent      4     A. Good morning.
    5   he has opinions that are expressed in his report.    5     Q. Have you heard the expression in
    6        Special Master Cohen ruled that the             6   marketingspeak that half the money spent on
    7   defendants would be entitled to ask Dr. Perri        7   marketing is wasted, but the problem is they don't
    8   about his --                                         8   know what half?
    9        And I'm sorry I called you Mr. Perri.           9     A. I have.
   10        -- that the defendants would be entitled to    10     Q. Okay. And that's a quote from earlier in
   11   ask Dr. Perri about the opinions that he            11   the Twentieth Century, correct?
   12   expressed in that prior litigation and they're      12     A. I can't attribute a time to when that
   13   entitled to ask whether he has opinions about       13   actually came from, but I do think it is a relic
   14   those areas in this case with, as I understood      14   from the past, because I think modern marketers are
   15   it, the admonishment that if his answer is he       15   a lot smarter, a lot more savvy and sophisticated,
   16   does not have opinions about certain areas in       16   and if they are wasting half their money, they are
   17   this litigation, that the witness is not to be      17   figuring out why and solving that problem.
   18   badgered or harassed in any way about those         18     Q. Now, also, in the course of your training in
   19   answers.                                            19   marketing, tell me if these numbers sound
   20        So I tried to accurately summarize his         20   approximately correct to you, that according to
   21   rulings, and I'm sure defense counsel will          21   industry estimates, the average American is exposed
   22   correct me if I have not done that.                 22   to between 300 and 1500 advertisements and
   23        MR. LADD: I think the only thing the           23   commercials a day.
   24   defendants have to add is --                        24         What about that, is that consistent?
   25        MR. CHALOS: Can y'all -- can y'all hear        25     A. It sounds about right.

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    1      Q. And then of those, only 80 are consciously           1   marketplace which marketers do not control, that's
    2   noted and only 12 result in some form of a response.       2   correct.
    3         Does that generally track the order of               3      Q. And those environmental conditions and the
    4   magnitude, in your experience?                             4   internal decision-making process of the consumer,
    5      A. It -- I think that needs to be qualified,            5   those often dictate the success or failure of a
    6   though, because the -- the issue of involvement,           6   advertising and marketing campaign; true?
    7   which is a -- kind of a big deal in marketing, and         7      A. Yes. I'd like to just add, though, that
    8   it relates to the personal level of connectedness          8   when you mention the environmental factors, I think,
    9   you have to an issue. Involvement completely               9   since we're talking about whether someone is a savvy
   10   changes those numbers.                                    10   marketer or not, being able to impact, let's say,
   11         So if you're talking about the average              11   through lobbying -- Coca-Cola can lobby with, you
   12   customer walking down the street, yeah, I could           12   know, the State legislature to create a more
   13   agree with those, but if we're talking about              13   favorable environment. So marketers do go beyond
   14   somebody that is involved in a particular issue,          14   the scope sometimes of their internal manipulation
   15   such as a disease, somebody who has high blood            15   of variables, but to the external market environment
   16   pressure and we're advertising a high blood pressure      16   as well, so just to make sure that we keep that
   17   product, you're going to get -- those numbers are         17   clear.
   18   going to jump way up.                                     18      Q. And so the external environment, in the
   19      Q. Would you agree that the quality of a               19   general sense, where they are not interacting with
   20   product and the services behind it are also               20   it and, again, those -- those factors that they
   21   important keys in the growth of a particular product      21   don't control, the consumer's response, those are
   22   use?                                                      22   key factors that often dictate the success or
   23      A. Certainly depending on the category, but            23   failure of a campaign?
   24   generally, I would agree with that, and I think           24      A. Yes, and I think that the key there, when
   25   there's another saying that's from back in the old        25   you said dictate the consumer's response, that's why

                                                       Page 366                                                        Page 368
    1   school days that you usually get what you pay for          1   the marketer has to do a good job on the production
    2   and you always get what you don't. So, yes, I would        2   side, to make sure that whatever product they are
    3   agree with that.                                           3   creating meets customer needs, because if it
    4     Q. And so even if advertising results in a               4   doesn't, as you pointed out with your question,
    5   product trial, if people's experience with that is         5   customers won't be loyal to it.
    6   not satisfactory or if the services are not up to          6     Q. Do you agree that, in psychological terms,
    7   par, advertising is not going to continue -- is not        7   people enter the advertising and marketing
    8   going to cause them to continue using something that       8   communication process with their perceptual defenses
    9   they don't have a good experience with, fair?              9   up?
   10     A. When the consumer is in the driver's seat, I         10     A. In some cases, yes, I would agree with that.
   11   think that's true, yes.                                   11     Q. Do you agree that consumers understand what
   12     Q. Okay. And just because money is spent on             12   advertising is and they have a skepticism to
   13   advertising -- there are plenty of examples of            13   advertising, they know that they are trying to be
   14   expensive marketing campaigns that have been              14   sold a product or a service?
   15   failures, correct?                                        15         MR. CHALOS: Object to the form.
   16         MR. CHALOS: Object to the form.                     16     A. Yeah, I think we have to be careful with
   17     A. I mean, I could think of a few that have             17   that one, because I think it -- it touches on an
   18   come to mind in the last decade or two.                   18   issue that is very important in healthcare
   19     Q. And so while the marketers may be able to            19   advertising, and that is, the knowledge of the
   20   control some factors -- such as product, price,           20   consumer.
   21   distribution, and forms of production -- those            21         A lot of times we'll do -- you'll get a
   22   factors interact with environmental conditions and        22   phone call, a survey or something like that that
   23   consumers that the marketer does not have control         23   comes on. You're asked a question about a product
   24   over, correct?                                            24   or a service or an experience, and you have no basis
   25     A. There are -- there are influences in the             25   for making that; yet, people answer anyway.

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    1         When we apply that to consumer purchases or          1   consumer themselves.
    2   decision-making or the way they view the                   2         Some people just have a higher tendency to
    3   advertising, which I think is what you're asking me        3   be attentive and to be critical and to be evaluative
    4   about, the -- excuse me, the problem is, is if the         4   about advertising. Others are just more accepting
    5   consumer is not knowledgeable about that area, they        5   and yielding to whatever they see or hear.
    6   don't have a basis to formulate an opinion about           6         So generally, I think it's okay to say that,
    7   whether that should be something that's trustworthy        7   but I think you have to be careful and look at the
    8   or not.                                                    8   specifics of the situation.
    9         Now, given that, I think sometimes                   9     Q. You're actually talking about something
   10   consumers -- and there -- there are different             10   slightly different, right?
   11   categories of consumers, certainly, but I think           11         In the course of purchasing a product or
   12   sometimes consumers are a bit skeptical about             12   service, there are different, like you said, levels
   13   advertising or they're distrustful of it, and that        13   of engagement; there's -- there's certain purchasing
   14   certainly applies to -- specifically to various           14   decisions that are of greater consequence than
   15   industries in specific.                                   15   others. So there are some that people spend a lot
   16         So I think generally I agree with that, but         16   of time researching and considering, and there's
   17   I think it has -- you have to be careful not to just      17   others, you know, that they may, kind of, on a whim
   18   lump everybody into one basket.                           18   or more automatically, right?
   19      Q. Okay. And so with that explanation, let's           19         MR. CHALOS: Object to the form.
   20   take it step by step.                                     20     A. So impulse purchases versus purchases
   21         As a general, broad principle, you agree            21   contemplated, yeah, there are differences between
   22   that consumers typically enter the advertising and        22   those. And again, it may sound like I'm talking
   23   marketing communication exchange with their               23   about something different, but we can't separate
   24   perceptual defenses up, they're -- they're                24   them because involvement, as a marketing issue, is
   25   recognizing that the communicator is trying to sell       25   an antecedent of all of these other behaviors that
                                                      Page 370                                                        Page 372
    1   them something, in the general sense?                      1   we're talking about. So involvement does dictate
    2         MR. CHALOS: Object to the form.                      2   whether or not a consumer is going to be more
    3     A. Yeah, I -- I think generally that the                 3   cautious in their interpretation of an ad.
    4   consumer is going to -- depending on their level of        4   Involvement does, as you pointed in your remarks,
    5   involvement, depending on the level of the impact of       5   impact the way we make our purchasing decision.
    6   the product.                                               6         So I just want to be -- I'm not disagreeing
    7         Just let me give you an example. You --              7   with you, but I just want to be very careful that we
    8   you're buying hot dogs for the baseball team to eat        8   don't just blanket say this applies to everybody all
    9   after the last game of the season. A lot goes into         9   the time.
   10   that decision, and you may see advertising for hot        10     Q. Right. And -- but the one blanket basic
   11   dogs. That's a different decision than when you are       11   point that we would make is -- and that I take it
   12   buying hot dogs to feed your family on a Tuesday          12   you'd agree with this -- in general, people
   13   evening. You may see advertising and evaluate it in       13   understand when an -- when they receive an
   14   a different way.                                          14   advertising communication, that it's trying to sell
   15         So depending on the circumstances, the              15   them something --
   16   situation, the level of involvement -- maybe you're       16         MR. CHALOS: Object to the form.
   17   not as involved in the baseball team's nutrition as       17     Q. -- just in the broadest sense?
   18   you are your family's nutrition.                          18         MR. CHALOS: Sorry. Object to the form.
   19         All of those factors come into play. So             19         Didn't mean to interrupt.
   20   while I tend to agree with the general premise of         20     A. I hope so.
   21   what you're saying, you have to be careful not to         21     Q. And in the context of healthcare, the
   22   just lump everyone into one basket and make the           22   healthcare market, doctors are on the spectrum of
   23   broad characterization that everybody has got their       23   people -- you know, potential consumers, they are on
   24   radar on when it comes to advertising because it          24   the savvier end, more sophisticated end of potential
   25   depends on the product situation and the -- and the       25   consumers than the run-of-the-mill consumer,

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    1   correct?                                                  1   looking at the list of depositions. Do you have a
    2         MR. CHALOS: Object to the form.                     2   list of the depositions you considered?
    3      A. Yeah. No, I -- unfortunately, doctors are           3     A. Yes. Let me get that.
    4   people, too, and they suffer from the same problems       4     Q. As you're getting that, my question will be:
    5   as we do and I think it just depends on the doctor.       5   Please identify for the record the depositions that
    6   I think some doctors are very sensitive to                6   you read word for word.
    7   advertising issues. In fact, I know some doctors          7         MR. CARTER: The witness is reviewing his
    8   personally that will not see, you know, a sales rep       8     list. We are still here.
    9   and other doctors that they're pretty much fine with      9         MS. HANNAM: Okay. Great. Thanks.
   10   it.                                                      10     A. Okay.
   11         So again, in general, I think -- I would           11     Q. All right. Tell me what you find.
   12   agree that doctors are more well-educated and they       12     A. So to the best of my recollection, these are
   13   should be tuned in to those factors. Can we blanket      13   the ones that I read entirely. As I was looking
   14   say every doctor is going to be a better consumer        14   through, I saw so many that I have searched through
   15   because of that? I don't think so.                       15   and done the specific word searches that I described
   16      Q. Okay. Doctors are highly-trained                   16   yesterday, but the ones that I've read in entirety
   17   professionals, correct?                                  17   were Chick and Bingol, Vorsanger, Altier, Snider --
   18      A. Yes, they are.                                     18     Q. You might want to go a little slower for the
   19      Q. As a result of their license requirements,         19   court reporter.
   20   they are well educated?                                  20         THE WITNESS: I'm sorry. I forgot about
   21      A. They are well educated.                            21     you. I'll start over.
   22      Q. And you haven't seen any study or research         22     A. Chick, Bingol, Vorsanger, Altier, Snyder,
   23   that suggests that interaction with advertising          23   Vordestrasse, which, as I recall, he doesn't
   24   makes doctors forget their medical training?             24   pronounce German, he pronounces it Americanly,
   25         MR. CHALOS: Object to the form.                    25   Deem-Eshleman. I can't be 100 percent sure that I
                                                      Page 374                                                        Page 376
    1     A. I can't imagine a study that could measure           1   finished Matt Day, but I think I did -- Matthew Day.
    2   that, but no, I haven't seen anything, no.                2   Gasdia. I'm not sure if it's said Seid, and the
    3     Q. Okay. Are you aware of any research that             3   two, Wharton and Applegate, from Ohio. I know I've
    4   shows that prescription opioid advertising                4   read substantially Boothe and Wickline, but I don't
    5   manipulates people into acting against their will?        5   think I've read entirely Wickline.
    6     A. That's a very specific research question,            6      Q. All right. Thank you.
    7   and no, I'm not familiar with research that asks          7          Switching gears, you testified yesterday
    8   that specific question.                                   8   that your review of the marketing messages and
    9     Q. Okay. And I think you said that                      9   what's contained in your report, that it doesn't set
   10   yesterday -- but just to be clear, you've not            10   out or, you know, index marketing that you think is
   11   interviewed any doctor who prescribed opioids in         11   adjudicated to be improper, false, or misleading
   12   Cuyahoga or Summit County, have you?                     12   versus marketing that was appropriate and lawful,
   13     A. As I recall yesterday, I think the way I            13   it's all put together in the aggregate.
   14   responded to that was that, no, I had not, but I had     14          Did I understand that correctly?
   15   read the testimony of two physicians that worked for     15      A. Yes. Table II is a listing of all the
   16   Ohio Medicaid.                                           16   messages that were gleaned from the marketing
   17     Q. And you have not interviewed any pharmacists        17   documents, and it is a representative sample of the
   18   in Cuyahoga or Summit County, have you?                  18   messages that I saw.
   19     A. No, I have not.                                     19      Q. Okay. Now I want to focus on marketing that
   20     Q. And you've not interviewed any patient who          20   would be considered appropriate and lawful.
   21   filled a prescription for opioids in Cuyahoga or         21          You don't have any opinion criticizing or
   22   Summit County, have you?                                 22   taking issue with expansion of the market
   23     A. No, I have not.                                     23   attributable to lawful or appropriate advertising,
   24     Q. Yesterday you said that you would be able to        24   do you?
   25   indicate depositions that you read cover to cover by     25          MR. CHALOS: Object to the form.

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    1     A. I think this is the whole crux of the matter             1      A. When we try to correlate a specific
    2   with regard to marketing and opioids, is that                 2   marketing message with an outcome, we can do that
    3   expansion of the market for the sake of selling more          3   with -- we can try to do that, and we do that
    4   products is not appropriate. And so I think my                4   certainly in marketing to measure its effectiveness.
    5   opinions do focus on even the use of appropriate              5         But the problem with that is that ignores
    6   marketing to expand the opioid market, because I              6   the richness of the information that we have in
    7   think that's inconsistent with standards that exist           7   marketing and all of the robust nature of all the
    8   in the pharmaceutical industry.                               8   messages, all the strategies, all the tactics that
    9     Q. If there is a doctor who has patients who                9   are used. So to try to point your finger at one
   10   need a product and lawful, accurate marketing raises         10   message and say that it's directly related to a
   11   his awareness of the availability of a solution for          11   downstream outcome, it's almost impossible to do
   12   his patients and he then redirects his patients to           12   that without a very narrowly defined, very
   13   that medication that he believes is appropriate,             13   intricately designed experiment that was designed to
   14   exercising his medical judgment, and there was               14   measure that.
   15   nothing false or misleading about that advertising,          15         But what we do know about marketing is the
   16   would you suggest that that's an improper expansion          16   collective nature of marketing results in outcomes,
   17   of the market?                                               17   and I firmly believe and my opinion is that that
   18        MR. CHALOS: Object to the form; incomplete              18   marketing is directly related to the downstream
   19     hypothetical.                                              19   outcomes because it's -- it's encouraging or
   20     A. So in that very specific scenario, where the            20   discouraging use, it's -- that use then carries with
   21   doctor has identified a patient need and marketing           21   it implications. And if marketing caused the use,
   22   has been a positive influence on that, that is               22   then marketing caused the implications as well.
   23   contributing to legitimate need for opioids, which           23      Q. The problem I'm having understanding where
   24   would not require expansion of the market. It                24   you're going with this is, when you have your
   25   would -- it would be normal for the market to                25   aggregate opinion and you say that marketing in the
                                                          Page 378                                                       Page 380
    1   experience that utilization.                                  1   aggregate leads to various outcomes in the
    2         And in addition to that, it's just not that             2   aggregate, there is a disconnect between what
    3   simple, because then that doctor has been exposed.            3   actually happens in the real world. There is no
    4   This information has been encoded into his memory or          4   doctor exposed to the sum aggregate of that
    5   her memory, and on the next occasion for need, that           5   marketing that then dictates those outcomes.
    6   can influence that next decision as well.                     6        So the situation you're describing in your
    7         So marketing isn't just a one shot, one                 7   opinions actually never happened on an individual
    8   message, one reaction, one outcome. It's about the            8   level, true?
    9   collective nature of all of these messages that are           9        MR. CHALOS: Object to the form.
   10   compounded and coded into memory, searched for, and          10     A. I'd say I disagree with that.
   11   utilized by doctors in the decision-making process           11     Q. So how could it? So all -- so there's some
   12   and then used either appropriately or                        12   doctor in some county that saw all of the marketing
   13   inappropriately, as the circumstances would dictate.         13   in Table II, and then that dictated their patient
   14         And we could -- we could talk about many,              14   medical decisions?
   15   many specific instances where the utilization might          15        MR. CHALOS: Object to the form.
   16   be appropriate and the utilization might not be              16     A. Yeah, I would probably agree with you that
   17   appropriate.                                                 17   there is not a single, solitary doctor that saw
   18         And even in the appropriate situations, some           18   every single thing. But I would disagree that most
   19   of those patients are going to experience problems           19   doctors weren't exposed to multiple forms of
   20   and negative outcomes from the use of opioids.               20   communication and multiple outreach from the
   21     Q. What happens downstream when there is a                 21   marketing of opioids.
   22   legitimate medical prescription? That has nothing            22     Q. So if there is a doctor that was only --
   23   to do with the propriety of the underlying marketing         23   that was exposed to multiple marketing messages for
   24   materials, does it?                                          24   opioids but the ones that that particular doctor was
   25         MR. CHALOS: Object to the form.                        25   exposed to were all lawful and appropriate

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    1   advertising, how can this aggregate effect that you     1   appropriate marketing for opioids and that the goal
    2   describe, that wouldn't apply to that situation,        2   of that marketing would be to increase product use
    3   would it?                                               3   and market share, so how would you -- oh, you
    4         MR. CHALOS: Object to the form.                   4   disagree? You're shaking your head.
    5      A. Well, as I think I said earlier, lawful or        5         MR. CHALOS: Hold on. Don't -- object to
    6   unlawful, the problem is, is with aggressive            6     the form of the question.
    7   marketing, with the outreach to -- you know, to the     7         THE WITNESS: I'm sorry.
    8   most highest prescribers, the marketing that I saw      8         MR. CHALOS: Don't shake or nod or --
    9   in this case was designed to increase the size of       9     just --
   10   the opioid market. And we see from the results         10         THE WITNESS: Okay.
   11   manufacturers received, that that's exactly what it    11         MR. CHALOS: Let him finish his question,
   12   did.                                                   12     let me make an objection, if there is one, and
   13         So to try to single out a doctor that saw        13     then please answer.
   14   only what you describe as the appropriate or           14         THE WITNESS: Okay. I'm sorry.
   15   legitimate messages, I just don't see how that's       15   BY MR. CARTER:
   16   possible because the whole legitimacy of the           16     Q. So you were disagreeing with me, so --
   17   marketing is challenged by the aggressive nature of    17     A. Yeah.
   18   it. So I disagree with your premise that you start     18     Q. -- where is the disagreement?
   19   out with, that there is appropriate marketing that's   19     A. Well --
   20   occurring in this arena.                               20         MR. CHALOS: And object to the form of the
   21      Q. So you actually disagree with the FDA, you       21     previous question.
   22   think there should be no marketing for opioids?        22         Go ahead.
   23         MR. CHALOS: Object to the form.                  23     A. I'm sorry. I'm going to just take a deep
   24      Q. Even if it conforms to every regulation,         24   breath here.
   25   your opinion is there should never be marketing for    25         I don't like it when people tell me what my
                                                  Page 382                                                           Page 384
    1   opioids?                                                1   opinions are, because I think I've done a pretty
    2     A. I get to say --                                    2   good job of laying out exactly what they are and I
    3         MR. CHALOS: Object to the form.                   3   don't go beyond what my opinions are. I'm not going
    4         Sorry.                                            4   to go beyond them. And I think that they are
    5     A. I get to say what my opinions are.                 5   completely sound and -- based on what I saw in this
    6     Q. You do. So am I wrong? Is it --                    6   matter.
    7     A. Yes, you're wrong.                                 7         But when you -- when you start saying that I
    8         MR. CHALOS: Hold on. Hold on. Object to           8   don't think there would be any appropriate marketing
    9     the form of the question.                             9   or -- I just -- I can't agree with those things.
   10     Q. And I'll -- I'll try to not talk over you,        10     Q. Okay. So there is -- there is appropriate
   11   so let me ask it this way. Is it your opinion to       11   marketing for opioids?
   12   the jury in this case that there should not be any     12     A. And I said there can be appropriate
   13   marketing for opioids?                                 13   marketing, it just wouldn't look like the aggressive
   14     A. That is not my opinion, no.                       14   marketing that we saw here.
   15     Q. Okay. So if you believe -- well, let me ask       15     Q. Okay. So is it your opinion that every
   16   the flip side: Do you believe that there is an         16   example of marketing you saw was inappropriate?
   17   appropriate and lawful place for marketing for         17     A. And this takes us back to why I was shaking
   18   opioids that should exist?                             18   my head.
   19     A. I think --                                        19     Q. Okay.
   20         MR. CHALOS: Object to the form.                  20     A. The -- my opinion is the marketing must be
   21         Sorry.                                           21   considered in the aggregate. You can't single out
   22     A. I think there can be appropriate marketing        22   any single message, you can't single out any single
   23   for opioids, and it would not look like what I've      23   contact with a doctor or any single strategy or
   24   seen in this case.                                     24   method. You must consider the full scope of the
   25     Q. Okay. So you do believe there could be            25   marketing.

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    1        Marketing is a process. I have taken great            1   messages and marketing that can exist for opioids,
    2   lengths to explain that in my report. Marketing is         2   but in this case, you are not looking at that or
    3   something that has an impact that goes beyond the          3   acknowledging that because you think even
    4   incident encounter. It's the sum total of the              4   appropriate marketing messages become subsumed
    5   activities.                                                5   within an overall aggregate market?
    6     Q. Have you ever conducted an academic --                6         Explain to me this disconnect between how --
    7   academic research or study of a category of                7   how you can have appropriate marketing and you
    8   marketing other than opioids where you've -- you've        8   acknowledge that but then you say that the marketing
    9   only considered the propriety of the marketing in          9   in the aggregate was -- was a problem.
   10   the aggregate as opposed to individual messages?          10         MR. CHALOS: Object to the form, and also
   11        MR. CHALOS: Object to the form.                      11     incomplete hypothetical.
   12     A. If -- I'm not sure I understand your                 12     A. So I wanted to shake my head again there,
   13   question but --                                           13   because instead of telling me what my opinion was,
   14     Q. Sure. Let me ask -- let me -- let me                 14   you told me what I did or didn't do in this matter,
   15   withdraw it and ask a different one.                      15   and so I want to make it very clear what I did.
   16        There can be individual one-off marketing            16         I did look at the marketing. I looked at
   17   messages that are -- that are wrong in any industry,      17   each defendant, and I looked at those defendants so
   18   correct?                                                  18   that I could form an aggregate opinion about the
   19     A. Correct.                                             19   marketing of opioids because that's what is
   20     Q. Coca-Cola could release an inappropriate             20   impacting our country, is the marketing of opioids
   21   commercial?                                               21   in the aggregate.
   22     A. I mean, I guess as a -- as a hypothetical,           22         So the disconnect that -- that I think that
   23   yeah, that could happen.                                  23   we're -- we're talking about right now is if there
   24     Q. Okay. And just -- if Coca-Cola, you know,            24   were some -- and correct me if I'm wrong here, if
   25   has an inappropriate, risqué commercial in the Super      25   there were messages out there that were actually

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    1   Bowl that gets criticized, that doesn't mean that          1   okay from a science or a research perspective, why
    2   marketing in the aggregate for soft drinks -- that         2   was the use of those messages inappropriate?
    3   wouldn't lead to an opinion on marketing in the            3         Is that what your question is?
    4   aggregate for soft drinks, would it?                       4      Q. That will -- that's one question. I'll ask
    5         MR. CHALOS: Object to the form; incomplete           5   that one.
    6      hypothetical.                                           6         So when you look in the aggregate, did you
    7      A. So with that specific example, what I can            7   see examples of executions in isolation that you
    8   say is, is that if -- you're probably right about          8   think were appropriate?
    9   that, but I can guarantee you that that one                9         MR. CHALOS: Object to the form.
   10   advertisement that they saw during the Super Bowl         10      A. So just to remind everybody, I didn't -- I
   11   will impact consumers of Coca-Cola broadly forever.       11   didn't evaluate the messages one by one and say, are
   12   It will always be in the customer's mind, and it          12   they true or false. There are other experts that
   13   will always be an impact on customers' perceptions        13   undertook that task.
   14   of Coca-Cola, because that's what marketers work to       14         My task was to identify the messages and to
   15   create, is a perception.                                  15   analyze the marketing. My analysis for the
   16         And as I said yesterday and I think I've            16   marketing was very detailed, very specifically
   17   said multiple times during this deposition,               17   planned. It was comprehensive, it was aggressive.
   18   perceptions are very hard to change and once they're      18   It utilized the exact techniques that marketers
   19   changed, they're very durable and stable.                 19   would use to maximize the expansion of the market
   20      Q. So just to make sure I understand your              20   and capture market share in instances where that was
   21   opinions -- and I'm not, in any way, telling you          21   the goal. And I formed my opinions based on that.
   22   what they are --                                          22         So the question of whether this message or
   23      A. Thank you. I apologize.                             23   this ad was appropriate or not, it wasn't on my
   24      Q. -- I'm trying to understand those. So you           24   radar, it wasn't something I was asked to do, and it
   25   agree that there are and can be appropriate specific      25   wasn't part of this analysis.

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    1         But whether or not the marketing together               1   impacted the market in a negative way.
    2   expanded the market was, and that's exactly what I            2         Am I understanding you correctly?
    3   did.                                                          3         MR. CHALOS: Object to the form.
    4     Q. Okay. So because of your aggregate                       4     A. I mean, I want to be more specific if -- if
    5   analysis, you are not -- are you prepared to opine            5   I'm going to phrase it that way, but the aggregate
    6   whether the role and the -- withdrawn.                        6   advertising that was done by the opioid marketers
    7         I'll rephrase the question.                             7   expanded the opioid market in a way that was not
    8         Do you have an opinion whether any expansion            8   consistent with the standards that have been
    9   of the market was attributable to lawful                      9   established in the pharmaceutical industry for
   10   advertising?                                                 10   marketing products like that.
   11         MR. CHALOS: Object to the form.                        11     Q. Okay. And so as a -- due to the nature of
   12     A. You know, this was -- this analysis was not             12   your aggregate opinion, you would fault the
   13   designed to be nor was I asked to provide a                  13   defendants in this case for the aggregate
   14   quantitative assessment of the impact of any                 14   advertising, even including otherwise lawful and
   15   individual ad or collection of ads or messages or            15   appropriate messaging?
   16   strategies or tactics. It was to examine the                 16         MR. CHALOS: Object to the form.
   17   aggregate nature of that.                                    17     A. As I've said, I didn't evaluate lawful or
   18     Q. To the extent the aggregate body of                     18   appropriate. I just identified the advertising.
   19   advertising and marketing in this space included             19   And it's my opinion that you can't separate the
   20   lawful messages, would those lawful messages -- have         20   advertising and break it down and look at one piece
   21   you evaluated the impact of the lawful messages              21   of it and say, was this okay or not and how much
   22   versus ones that other experts might consider were           22   impact it did have. I don't believe that analysis
   23   improper?                                                    23   can be done, given -- given what we have to look at
   24         Do you know how the impact compares between            24   here.
   25   lawful and improper messages?                                25     Q. Okay. So you have not -- as you've
                                                          Page 390                                                      Page 392
    1         MR. CHALOS: Object to the form.                         1   explained, you have not undertaken any -- any
    2     A. I think that's what I just answered. Is                  2   qualitative analysis of what's -- what comprises the
    3   that just a different way of asking me the same               3   aggregate market to break it into appropriate or
    4   question?                                                     4   inappropriate messages, and your opinion -- you just
    5     Q. I don't understand it to be that, so let me              5   take it all together and say that the aggregate
    6   ask you, do you -- do you have an expert opinion              6   created the expansion?
    7   regarding the impact, potential impact of a lawful            7         MR. CHALOS: Object to the form.
    8   message versus an unlawful message?                           8     A. And so the first part of that where you said
    9     A. So the analysis did not evaluate individual              9   you haven't looked at the components of the
   10   ads based on their expected or measured impact in            10   aggregate, or something like that --
   11   the case.                                                    11     Q. You haven't conducted a qualitative analysis
   12     Q. Okay. And as a principle, it's not an                   12   as to what percentage of appropriate or
   13   opinion that you intend to offer to the jury, is it,         13   inappropriate messages comprise that aggregate?
   14   that misleading ads are more impactful?                      14     A. That, I can agree with, yes.
   15     A. Actually, no. I don't -- I don't -- I don't             15     Q. Okay. All right.
   16   believe -- I don't even believe that. I think that           16         And so to the extent your opinion is
   17   the marketing can't be broken down; therefore, the           17   critical of the impact of the aggregate marketing,
   18   positive, constructive, appropriate messages                 18   do you think that the FDA should ban marketing in
   19   combined with whatever messages are determined to be         19   this space?
   20   false are what impacted this market. And it doesn't          20         MR. CHALOS: Object to the form.
   21   matter whether it was the good or the bad. They all          21     A. You know, I -- I don't think I'm the person
   22   impacted the market, and they impacted the market in         22   to ask what the FDA should do.
   23   a way that expanded the market in an inappropriate           23     Q. Okay. Based on your review of the materials
   24   way.                                                         24   in this case, any evidence that Walmart ever
   25     Q. Okay. So you think the aggregate marketing              25   generated primary demand for a prescription opioid?

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    1         MR. CHALOS: Object to the form.                        1   means in relation to other documents. I can know
    2     A. You know, with respect to the case, I think             2   how that document was, perhaps, used or not used. I
    3   the answer is no.                                            3   can know what the implications of that document were
    4     Q. Okay. I want to talk about your areas of                4   and if any follow-up was done.
    5   expertise. You're not an expert in epidemiology,             5         And this is -- this is integral to the case
    6   are you?                                                     6   study analysis methodology, because in a case study
    7     A. I use epidemiology in my work all the time,             7   analysis, this is what provides the context around
    8   but I don't hold myself out as a -- I'm a                    8   the solution of the case.
    9   pharmaceutical marketing expert.                             9     Q. In 2012, when Ms. Singer first contacted you
   10     Q. Do you hold yourself out as an expert in               10   to work on opioid litigation -- I want to focus on
   11   addiction medicine?                                         11   the time prior to your first contact with
   12     A. I do not, no.                                          12   Ms. Singer. Prior to that, had you published
   13     Q. Do you hold yourself out as an expert                  13   anything in peer-reviewed sources related to
   14   historian?                                                  14   pharmaceutical opioid marketing?
   15     A. No.                                                    15     A. I don't think there were any -- any articles
   16     Q. Do you hold yourself out as an expert in               16   that I published during that time period that
   17   interpretation of pharmacy defendant documents?             17   focused specifically on opioids. I know I had
   18     A. Is there such a category of expert?                    18   published several studies on drug utilization in
   19     Q. Well, there was an objection yesterday about           19   general, including use in the elderly, and we
   20   interpreting documents. So let me ask, do you hold          20   evaluated a lot of drugs, including opioids, in that
   21   yourself out as someone who has some specialized            21   population.
   22   training that allows you to describe the meaning and        22         I would be happy to tell you about that
   23   intent of internal company documents?                       23   study if you'd like to hear about it, but there was
   24     A. I'm not sure I know how to answer.                     24   a pain or analgesia component to that study. The
   25         MR. CHALOS: Object to the form. Sorry.                25   reason I remember that study is because it was

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    1     A. I'm not sure I know how to answer that                  1   prior -- just -- just prior to Darvocet being
    2   question because I wasn't aware that there was an            2   removed from the market, and in that study we found
    3   area of expertise called "reviewing expert                   3   that you had a 254 percent greater chance of dying
    4   documents," so -- so -- but to that point, I spent           4   if you were over the age of 65 and took Darvocet.
    5   the last 35 years of my career evaluating literature         5      Q. Any other publications prior to Ms. Singer
    6   and understanding how to take data and interpret             6   contacting you that dealt with the marketing of
    7   that data and then have that -- turn that into an            7   prescription opioid medications?
    8   article of publication, a book, some other scholarly         8      A. I think that's the -- yeah, I think that's
    9   work, and have that be reviewed by others.                   9   the only study that -- no. I think there was one
   10         And I've published, you know, literally               10   other, but it was, again, focused on the same
   11   hundreds of times in -- in peer-reviewed space, so I        11   issues, the use of drugs in the nursing home
   12   guess I have an expertise in that area, if there is         12   population and one component of that was opioids and
   13   such an area, but I don't -- I don't really -- I            13   pain -- analgesia in general.
   14   mean, I'm an expert in pharmaceutical marketing. In         14      Q. Prior to Ms. Singer contacting you, had you
   15   order to be an expert in pharmaceutical marketing, I        15   ever undertaken the study of the marketing plans or
   16   have to be able to look at marketing documents,             16   practices of the defendants in this case?
   17   understand and interpret, analyze, synthesize the           17      A. Yes.
   18   data from those documents. So, yeah, I think I'm            18      Q. Okay. When did you do that?
   19   expert in doing that.                                       19         THE WITNESS: Mark, am I allowed to talk
   20     Q. But you don't hold yourself out as an expert           20      about other cases that --
   21   in divining the intent of an author of a document,          21      Q. Were you disclosed?
   22   do you?                                                     22      A. Yes.
   23         MR. CHALOS: Object to the form.                       23      Q. Okay.
   24     A. So as a rule, I can never know what someone            24         THE WITNESS: Does that mean, yes, I talk
   25   was thinking. What I can know is what the document          25      about it or --

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    1         MR. CHALOS: Well, yeah. That's -- that's a           1     Q. Do you know the circumstances under which
    2     little bit tricky. I'm not sure exactly what             2   she left Walmart?
    3     case you're talking about but --                         3     A. I do not.
    4         MR. CARTER: Let's table that, and you can            4     Q. Why did you reach out to her?
    5     confer on a break --                                     5     A. She was the only Walmart -- I know many
    6         MR. CHALOS: Yeah, let's do that.                     6   Walmart pharmacists. She was the only one that I
    7         MR. CARTER: -- and figure out how to                 7   had in my phone, and so I called her.
    8     instruct.                                                8     Q. Okay. Now, did you -- when was it that you
    9         MR. CHALOS: I know there were some cases             9   called her?
   10     where he was disclosed but under a protective           10     A. A month or two ago.
   11     order, and I'm not sure I've even seen the              11     Q. So by that point, you understood that
   12     protective orders in some of those cases but --         12   Walmart was a defendant in this case represented by
   13         MR. CARTER: Okay.                                   13   counsel, right?
   14         MR. CHALOS: -- we'll -- we'll try to work           14     A. Yes.
   15     this out.                                               15     Q. Did you ask anyone for permission to reach
   16         MR. CARTER: Okay.                                   16   out to a former Walmart employee?
   17   BY MR. CARTER:                                            17        MR. CHALOS: Hold on. Object to the form to
   18     Q. All right. Switching gears, a couple of              18     the extent you're talking about communications
   19   odds and ends and then I'll hand off to someone           19     between him and us, which I think are protected.
   20   else.                                                     20        But you can -- except for any communications
   21         You mentioned around the end of your tenure         21     you had with lawyers on our side, you can answer.
   22   at Walmart, the beginning of the $4 generic program.      22     A. No, I did not ask for permission --
   23     A. Yes, sir.                                            23     Q. Okay.
   24     Q. Now, the $4 program at Walmart did not               24     A. -- nor did I discuss anything about the
   25   include controlled substances, CIIs were not in that      25   case. I just asked the question: How did Walmart

                                                       Page 398                                                         Page 400
    1   program, true?                                             1   order CIIs? That was it.
    2     A. I'm pretty sure that's true, yes.                     2      Q. Okay. And was that where the source of your
    3     Q. You said yesterday that you did not believe           3   information in terms of the Sunday orders?
    4   you reviewed any documents produced by Walmart in          4      A. That was my recollection, but I really
    5   this case. You made a reference generally in terms         5   couldn't recall if we did anything else. And Nancy
    6   of being at a disadvantage because of your material.       6   was a long-time Walmart employee, so I figured she
    7         So I just want to ask you: Has that changed          7   would be the person to ask.
    8   since yesterday? Have you recalled any                     8      Q. When you reached out to Nancy, did you tell
    9   Walmart-produced documents that you reviewed?              9   her why you were calling? Did you say you were
   10         MR. CHALOS: Object to the form.                     10   working as an expert for plaintiffs in litigation
   11     A. I'm glad you said "recalled," because I can          11   and wanted some information about Walmart's
   12   tell you that when I got home last night, I didn't        12   practices?
   13   even look at anything, I just went straight to bed,       13      A. No. As I just said, I just asked her about
   14   but the -- my recollection today is the same as it        14   how CIIs were ordered. And then we talked about my
   15   was yesterday. I don't remember seeing a lot of, if       15   new grandbaby, and that was the end of the
   16   any, Walmart documents.                                   16   conversation.
   17     Q. Okay. You mentioned early yesterday morning          17      Q. Okay. So when you talked to Ms. Shepherd,
   18   an individual named Nancy Shepherd?                       18   she -- well, strike that.
   19     A. Yes.                                                 19         Does Ms. Shepherd know you're working as an
   20     Q. Who is she?                                          20      expert for the plaintiffs in this litigation?
   21     A. Nancy is the pharmacist in charge of the             21      A. I don't think so, no.
   22   store that I worked, it was Store 2811 in Athens.         22      Q. Other than that question, is there anything
   23     Q. Okay. And where does she currently work?             23   else you asked her about Walmart or this litigation?
   24     A. I think she may be retired now, but she left         24      A. No. I asked her how she was doing, that's
   25   Walmart maybe five or six years ago.                      25   it.

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    1      Q. Because it was that single question, I take           1     A. Yes.
    2   it you didn't take any notes from that call?                2     Q. And during your time working the counter as
    3      A. No.                                                   3   a community pharmacist at Walmart, did you ever
    4      Q. Okay. Did you list Ms. Shepherd or that               4   violate your corresponding responsibility?
    5   conversation in your expert report as a reliance            5     A. No.
    6   material?                                                   6     Q. Okay.
    7      A. No.                                                   7         MR. CARTER: Those are all the questions I
    8      Q. And based on the limited information you              8     have for you. Thank you.
    9   received from her, I take it you don't rely on that         9         THE WITNESS: Thank you.
   10   for your opinions in this case; is that true?              10         MR. CHALOS: Do you want to stay there? We
   11      A. You know, it's my understanding, as an               11     could talk about that issue and then come back
   12   expert, I can -- I can talk to other people about          12     and --
   13   what goes on in the industry, and that's all I was         13         MR. CARTER: If you're going to -- if folks
   14   doing.                                                     14     want to break now; otherwise, do we want to keep
   15      Q. And my question --                                   15     moving?
   16      A. Yeah.                                                16         MR. CHALOS: Well, we have to answer your
   17      Q. -- with respect, is just: Are you relying            17     question.
   18   on that conversation for purposes of your opinions?        18         MR. CARTER: Someone -- someone else can
   19      A. No.                                                  19     follow up on that, or however you want to do it.
   20        MR. CHALOS: Object to the form.                       20     I don't --
   21      Q. Okay. Now, on your CV, you don't include             21         MR. CHALOS: That's fine. That's fine. I
   22   the part-time work that you did moonlighting at            22     just don't want to have you come back to answer
   23   Walmart, do you?                                           23     those questions.
   24      A. Yes, I do.                                           24         MR. CARTER: Yeah. Do folks want to take a
   25      Q. Where in your CV was that?                           25     break or just switch questioners?

                                                        Page 402                                                   Page 404
    1     A. It's on the first page. It says community              1         MS. COATES: Sure.
    2   pharmacy practice, and I worked for a number of             2         MR. CARTER: Okay. We'll take a break.
    3   different employers, so I didn't list them all.             3         MS. COATES: Yes, the court reporter wants
    4   There just wasn't room.                                     4     to take a break.
    5     Q. Okay. So --                                            5         MR. CARTER: All right. We'll take a break.
    6     A. The CV is already 30 some pages long. I'm              6         THE VIDEOGRAPHER: We are now going off the
    7   trying to keep it shorter.                                  7     video record. The time is currently 9:34 a.m.
    8     Q. Okay. So Walmart would be listed -- would              8     This is the end of Media Number 1.
    9   be subsumed within the community pharmacy line of           9        (Recess from 9:34?a.m. until 9:51 a.m.)
   10   your CV?                                                   10         THE VIDEOGRAPHER: We are now back on the
   11     A. Yes.                                                  11     video record with the beginning of Media
   12     Q. But Walmart was not identified by name?               12     Number 2. The time is currently 9:51 a.m.
   13     A. Walmart was not. None of the -- none of the           13   BY MR. CARTER:
   14   employers that I've worked for over the years were         14     Q. I wanted to follow up on the question I
   15   identified by name, and there are a large number of        15   asked regarding whether prior to 2012 you had
   16   them.                                                      16   reviewed marketing from the defendants, and so
   17     Q. Okay. Do you know that Walmart no longer              17   here's my follow-up question: Prior to Ms. Singer
   18   distributes controlled opioids?                            18   contacting you in 2012, had you ever reviewed
   19     A. That's my understanding, yes.                         19   marketing materials from any of the defendants in
   20     Q. Okay. Now, when you worked as a community             20   this case specifically related to opioid products?
   21   pharmacist, were you aware that opioids posed a risk       21     A. No, I have not.
   22   of addiction?                                              22         MR. CARTER: All right. Thank you.
   23     A. Yes.                                                  23     A. You asked another question that I remembered
   24     Q. Okay. Were you aware of that back to your             24   something to.
   25   training as a pharmacist?                                  25     Q. Okay.

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    1     A. You were asking about publications prior to           1   but I can't say that I know what it was.
    2   2012.                                                      2     Q. Do you know the intended audience for that
    3     Q. Yes.                                                  3   program?
    4     A. The textbook did come out in, I think, 2009,          4     A. No.
    5   or '10, '11, somewhere in there, and it certainly          5     Q. Do you know anything about that program?
    6   doesn't deal with opioids specifically, but it deals       6     A. I don't. As I recall, I thought that that
    7   with all drugs.                                            7   was a autostocking program, it could have been
    8     Q. Okay. Does that textbook chapter express              8   called something else at the time, but I really, as
    9   the opinion that the aggregate effect of opioid            9   I said, I don't know anything about the proprietary
   10   marketing wrongfully increased the demand?                10   services that are offered by Cardinal.
   11     A. It doesn't deal with opioids specifically at         11     Q. Okay. I'll just run through a couple more
   12   all, so that's not --                                     12   here just to confirm that.
   13     Q. So that's not in there?                              13         Do you know what information was
   14     A. It's not in there.                                   14   communicated through Cardinal's Rx Deals Program?
   15         MR. CARTER: All right. Thank you. No                15     A. Just generally the -- I'm not sure if it was
   16     further questions from me.                              16   related specifically to the generic sourcing, but it
   17                CROSS-EXAMINATION                            17   was just pharmacy supply, pharmacy purchasing
   18   BY MR. TULLY:                                             18   information.
   19     Q. Good morning, Doctor. My name is Josh Tully          19     Q. Do you know anything else about that
   20   on behalf of Cardinal Health.                             20   program?
   21     A. Good morning, Josh, Mr. Tully.                       21     A. No.
   22     Q. Good morning. Do you know anything about             22     Q. Do you know what information was
   23   Cardinal Health's First Fax Program?                      23   communicated through Cardinal Health's Service Flash
   24     A. I don't believe so, no.                              24   Program?
   25     Q. Do you know what information was                     25     A. No.

                                                     Page 406                                                           Page 408
    1 communicated through that program?                           1     Q. Do you know the intended audience for that
    2     A. No.                                                   2   program?
    3     Q. Do you know the intended audience for that            3     A. I do not.
    4   program?                                                   4     Q. Do you know anything about that program?
    5     A. As I said, I'm not familiar with it, so, you          5     A. No.
    6   know, I can't help you with that.                          6     Q. Do you know what information was
    7     Q. Okay. Do you know anything about Cardinal             7   communicated through the Pharmacy Health Network?
    8   Health's Order Express service?                            8     A. Nothing specific, no.
    9     A. I can tell you I'm not familiar with any of           9     Q. Anything general?
   10   the specific proprietary methods that Cardinal is         10     A. Just that there are programs out there that
   11   using. I've not -- I've worked in pharmacies that         11   are designed to, you know, provide services to
   12   ordered from Cardinal before but it's been so long,       12   independent and smaller chain pharmacies and I think
   13   I'm sure that systems have changed. As I said             13   that was related to those services, but I can't be
   14   yesterday, my last work experience in community           14   sure.
   15   practice where we would have ordered medications was      15     Q. Do you know anything else about that
   16   in 2007, so no.                                           16   program?
   17     Q. So I would be correct in concluding that you         17     A. No.
   18   do not -- that you do not know what information was       18     Q. Yesterday Ms. Rodgers asked you some
   19   communicated through that program, correct?               19   questions in connection with a text written by
   20     A. The first one or the second one that you             20   Dr. Scott Fishman. Do you remember that?
   21   mentioned? The answer is the same for both, no.           21     A. Yes.
   22     Q. Okay. Do you know what information was               22     Q. She introduced Exhibit 9 with Bates stamp
   23   communicated through Cardinal Health's First Script       23   PPLP004086826, which is one of the documents you
   24   Program?                                                  24   cite in Footnote 371. Do you remember that?
   25     A. I don't. That program seems to ring a bell           25     A. I think we still have it here. So I have

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    1 here Exhibit 9 in front of me.                                  1     A. That appears to be the focus of the Jagoda
    2    Q. Okay. In Footnote 371 you cite two other                  2   e-mail.
    3 documents which I will provide you copies of. The               3     Q. Do you have any reason to doubt the accuracy
    4 first one is Bates stamped CAH_MDL2804_00846989,                4   of my statement?
    5 which I will mark as Exhibit 11.                                5         MR. CHALOS: Object to the form.
    6       (Perri Exhibit 11 was marked for                          6     A. No, I don't think so. I think it's
    7 identification.)                                                7   definitely a proposal for a CE program.
    8 BY MR. TULLY:                                                   8     Q. The subject of the e-mails is: Ohio
    9    A. Give it a good push. Thank you.                           9   Prescriber Education Draft Proposal. Correct?
   10    Q. The second document you cite in Footnote 371             10     A. Yes.
   11 bears Bates stamp CAH_MDL2804_00866121, which I will 11               Q. Do you know if Cardinal Health did in fact
   12 mark as Exhibit 12.                                            12   distribute the Fishman text?
   13       (Perri Exhibit 12 was marked for                         13     A. I need to -- I would need to look at the
   14 identification.)                                               14   balance of the references in that section because
   15 BY MR. TULLY:                                                  15   according to these documents, it doesn't nail that
   16    Q. So now you have copies of all three                      16   down for sure, no.
   17 documents that you cite in Footnote 371, correct?              17     Q. By balance of the documents --
   18    A. Yes, I do.                                               18     A. So the sentence of this is cited from -- has
   19    Q. You're welcome to review those documents                 19   four -- 370 through 373 listed, and there are a
   20 before I ask you some questions about them, just let           20   number of documents there, so I would need to look
   21 me know when you're ready.                                     21   at all of those to make sure, because either -- if I
   22    A. Okay. Okay.                                              22   don't have evidence that this was a plan, it was
   23    Q. Do you see that the first e-mail in both                 23   simply included to demonstrate that this was
   24 Exhibits 11 and 12 is from the Federation of State             24   something that was on the radar, this was something
   25 Medical Boards?                                                25   that was being considered, which certainly is
                                                         Page 410                                                    Page 412
    1     A. Help me understand. So the first e-mail on               1   important to a marketing analysis.
    2   12 seems to be from Michael Mone at Cardinal.                 2         If you're representing that it never went
    3     Q. So that's the e-mail at the top.                         3   out, that's okay with me, I don't have a problem
    4     A. Yes. Are you talking about -- so going                   4   with that.
    5   backwards?                                                    5     Q. I'm just trying to understand the basis for
    6     Q. Going backwards, yes.                                    6   your assertion yesterday in which you said you
    7     A. Gotcha. Yeah.                                            7   thought that Cardinal Health did in fact distribute
    8     Q. Okay. So the first e-mail in this -- in the              8   the Fishman text?
    9   e-mail chains in both Exhibit 11, based on the time           9     A. I --
   10   stamp --                                                     10         MR. CHALOS: Object to the form.
   11     A. Yes.                                                    11     A. If I said that yesterday, I probably should
   12     Q. -- is from the Federation of State Medical              12   have said that it was -- I may -- I need to verify
   13   Boards, correct?                                             13   that.
   14     A. Yes, that's correct.                                    14     Q. Okay.
   15     Q. Do you know what the Federation of State                15     A. Yeah.
   16   Medical Boards is?                                           16     Q. Are you able to verify it based off of any
   17     A. I'm not a doctor and I'm not sure how they              17   of the documents you cite in Footnote 371?
   18   exactly function, but it is a -- an association of           18     A. So based on 371 alone, I don't think so. I
   19   medical boards representing the actual state                 19   don't think I can guarantee that Cardinal
   20   associations across the country, is my                       20   participated in this program, but I think the answer
   21   understanding.                                               21   to that can certainly be figured out, yes.
   22     Q. Do you agree that the Federation of State               22     Q. Okay. As you sit here today, do you recall
   23   Medical Boards approached Cardinal Health regarding          23   any other documents that suggest to you that
   24   a prescriber education proposal?                             24   Cardinal Health did in fact distribute the Fishman
   25        MR. CHALOS: Object to the form.                         25   text?

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    1      A. You know, I -- as far as specifically the            1   take the time, I can look through the report and
    2   Fishman text, I just -- I can't recall. I'd need to        2   verify that there are no other examples in my
    3   look at my -- at the documents that I have and see         3   report. It seems to me that in this report there
    4   if I can track down an answer to that.                     4   are examples of continuing education that were
    5      Q. Which other documents would you look at?             5   sponsored, but I can't state for sure without
    6      A. All of the documents related to Cardinal             6   looking, so --
    7   Health to see if there is anything in those                7     Q. All right. Turning to Footnote 370 of your
    8   documents that are -- that takes us a step further         8   report, you reference a document bearing Bates Stamp
    9   from the proposal stage to actual implementation.          9   PPLPC004000083256, which you describe as, quote:
   10   So I know I've looked at various plans from the           10   "Cardinal Health OxyContin Communication Plan,
   11   marketing defendants that were geared towards             11   September 2006."
   12   distribution of that book. I, for some reason, I          12         Do you see that?
   13   had it in my head that Cardinal did participate in        13     A. I have it as 83258 in my report.
   14   the distribution of that, I could be wrong about          14     Q. Oh, so you do. Correct, yeah, you've got
   15   that. Either way, it's not critical to my opinions        15   the correct number there.
   16   in terms of the overall marketing because certainly,      16     A. Okay.
   17   if nothing else, this shows that the Fishman text,        17     Q. That document was a proposed communication
   18   which we can talk about, was being considered as a        18   plan for Purdue, correct?
   19   -- potentially being distributed by Cardinal, and         19     A. I would need to see it to remember for sure.
   20   from a marketing perspective, it reflects more so on      20   There have been a lot of documents that I've looked
   21   the marketers, the marketing defendants, than the         21   at, so --
   22   distributor, but I really don't know what else to         22     Q. Would it have been a proposed communication
   23   say about that.                                           23   plan for anyone other than Purdue?
   24      Q. When you mentioned that you would need to           24         MR. CHALOS: Object to the form.
   25   look at all of the documents related to Cardinal          25     A. As I said, I need to look at it. I don't --

                                                       Page 414                                                       Page 416
    1   Health, are you referring to all of the documents          1   I don't recall the document by the Bates number,
    2   that Cardinal Health has produced in this case?            2   so --
    3     A. Specifically, I was referring to the                  3      Q. Do you recall the document by how you
    4   documents that I have either found through my own          4   described it?
    5   searches or documents that have been provided to me        5      A. You know, when I write these, I try to make
    6   by the attorneys when I requested documents related        6   it so that I can remember it. That gets harder and
    7   to Cardinal and the other distributors.                    7   harder to do as the report gets longer and longer,
    8     Q. Would that include documents on the                   8   and there are, you know, over 400 -- 400 footnotes
    9   Relativity database that you referenced yesterday?         9   citing multiple documents in each footnote, so there
   10     A. Yes.                                                 10   is -- I mean, conservatively, there is probably 1500
   11     Q. Other than the Fishman text, have you cited          11   documents cited in the report. I can't just
   12   any other documents in your report that you maintain      12   remember all of them. I'm sorry.
   13   were distributed by Cardinal Health, McKesson or          13      Q. Do you know whether that proposed plan was
   14   AmerisourceBergen that contain the three themes on        14   actually implemented?
   15   Pages -- on Page 81 of your report?                       15      A. I can't answer any questions about that
   16     A. I don't think you want me to take the time           16   document without seeing it.
   17   here to go through each and every instance in the         17      Q. Well, the document is just a proposal.
   18   report. I can tell you that substantively, though,        18          MR. CHALOS: Object to the form.
   19   the -- as I said yesterday, the messages that were        19      Q. So I want to know if you have any basis to
   20   -- the most common messages were those focused on         20   believe that the proposed plan was actually
   21   the sales to pharmacies related to price, quality,        21   implemented?
   22   availability, the generic sourcing, all of that.          22          MR. CHALOS: Object to the form.
   23         There were instances where information like         23      A. As I said, I can't answer any questions
   24   this was noted, but as in this case, I can't say for      24   about it. I can -- if you tell me that it was a
   25   sure that it was sent out. I can, if you want me to       25   proposal, I can tell you that in my way of analyzing

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    1   a case, if it was a proposal, I would not draw any         1     video record. The time is currently 10:20 a.m.
    2   conclusions from it other than those that would be         2               CROSS-EXAMINATION
    3   related to a project being a proposal. I wouldn't          3   BY MR. GALIN:
    4   take a quantum leap and assume that it was                 4     Q. Dr. Perri, my name is Ross Galin. I'm from
    5   implemented.                                               5   O'Melveny & Myers and I represent Janssen and J&J in
    6         However, as I mentioned with regard to these         6   this matter. I would say nice to meet you but we've
    7   other documents, there is value in knowing that            7   been sitting beside each other for many hours now.
    8   things were being considered, things were being            8         Bear with me, if you would. I am going to
    9   planned. Some things get implemented and some              9   attempt to streamline my questions for you that will
   10   things don't. In fact, some things get planned,           10   most likely result in a fair amount of me fumbling
   11   they get developed and they never happen. So those        11   about trying to put jigsaw pieces together after
   12   are all things that occur, and I take that into           12   having crossed stuff out that my colleagues have
   13   consideration when I do an analysis like this.            13   already asked you about, so I apologize if I'm
   14         So if you have some specific question about         14   fumbling about, but I do want to preserve some of
   15   that document, I'd love to see it so I can recall it      15   their time and your time and don't want to retread
   16   and understand what we're talking about here.             16   ground.
   17     Q. The only question I have about it is sitting         17         But with that said, there is a -- there are
   18   here today, do you know whether that proposed plan        18   a couple of pieces of retreading, ground to be
   19   was implemented?                                          19   retread just briefly to set the parameters.
   20         MR. CHALOS: Object to the form.                     20         Am I correct, based on what I have heard in
   21     A. As I said, I can't answer that question              21   your testimony so far, that you are not offering any
   22   unless I see the document so I can make sure that it      22   Janssen-specific opinions in your report or
   23   was a proposal and that there is nothing in that          23   testimony?
   24   document that suggests that it was indeed                 24     A. Yes, that's correct. The opinions are not
   25   implemented, yeah.                                        25   specific to any one defendant, and that includes all

                                                    Page 418                                                         Page 420
    1         And also, one of the things I do look for            1   defendants. They are general aggregate opinions
    2   whenever I see something like that, I look for cover       2   about all of the defendants in this matter.
    3   e-mails and things so that I know -- there is the          3     Q. Okay. And if called to testify at trial,
    4   proposal and then there is a cover says, great,            4   you will not be offering any Janssen-specific
    5   we're funded, let's go forward. Or it says, hey, we        5   opinions; is that correct?
    6   can't afford to do this now. Or there is no cover          6     A. Yes, that is correct.
    7   e-mail at all, in which case I have no information.        7         MR. CHALOS: Object to the form.
    8         And I can tell you for many of these, the            8     A. That's correct.
    9   cover e-mails were simply not present. So sometimes        9     Q. Another point that has come up repeatedly,
   10   I knew, sometimes I didn't. I keep the documents          10   so I apologize but I'm doing my housekeeping: You
   11   into the categories of what information they can          11   have no opinions that you are offering as to whether
   12   provide. I take it no further than that. If it was        12   any Janssen marketing claims are false or
   13   a proposal, it was a proposal, that's all.                13   misleading; is that correct?
   14     Q. Okay. So other than the document that you            14     A. That's correct. The assessment of the false
   15   reference here, ending in Bates Number 58, you're         15   and misleading nature of the ads was done by other
   16   not aware of any other document that would suggest        16   experts.
   17   that this plan was in fact implemented, correct?          17     Q. And consistent with that, my understanding,
   18     A. As I sit here right now, based on the                18   based on your testimony in this matter so far, is
   19   conversation we've just had, I would agree with           19   that to the degree that you are making
   20   that.                                                     20   determinations about false or misleading, it is
   21         MR. TULLY: I have no further questions.             21   based on reliance on -- I believe you listed five
   22         THE VIDEOGRAPHER: We are now going off the          22   other experts retained by plaintiffs in this matter;
   23     video record. The time is currently 10:14 a.m.          23   is that correct?
   24       (Recess from 10:14 a.m. until 10:20 a.m.)             24     A. Yes. There was one additional. It was the
   25         THE VIDEOGRAPHER: We are now back on the            25   FDA warning letters as well, so -- but you're

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                                                  Page 421                                                  Page 423
    1   correct in the five other experts.                     1   Section E of the table, correct?
    2     Q. And is there a particular FDA warning letter      2      A. Yes.
    3   directed at Janssen on which you are relying?          3      Q. None is a Janssen document, correct?
    4     A. I don't want to take your time now to look        4      A. That's correct.
    5   through here. I don't recall -- somewhere in the       5      Q. Okay. If we turn to Page 100, H: "Problems
    6   report there is a list of the specific warning         6   only occur when opioids are abused or used
    7   letters. I can't recall if there was a Nucynta         7   illegally - addicts are bad people who knowingly
    8   letter or not.                                         8   abuse the drugs, not good people who were seeking
    9     Q. Okay.                                             9   treatment for legitimate ailments."
   10     A. I want to leave that open that I can correct     10        Did I read that correctly?
   11   that when I figure that out.                          11      A. Yes.
   12     Q. Well, how about if we -- are you willing to      12      Q. And the documents listed under H span from
   13   agree that if the warning letter is not listed in     13   Page 100 of the report into Page 101; is that
   14   the report, in this section, it is not something      14   correct?
   15   you're relying on?                                    15      A. It is.
   16     A. Yes.                                             16      Q. And no Janssen document is listed there,
   17     Q. Okay. Let me apologize up front again for        17   correct, in that section, correct?
   18   what will be something of a slog here, but I just     18      A. That's correct.
   19   want to go through this. Can I ask you to look at     19      Q. Okay. And if we go down to -- if we move
   20   Exhibit 1, which is your report, as you are           20   ahead to Page 111 -- you're probably picking up on
   21   familiar.                                             21   the theme here.
   22     A. Yes.                                             22      A. Yes.
   23     Q. And if I could ask you to turn to Table II       23      Q. Letter N, that category is: "Even patients
   24   on Page 86.                                           24   at high risk of addiction can be safely prescribed
   25     A. I'm there.                                       25   opioids by using risk-mitigation strategies such as
                                                  Page 422                                                  Page 424
    1     Q. Okay. Now that I've done that, I'm actually       1   pain contracts."
    2   going to -- well, first, you've testified several      2          Did I read that correctly?
    3   times that what the table reflects is messages that    3      A. Yes.
    4   you've seen, representative messages across the        4      Q. And that letter, the documents under Letter
    5   various defendants in this case, put into various      5   N span from Page 111 into Page 112, correct?
    6   categories that are listed A through X, correct?       6      A. Yes.
    7     A. Correct.                                          7      Q. And again, am I correct that there are no
    8     Q. Okay. Can I ask you to skip to Page 92, if        8   Janssen documents listed in this portion of the
    9   you would, and we'll begin our little bit of a slog    9   table?
   10   here, which is to say you see D on Page 92 is:        10      A. You are correct.
   11   "Minimize concerns about addictive nature of          11      Q. Okay. If we could move ahead to Page 114,
   12   opioids."                                             12   I'll direct your attention to Letter P:
   13        And 90 -- and D covers Pages 92 to 93 in         13   "Undertreated pain should be treated with opioids."
   14   your report, correct?                                 14          Did I read that correctly?
   15     A. Yes.                                             15      A. Yes.
   16     Q. Am I correct that you do not list any            16      Q. Okay. And P spans from 114 to the top of
   17   Janssen documents in this section of the table?       17   Page 116; is that correct?
   18     A. In Part D of Table II I do not see any           18      A. Yes.
   19   Janssen documents.                                    19      Q. And am I correct that, again, no Janssen
   20     Q. Okay. Can I ask you to look below that in        20   documents are listed in this section of the report?
   21   Letter E? It reads: "Science now showing opioids      21      A. You are correct.
   22   are not as addictive as once thought."                22      Q. Okay. Page 116, Q: "There is more risk of
   23        Is that correct?                                 23   leaving pain untreated than using opioids to treat
   24     A. That's correct.                                  24   pain. "
   25     Q. And there are three documents listed in          25          Did I read that correctly?

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                                                     Page 425                                                      Page 427
    1     A. Yes.                                                1      A. So it's -- of course it's out -- that's
    2     Q. And Q lasts all the way to Page 118?                2   outside the scope of what I did here, but as a
    3     A. Yes.                                                3   pharmacist, I would agree that chronic pain is
    4     Q. Okay. And am I correct that there are no            4   serious, yes.
    5   Janssen documents listed in that section of this         5      Q. Okay. And will you agree with me that
    6   report as well?                                          6   chronic pain affects millions of people in the
    7     A. Yes, you are.                                       7   United States?
    8     Q. Okay. And below on Page 118, R is:                  8          MR. CHALOS: Object to the form.
    9   "Opioids offer more effective pain control and are       9      A. If you have a statistic, I'd be happy to
   10   safer than alternatives."                               10   entertain it. I don't -- I don't follow the
   11        And I believe that is only on Page 118. Am         11   numbers, so I can't say that it affects millions or
   12   I correct that under Letter R there are no Janssen      12   tens of millions, I just don't know, but I agree
   13   documents listed?                                       13   it's a serious problem and a lot of people are
   14     A. Yes, you are.                                      14   affected.
   15     Q. Okay. We could go ahead to Page 123, easier        15      Q. Okay. And will you agree with me that
   16   said than done for me, apparently. At the bottom of     16   chronic pain affects people in Summit County, Ohio
   17   123, Letter U is: "Opioids can be prescribed for        17   and Cuyahoga County, Ohio?
   18   any pain condition without risk."                       18          MR. CHALOS: Object to the form.
   19        Did I read that correctly?                         19      A. Certainly, yes.
   20     A. You did.                                           20      Q. Okay. Will you agree with me that there are
   21     Q. And Section U, so to speak, runs from 123 to       21   risks associated with untreated chronic pain?
   22   the top of 125; is that correct?                        22          MR. CHALOS: Object to the form.
   23     A. Yes.                                               23      A. So I have to be real careful here because I
   24     Q. And again, no Janssen documents are listed         24   don't -- I don't want to, you know, go beyond my
   25   in that section of the table, correct?                  25   ability to have a basis for knowing that, and I'm
                                                     Page 426                                                       Page 428
    1     A. Yes.                                                1   not a doctor and so I can't really evaluate what
    2     Q. Okay. Also on Page 125, there are two               2   patients face for not being treated for pain, and I
    3   documents listed under V, which is: "Opioids can be      3   think there are other experts that are better suited
    4   prescribed to any age group without risk."               4   to answer that question.
    5         Is that correct?                                   5      Q. So if I were to ask you questions, as I have
    6     A. Yes, sir.                                           6   been to a degree, about the treatment of pain, is it
    7     Q. And again am I correct that neither of the          7   your position that your answers would be that you
    8   documents are Janssen documents?                         8   are not an expert and able to answer those
    9     A. You are.                                            9   questions?
   10     Q. All right. And good news, I get to say             10      A. Yeah, I'm not an expert on pain management,
   11   finally, on Page 125, W is: "'Round the clock'          11   so I don't hold myself out as one and I -- I am a
   12   dosing should be used for chronic pain rather than      12   pharmacist, so I've provided care to patients who
   13   'as needed' dosing."                                    13   are in pain, but it's very different than diagnosing
   14         And W runs from 125 to Page 126; is that          14   and following and monitoring and caring for a
   15   correct?                                                15   patient over a long period of time who has chronic
   16     A. That is correct.                                   16   pain.
   17     Q. And am I correct that there are no Janssen         17      Q. Okay. Well, would you agree with me that
   18   documents listed in that section?                       18   it's the role of the prescribing physician to weigh
   19     A. Yes, you are.                                      19   the risks and benefits of any pain medications when
   20     Q. All right. Thank you. Dr. Perri, I just            20   treating an individual with pain patient?
   21   want to ask you a couple of questions or a few          21      A. Yes, I would, I would agree with that
   22   questions.                                              22   statement.
   23         Do you agree that chronic pain is a serious       23      Q. Okay. Would you agree with me that for some
   24   medical condition?                                      24   patients opioids may be the only effective treatment
   25         MR. CHALOS: Object to the form.                   25   for chronic noncancer pain?

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                                                           Page 429                                                        Page 431
    1         MR. CHALOS: Object to the form; also                     1     Q. I'll just ask this one last question: Do
    2     outside the scope of his opinions.                           2   you believe that the drug problem in this country
    3     A. You know, again, the -- to talk about these               3   that you've referred to predates the 1990s and the
    4   kinds of issues -- I realize it's important for you            4   growth that you've discussed of opioids?
    5   to do that and I want to try to give you an answer,            5         MR. CHALOS: Object to the form.
    6   but I have to qualify it and say that, you know,               6     A. So I didn't -- I didn't really do a
    7   this is not what I did in my analysis here. I can              7   historical review, and I know -- I know another
    8   answer that question as a pharmacist, and -- you               8   expert did, so I think we can defer to that expert
    9   know, so given that, my sentiment about that is, is            9   to get an answer to that question.
   10   that that's a downstream conclusion. When a patient           10         I think the data that I did see, the data
   11   is first starting out, there are always alternatives          11   points that were identified through my analysis of
   12   and it may end up that some of those patients end up          12   the marketing of defendants certainly indicate that
   13   that an opioid is the only alternative, I agree with          13   there was a point in time in the mid '90s where the
   14   that, but at the beginning of care -- and there's a           14   opioid utilization began to increase rapidly and
   15   lot of -- a lot of the messages in these tables that          15   sustainably for many years, and alongside that there
   16   we just went through focused on using opioids sooner          16   was a parallel track of a growing, you know,
   17   in the disease process, using them preferentially.            17   national, literally, catastrophe about drug use.
   18         So I think I want to be real careful and                18         And so with that background and caveat that
   19   just say that the end result, it's possible that              19   I'm not a historian, I think that's about as much as
   20   opioids might be the only alternative for a patient,          20   I can stay about it.
   21   but getting to that point, it's -- that's definitely          21     Q. Okay. I'm going to try to get the payoff
   22   not true.                                                     22   now from all this premarking we did.
   23     Q. Okay. Thank you. Dr. Perri, you've said in               23         MR. CHALOS: Wait, I thought that was just
   24   some form throughout your testimony over the last             24     your one last question.
   25   day, and now a quarter, so -- that there is a drug            25         MR. GALIN: Only on that. The judge I
                                                        Page 430                                                       Page 432
    1   problem in this country. And am I correct that                 1     clerked for, by the way, always said never trust
    2   you've testified in this deposition that there is a            2     a lawyer who tells you he only has one question.
    3   drug problem in this country?                                  3         MR. CHALOS: That one question in 86 parts.
    4         MR. CHALOS: Object to the form.                          4         MR. GALIN: Yeah. That's the old Rodney
    5     A. I know we've talked about that. I believe                 5     Dangerfield.
    6   that there is a drug problem in this country, yes.             6         (Perri Exhibit 13 was marked for
    7     Q. Okay. And I take it you believe there --                  7   identification.)
    8   well, I'll just ask you.                                       8   BY MR. GALIN:
    9         Do you believe there is a drug problem in                9     Q. I'm going to show you what has been
   10   Cuyahoga County?                                              10   premarked as Exhibit 13.
   11     A. I think it exists everywhere in the United               11         MR. GALIN: I'll throw those over. I
   12   States, and probably other places in the world too.           12     suppose if I were more adept, I would use the
   13     Q. Okay. And do you believe that drug problem               13     Elmo now, but I think that's probably only going
   14   involves heroin?                                              14     to make this --
   15         MR. CHALOS: Object to the form; beyond the              15         MR. CHALOS: Are they both the same?
   16     scope of his opinions here.                                 16         MR. GALIN: Yes. Yeah.
   17     A. So, you know, I mentioned earlier I'm not an             17         MR. CHALOS: Okay.
   18   expert in pain management, and I'm also not an                18         MR. GALIN: That's only going to make things
   19   expert on addiction. I've done some work in the               19     last longer.
   20   area, so I'm familiar with -- I've published in the           20   BY MR. GALIN:
   21   area of opioids, so I've read a lot of literature             21     Q. Dr. Perri, do you recognize this document?
   22   about it, but, you know, I didn't -- I didn't look            22     A. Yes, I do.
   23   at anything in my review of this case that focused            23     Q. What is this?
   24   on illicit drug utilization. I was completely                 24     A. Duragesic package insert.
   25   focused on the prescription opioid market.                    25     Q. This is the FDA-approved package insert for

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                                                       Page 433                                                       Page 435
    1   Duragesic?                                                 1   You see at the top there is a section "Drug Abuse
    2     A. It appears to be, yes.                                2   and Dependence."
    3     Q. Okay. And because I don't believe the date            3     A. Yes.
    4   is on here --                                              4     Q. Okay. To be fair, I'll bear the brunt of
    5     A. 1990.                                                 5   reading at this point. It says: "Fentanyl is a
    6     Q. There you go. I'm glad you found it,                  6   Schedule II controlled substance and can produce
    7   because I didn't. It is the 1990 insert?                   7   drug dependence similar to that produced by
    8     A. Uh-huh.                                               8   morphine. Duragesic therefore has the potential for
    9     Q. Could you read for me below the Duragesic,            9   abuse."
   10   the header, the first thing that is stated on the         10         Did I read that correctly?
   11   label?                                                    11     A. Yes, you did.
   12     A. "Fentanyl transdermal system."                       12     Q. Okay. I believe, but let me confirm, that
   13     Q. Okay. And then, I'm sorry, right below               13   is all I'd like with this exhibit, so you can set
   14   that?                                                     14   that one aside.
   15     A. "Warning: May be habit forming."                     15         (Perri Exhibit 14 was marked for
   16     Q. Okay. Can I ask you to turn to -- I                  16   identification.)
   17   apologize, the page numbers aren't numbered but to        17   BY MR. CHALOS:
   18   -- if you go one, two -- three pages in. I                18     Q. I am now going to show you what has been
   19   recognize that they are double-sided. I'm talking         19   marked as Exhibit 14. I'll throw that and try not
   20   about the actual page rather than the page number.        20   to wound anyone. These get thicker by the moment.
   21   At the top of the page it says "Chronic Pulmonary         21         MR. CHALOS: Wait. 14?
   22   Disease."                                                 22         MR. GALIN: Yes.
   23     A. Yes.                                                 23         MR. CHALOS: This one was --
   24     Q. Okay. We're on the same page. I'll give              24         MR. GALIN: That was 13.
   25   your attorneys a chance to make sure that they are        25         MR. CHALOS: Oh, okay. Thank you.
                                                      Page 434                                                     Page 436
    1   there.                                                     1   BY MR. GALIN:
    2         MR. CHALOS: I lost you. Three pages in?              2      Q. Dr. Perri, do you recognize this document?
    3         MR. GALIN: It's three full pages, not on             3      A. This a later package insert, prescribing
    4     both. The top is "Chronic Pulmonary Disease."            4   information, for Duragesic as well.
    5         MR. CHALOS: Oh, the back of the third page.          5      Q. All right. And maybe you've identified the
    6         MR. GALIN: Yeah.                                     6   date on your own, but if not, I will represent to
    7         MR. CHALOS: Okay. Got it. I'm there.                 7   you that this is the 2005 Duragesic package insert.
    8         MR. GALIN: Later, when we have section               8      A. Actually, is it 2005? I thought it was
    9     numbers, it will get a lot easier.                       9   earlier than that. Yeah, it's 2003.
   10   MR. GALIN:                                                10      Q. Yes, this is 2003. Excuse me. I apologize.
   11     Q. If I were to direct your attention about             11   I think this is actually the one that was in effect
   12   just halfway down, do you see in there that it's          12   in '05 but was modified in '03.
   13   Drug or Abuse [sic] Dependence, that section?             13      A. Yes.
   14     A. I do.                                                14      Q. So just so that we're clear, just so you're
   15     Q. All right. Would you mind reading the text           15   aware, I'm showing you from what was in effect in
   16   under that header for me?                                 16   '05 but was approved in '03.
   17     A. "Use of Duragesic in combination with                17      A. Yes.
   18   alcoholic beverages and/or other CNS depressants can      18      Q. Do you recognize -- I'll just -- on the
   19   result in increased risk to the patient. Duragesic        19   front page of this you see that there is text that
   20   should be used with caution in individuals who have       20   is inside a black outlined box that continues on to
   21   a history of drug or alcohol abuse, especially if         21   Page 2 of the label?
   22   they are outside a medically controlled                   22      A. I see that.
   23   environment."                                             23      Q. And am I correct this is what is typically
   24     Q. Can we flip over a page now? Again I'm               24   referred to as a black box warning?
   25   using pages. It's about two pages of text beyond.         25      A. You're correct.

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                                                       Page 437                                                     Page 439
    1     Q. What is a black box warning, Dr. Perri?               1     Q. Okay. Just wanted to make sure.
    2     A. It is a -- in my mind, the way I consider a           2        Would you mind reading to me the first
    3   black box warning is a flag that goes up that says,        3   paragraph within the black box warning?
    4   hey, be careful with this drug because it has some         4     A. Yes, and I will read it slowly.
    5   special considerations that people need to know            5     Q. Sorry.
    6   about before they prescribe it. It doesn't mean            6     A. "Duragesic contains a high concentration of
    7   don't use it, it doesn't mean that using it is going       7   a potent Schedule II opioid agonist, fentanyl.
    8   to have a negative outcome automatically. It just          8   Schedule II opioid substances which include
    9   means be aware, prepare the patient for whatever           9   fentanyl, hydromorphone, methadone, morphine,
   10   potential could befall them, make sure they are           10   oxycodone, and oxymorphone have the highest
   11   ready to deal with anything that could come up, and       11   potential for abuse and associated risk of fatal
   12   that the prescriber, the pharmacist, anyone involved      12   overdose due to respiratory depression. Fentanyl
   13   in their care is aware of the added danger that           13   can be abused and is subject to criminal diversion.
   14   exists along with the use of this medication.             14   The high content of fentanyl in the patches
   15     Q. Okay. There are warnings and precautions in          15   (Duragesic) may be a particular target for abuse and
   16   every FDA-approved label; is that correct?                16   diversion."
   17     A. Yes. The black box warning does go a little          17     Q. Thank you, Doctor. If we flip over to
   18   bit further than that. It sets it apart and makes         18   Page 2, we're still in the black box warning,
   19   sure that you see that first.                             19   correct?
   20     Q. In fact, am I correct that the black box             20     A. Yes.
   21   warning is meant to signal the most pressing of           21     Q. If you look down into the fourth paragraph,
   22   warnings and draw extra attention to the prescriber       22   am I correct that it reads: "Duragesic can be
   23   about the concerns included within the black box; is      23   abused in a manner similar to other opioid agonists,
   24   that correct?                                             24   legal or illicit. The risk should be considered
   25         MR. CHALOS: Object to the form.                     25   when administering, prescribing or dispensing
                                                      Page 438                                                         Page 440
    1     A. Yeah, I think that's consistent with what I           1   Duragesic in situations where the health care
    2   described. I used different words but I think it's         2   professional is concerned about increased risk of
    3   consistent.                                                3   misuse, abuse or diversion."
    4     Q. So let me ask it this way. Not all products           4         Did I read that correctly?
    5   have black box warnings, correct?                          5     A. Yes.
    6     A. Yes, that's true.                                     6     Q. Okay. And that is within the black box
    7     Q. What -- what prompts a black box warning for          7   warning of this 2003-2005 period label?
    8   a product as opposed to one that doesn't have one?         8     A. Yes.
    9         MR. CHALOS: Object to the form.                      9     Q. I'm going to attempt to help the court
   10     A. Yeah, so I, you know, I've said many times           10   reporter. I don't know if that helps or not.
   11   I'm not an FDA expert so I can't tell you the exact       11         And then the next paragraph down, midway
   12   criteria that they use, but my understanding as a         12   into it, this is the paragraph that begins:
   13   pharmacist about when a drug gets a black box             13   "Persons at increased risk for opioid abuse
   14   warning is when we have what are called                   14   include..."
   15   postmarketing surveillance data, or something we've       15         And then the next sentence says: "Patients
   16   learned about the drug since it's been on the market      16   should be assessed for their clinical risks for
   17   that needs to be included in the labeling that            17   opioid abuse or addiction prior to being prescribed
   18   warrants special attention.                               18   opioids. All patients receiving opioids should be
   19     Q. Okay. And will you agree with me that the            19   routinely monitored for signs of misuse, abuse and
   20   purpose of the black box warning is to convey to the      20   addiction."
   21   prescriber that there are particular heightened           21         Is that correct?
   22   risks associated with the product bearing the black       22     A. Yes.
   23   box warning?                                              23     Q. Okay. I'm now going to flip ahead in this
   24         MR. CHALOS: Object to the form.                     24   to Page 11. Happily we now have page numbers so it
   25     A. I think we're saying the same thing, yes.            25   should be easier to find. And in this section you

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                                                        Page 441                                                       Page 443
    1   will see there is a section towards the bottom of           1   the whole thing, unless you feel it necessary.
    2   the page, "Misuse, Abuse and Diversion of Opioids,"         2     A. No.
    3   correct?                                                    3     Q. But that's -- okay. So the start of this
    4     A. Yes.                                                   4   black box warning calls out addiction, abuse and
    5     Q. And again, this section discusses that:                5   misuse risk; is that correct?
    6   "Fentanyl is an opioid agonist of the morphine-type.        6     A. It does.
    7   Such drugs are sought by drug abusers and people            7     Q. Okay. And then if we go down the first --
    8   with addiction disorders and are subject to criminal        8   there are bullets under the header for this black
    9   diversion."                                                 9   box warning, correct?
   10         Did I read that correctly?                           10     A. There are.
   11     A. You did.                                              11     Q. And the first bullet, would you mind -- I
   12     Q. And the next paragraph is: "Fentanyl can be           12   hate to keep making you read, but read in the first
   13   abused in a manner similar to other opioids, legal         13   bullet into the record for me, please.
   14   or illicit."                                               14     A. "Duragesic exposes users to risks of
   15         And is actually -- it goes on, it's a                15   addiction, abuse and misuse, which can lead to
   16   similar -- the similar warning to what we just read        16   overdose and death. Assess patient's risk before
   17   in the black box section, correct?                         17   prescribing, and monitor regularly for these
   18     A. It is, yes.                                           18   behaviors or conditions."
   19     Q. Okay. And if we page ahead, I think we can            19     Q. Okay. And can I trouble you to read to
   20   set this -- okay. Let's set this one aside, as fun         20   second one for me?
   21   as it is reading labels.                                   21     A. "To ensure that the benefits of opioid
   22         You can put that aside, Dr. Perri.                   22   analgesics outweigh the risks of addiction, abuse
   23         (Perri Exhibit 15 was marked for                     23   and misuse, the Food and Drug Administration (FDA)
   24   identification.)                                           24   has required a Risk Evaluation and Mitigation
   25   BY MR. GALIN:                                              25   Strategy (REMS) for these products."

                                                      Page 442                                                         Page 444
    1     Q. I will now show you what has been marked               1     Q. Okay. And then to give you a break, I'll
    2   Exhibit 15.                                                 2   take over. On the fifth bullet down, it reads:
    3         MR. GALIN: Oops. I'm trying to balance the            3   "Prolonged use of Duragesic during pregnancy can
    4     getting it to you without being aggressive.               4   result in neonatal opioid withdrawal syndrome which
    5   BY MR. GALIN:                                               5   may be life-threatening if not recognized and
    6     Q. All right. Do you recognize this document,             6   treated."
    7   Dr. Perri?                                                  7         Did I read that correctly?
    8     A. I believe so, yes. I know what it is, yes.             8     A. Yes.
    9     Q. Okay. This is the current -- I will                    9     Q. Okay. Can I ask you to page ahead to
   10   represent to you this is the current Duragesic             10   Page 13, which is Section 5 of the label? Are we
   11   package insert, and if you flip to the very last           11   there?
   12   page you will see it's dated 2009, so it's the label       12     A. Yes.
   13   that's been in effect since 2009.                          13     Q. Great. Would you mind reading the title of
   14     A. Right.                                                14   Section 5.1 to me under the warnings and precautions
   15     Q. Do you agree with me that that's what this            15   section?
   16   is?                                                        16     A. "Addiction, Abuse, and Misuse."
   17     A. I believe that to be the case, yes.                   17     Q. Okay. And could I trouble you to read that
   18     Q. Okay. Again, I'll have you look, if you               18   first paragraph?
   19   would, at the first page of this, and again am I           19     A. "Duragesic contains fentanyl, an opioid
   20   correct that there is a black box warning?                 20   agonist and a Schedule II controlled substance. As
   21     A. There is.                                             21   an opioid, Duragesic exposes users to the risks of
   22     Q. And would you read for me the first portions          22   addiction, abuse, and misuse. Because
   23   or the title of the black box warning?                     23   modified-release products such as Duragesic deliver
   24     A. "Warning: Addiction, abuse and misuse;"               24   the opioid over an extended period of time, there is
   25     Q. I'll let you stop. I won't make you read              25   a greater risk for overdose and death due to the

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    1   larger amount of fentanyl present."                        1   of education program, I guess that would -- that
    2     Q. Thank you. And then the second paragraph              2   would mean that your statement is true. I haven't
    3   reads: "Although the risk of addiction in any              3   evaluated that or I'm not an expert on REMS programs
    4   individual is unknown, it can occur in patients            4   to tell you that they are effective or not
    5   appropriately prescribed Duragesic. Addiction can          5   effective, but I think certainly the intent of the
    6   occur at recommended doses and if the drug is              6   REMS, as I understand it as a pharmacist, even
    7   misused or abused."                                        7   though it's not really related to what I did here,
    8         Did I read that correctly?                           8   was to make sure that the information that needed to
    9     A. Yes.                                                  9   be out in the marketplace about a particular drug
   10     Q. And then the next paragraph reads: "Assess           10   would be there, and precautions were in place.
   11   each patient's risk for opioid addiction, abuse, or       11      Q. You've said, and your lawyer objected that
   12   misuse prior to prescribing Duragesic, and monitor        12   it's outside the scope of what you've done here, you
   13   all patients receiving Duragesic for the development      13   said you didn't review it, but you did in fact cite
   14   of these behaviors and conditions. Risks are              14   to the REMS documents and training materials in your
   15   increased in patients with a personal or family           15   report, did you not?
   16   history of substance abuse (including drug or             16      A. Yes, I referenced the REMS programs and I'm
   17   alcohol abuse or addiction) or mental illness (e.g.,      17   generally familiar with them, but I don't -- I did
   18   major depression)."                                       18   not evaluate whether any of them were effective at
   19         Did I read that correctly?                          19   accomplishing their goals or not.
   20     A. I think so.                                          20      Q. Okay. Right. But you reviewed the REMS as
   21     Q. All right. 5.1 continues on the next page            21   part of your review and included it in your report?
   22   and mentions that: "Opioids are sought by drug            22      A. I did -- I did read the various documents
   23   abusers and people with addiction disorders and are       23   associated with some of the REMS programs. I'm sure
   24   subject to criminal diversion. Consider these risks       24   I haven't seen all of them over every instance in
   25   when prescribing or dispensing Duragesic."                25   time, but I've seen many of them, yes.

                                                       Page 446                                                       Page 448
    1         Do you see that?                                     1     Q. Fair enough. Okay. Could I ask you to page
    2     A. Yes.                                                  2   ahead to page 33?
    3     Q. And Section 5.2 discusses opioid analgesic            3     A. Okay.
    4   Risk Evaluation and Mitigation Strategy, REMS.             4     Q. Do you see Section 9?
    5         Dr. Perri, what is a REMS?                           5     A. Yes.
    6     A. It's exactly what the name suggests. It's a           6     Q. What is the title of Section 9?
    7   way to -- it's a mandated program that's designed to       7     A. "Drug Abuse and Dependence."
    8   help enure that drug use will be appropriate by            8     Q. Okay. And Section 9.2 is titled "Abuse."
    9   implementing a few steps, for example, having people       9   Am I correct?
   10   who prescribe a drug with a REMS complete an              10     A. Yes.
   11   educational program related to that product or the        11     Q. Within Section 9.2, one of the -- the final
   12   REMS program itself, it includes information to be        12   sentence is: "Duragesic can be abused and is
   13   passed out. It includes warnings and precautions          13   subject to misuse, addiction, and criminal
   14   and other information that prescribers would need to      14   diversion."
   15   know, pharmacists would need to know in order to          15         Citing back to the warning we read before in
   16   make sure the patient was prescribed and monitored        16   Section 5.1; am I correct?
   17   properly.                                                 17     A. Yes.
   18     Q. Am I correct that the purpose of a REMS in           18     Q. Okay. The next paragraph says that: "The
   19   this situation is to ensure that patient -- or            19   high drug content in long-acting formulations adds
   20   excuse me, that physicians are well educated on the       20   to the risk of adverse outcomes from abuse and
   21   risks associated with using this product?                 21   misuse."
   22         MR. CHALOS: Object to the form. It's                22         Is that correct?
   23     outside the scope of his opinions here.                 23     A. Yes.
   24     A. The -- to the extent that the -- that most           24     Q. And the next paragraph: "All patients
   25   of the REMS that I'm familiar with require some type      25   treated with opioids require careful monitoring for

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                                                       Page 449                                                         Page 451
    1   signs of abuse and addiction, because use of opioid           1        MR. CHALOS: Okay.
    2   analgesic products carries the risk of addiction              2        MR. GALIN: As you may guess, we'll get to
    3   even under appropriate medical use."                          3     look at some subsequent in a moment.
    4         Did I read that correctly?                              4        MR. CHALOS: So we'll accept your
    5     A. Yes.                                                     5     representation. I don't know if that's true or
    6     Q. Okay. Set that aside for the moment.                     6     not but just -- I -- let me interpose an
    7   Hopefully for good.                                           7     objection subject to your questions that, you
    8         So the good news, Dr. Perri, is we've gone              8     know, we trust you, we believe you are telling us
    9   through all the labels I want to show you for                 9     the truth, but I just want to note that it
   10   Duragesic. The bad news is we have a second product          10     doesn't say that on the document, so --
   11   in this case. So now we're going to do a similar             11        MR. GALIN: Understood and appreciated and
   12   exercise, if you will bear with me, for Nucynta.             12     noted.
   13   Again, I'm going to show you what's been previously          13   BY MR. GALIN:
   14   marked Exhibit 16.                                           14     Q. So 5.4, just to throw your counsel even
   15         (Perri Exhibit 16 was marked for                       15   further off, uses the other clinical name,
   16   identification?)                                             16   tapentadol, which is the more commonly understood
   17   BY MR. GALIN:                                                17   name for Nucynta, says: "Tapentadol is a mu-opioid
   18     Q. Do you recognize this document, Doctor?                 18   agonist. Such drugs are sought by drug abusers and
   19     A. Yes.                                                    19   people with addition disorders."
   20     Q. What do you recognize this document to be?              20        Is that correct, what I wrote --
   21     A. It's to be -- appears to be the prescribing             21     A. Do pronunciations count?
   22   information for Nucynta.                                     22     Q. Yeah. Mu.
   23     Q. Indeed this is the 2008 Nucynta package                 23     A. Yes. Thank you.
   24   insert or product label, depending on the                    24     Q. Fair enough. Yes, my apologies for that.
   25   terminology you want to use.                                 25        It goes on to say that: "Tradename can be

                                                          Page 450                                                         Page 452
    1     A. Yes, it is.                                              1   abused in a manner similar to other opioid agonists,
    2     Q. And if you look at the very -- there are two             2   legal or illicit. This should be considered when
    3   columns on the front page. If you look at the top             3   prescribing or dispensing Tradename in situations
    4   right, there is a bullet. Could you read that                 4   where the physician or pharmacist is concerned about
    5   bullet for me?                                                5   an increased risk of misuse and abuse."
    6     A. "Abuse potential may occur. Monitor                      6        Again, as your lawyer pointed out, Tradename
    7   patients closely for signs of abuse and addiction."           7   was the placeholder. This is the final version with
    8     Q. Okay. And if we were to go to -- that                    8   Nucynta put it in and you saw Tapentadol.
    9   references parenthetically 5.4, which is Section 5.4          9        Did I read that correctly?
   10   of the label. So if we turn to Page 5, which has             10     A. Yes.
   11   Section 5.4 on it --                                         11     Q. Okay. It goes on to say that: "Tapentadol
   12     A. Yes.                                                    12   may be abused by crushing, chewing, snorting or
   13          MR. CHALOS: Let me just interpose an                  13   injecting the product. These practices pose a
   14     objection. My copy says "Tradename TM" on it.              14   significant risk to the abuser that could result in
   15     Is that -- am I looking at the right document?             15   overdose and death."
   16          MR. GALIN: Yes.                                       16        And it cites to Section 9. Is that correct?
   17          MR. CHALOS: Okay. How do we know this is              17     A. Yes.
   18     Nucynta?                                                   18     Q. And if we were to head up to Section 9,
   19          MR. GALIN: I will represent to you that               19   which is on Page 12, Drug Abuse and Dependence, 9.1,
   20     it's Nucynta and that is the -- it isn't -- the            20   Controlled Substance, discusses that: "This product
   21     words used on here is the clinical name rather             21   has an abuse potential similar to hydromorphone, can
   22     than the marketing name.                                   22   be abused and is subject to criminal diversion."
   23          MR. CHALOS: This is the final version of              23        Do you see that at the very bottom of
   24     the label?                                                 24   Page 12?
   25          MR. GALIN: Of the 2008 version, yes.                  25     A. I do.

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                                                 Page 453                                                        Page 455
    1     Q. Okay. And I won't subject us all to all of       1     Q. Similar language to what we just read about
    2   the reading of 9.2 on Page 13, but that's entitled    2   tapentadol being "a mu-opioid agonist and is a
    3   "Abuse," correct?                                     3   Schedule II controlled substance. Such drugs are
    4     A. Correct.                                         4   sought by drug abusers and people with addiction
    5     Q. And discusses addiction as a primary chronic     5   disorders." Correct?
    6   neurobiological disease with genetic, psychosocial    6     A. Yes.
    7   and environmental factors influencing its             7     Q. And then if we go down two paragraphs, there
    8   development and manifestations, correct?              8   is a paragraph that says: "Nucynta ER can be abused
    9     A. Yes.                                             9   in a manner similar to other opioid agonists, legal
   10     Q. Okay. And if you turn the page, 9.3             10   or illicit. This should be considered when
   11   discusses dependence, correct?                       11   prescribing or dispensing Nucynta ER in situations
   12     A. Yes.                                            12   where the physician or pharmacist is concerned about
   13     Q. Okay. Let's set this one aside. I promise       13   an increased risk of misuse and abuse."
   14   you we are getting closer. I'm going to show you     14         Am I -- did I read that correctly?
   15   what has been premarked 17.                          15     A. I think so, yes.
   16         (Perri Exhibit 17 was marked for               16     Q. And if we flip to the next page, the top of
   17   identification.)                                     17   Page 9: "Drug abusers may attempt to abuse Nucynta
   18   BY MR. GALIN:                                        18   ER by crushing, chewing, snorting or injecting the
   19     Q. Do you recognize this document?                 19   product. These practices may result in the
   20     A. This appears to be the 2011 version of the      20   uncontrolled delivery of Nucynta ER and pose a
   21   Nucynta extended release package insert or           21   significant risk to the abuser that could result in
   22   prescribing information.                             22   overdose and death."
   23     Q. Okay. And am I correct that if you look on      23         Did I read that correctly?
   24   the top left of this, this is the 2011, it says      24     A. Yes.
   25   "Initial US Approval: 2011"?                         25     Q. Okay. And if we were to page ahead to

                                                 Page 454                                                         Page 456
    1     A. Yes.                                             1   Page 18 here in Section 9 of the label or package
    2     Q. And if you look on the final page of this        2   insert, and this is entitled "Drug Abuse and
    3   document, it confirms this is the 2011 version?       3   Dependence," correct?
    4     A. Yes.                                             4     A. Yes.
    5     Q. And am I correct that just below that on the     5     Q. In the second paragraph, under 9.2, is --
    6   front page is yet another black box warning?          6   the section entitled "Abuse," the second paragraph
    7     A. It is.                                           7   reads: "The risks of misuse and abuse should be
    8     Q. Okay. And will you read the first line           8   considered when prescribing or dispensing Nucynta
    9   underneath -- within the black box warning?           9   ER."
   10     A. "Potential for abuse, proper patient            10         Correct?
   11   selection and limitations of use."                   11     A. Yes.
   12        The first word was "Warning." I'm sorry.        12     Q. Okay. You can set this one aside. Good
   13     Q. Thank you. And then if you could read the       13   news, the final of these labels, which has been
   14   bolded material just below "See full prescribing     14   premarked 18.
   15   information."                                        15         (Perri Exhibit 18 was marked for
   16     A. "Nucynta ER contains that tapentadol, a         16   identification.)
   17   mu-opioid agonist and Schedule II controlled         17   BY MR. GALIN:
   18   substance, with risk of misuse, abuse, and           18     Q. Do you recognize this, Dr. Perri?
   19   diversion, similar to other opioid analgesics."      19     A. This is also Nucynta ER from 2008.
   20     Q. Thank you. Can we page ahead to Page 8,         20     Q. Okay. '18, I believe. 2018, Is that what
   21   Section 5.5. I will say on Page 7 you will see       21   you said?
   22   Section 5 is entitled "Warnings and Precautions,"    22     A. No, this one is 2008, I believe. Well, no,
   23   and on Page 8, Section 5.5 is entitled "Misuse and   23   that's the initial approval date, so let's see.
   24   Abuse." Correct?                                     24     Q. If you look in the bottom right-hand corner,
   25     A. Yes.                                            25   where it says "Revised" on the front page.

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    1     A. Yes, 2018. Generally, the very last line --           1         Have I read all that correctly?
    2   yes, there it is, September 2018.                          2     A. Yes.
    3     Q. And again, this has a black box on the front          3     Q. Okay. And Section 9, again, is "Drug Abuse
    4   left?                                                      4   and Dependence." Do you see that?
    5     A. It does.                                              5     A. Yes.
    6     Q. And it again starts with: "Warning:                   6     Q. And again, 9.2 is "Abuse" and contains
    7   Addiction, abuse, and misuse."                             7   lengthy warnings and directions to the physician
    8         Correct?                                             8   regarding the potential for abuse of this product;
    9     A. Yes.                                                  9   is that correct?
   10     Q. Okay. And this contains a similar                    10     A. Yes.
   11   discussion of the risks associated with addiction,        11     Q. Okay. You can set that aside.
   12   abuse, and misuse, and the use during pregnancy that      12         Doctor and, frankly, everyone, I appreciate
   13   we've read in the previous labels. Am I correct?          13   your patience with me as we went through that
   14     A. Yes.                                                 14   exercise, but I think it's an important one.
   15     Q. Okay. We can happily read them, but I think          15         Did you review the -- these labels or
   16   people will prefer we don't, so we'll skip ahead to       16   product inserts as part of your effort in this
   17   5.1. Section 5.1 is "Warnings and Precautions,"           17   matter?
   18   correct?                                                  18     A. Yes. I made -- to the best I could, I made
   19     A. Yes, Section 5 is "Warnings and                      19   a specific effort to make sure I'd seen the PIs for
   20   Precautions."                                             20   all of the drugs.
   21     Q. Yes. And 5.1 is "Addiction, Abuse, and               21     Q. Do you agree with me that after that lengthy
   22   Misuse"?                                                  22   exercise, there is significant and extensive
   23     A. Yes.                                                 23   warnings regarding addiction, abuse, misuse, abuse,
   24     Q. And I will just read. The first paragraph            24   and dependence issues in each version of the
   25   under 5.1 reads: Nucynta ER contains tapentadol, a        25   Duragesic, Nucynta and Nucynta ER labels?
                                                       Page 458                                                       Page 460
    1 Section II controlled substance. As an opioid,               1         MR. CHALOS: Object to the form.
    2 Nucynta ER exposes users to the risks of addiction,          2      A. So based on what we've seen, I would agree
    3 abuse, and misuse. Because extended-release                  3   with you that there is plenty of warning information
    4 products such as Nucynta ER deliver the opioid over          4   in the PI. The only thing I would say about that is
    5 an extended period of time, there is a greater risk          5   I think I've expressed my opinions about the utility
    6 for overdose and death due to the larger amount of           6   of the PI in the overall mix of the marketing
    7 tapentadol present."                                         7   materials, but yes, I agree that there are warnings
    8         Did I read that correctly?                           8   contained in all of the PIs that we just reviewed.
    9     A. I think you said Section II controlled                9      Q. Okay. And just so that -- because your
   10   substances, instead of Schedule II. I may have            10   lawyer objected, I will go with am I correct that
   11   misheard you, though.                                     11   there is -- that warning information is in each of
   12     Q. I probably misspoke but if I did, I                  12   the Duragesic labels?
   13   appreciate you correcting it. It's a Schedule II          13         MR. CHALOS: Same objection.
   14   controlled substance.                                     14      A. Yes. The ones we just reviewed, the
   15         And then the next paragraph: "Although the          15   warnings, different -- over time the warnings
   16   risk of addiction in any individual is unknown and        16   change, but the warnings were present in all of the
   17   can occur in patients appropriately prescribed            17   PIs that we looked at.
   18   Nucynta ER, addiction can occur at recommended doses      18      Q. And that includes Nucynta as well?
   19   and if the drug is misused or abused."                    19      A. Yes.
   20         The next paragraph goes on to direct the            20      Q. And Nucynta ER?
   21   physician to: "Assess each patient's risk for             21      A. Yes.
   22   opioid addiction, abuse, or misuse prior to               22      Q. Okay. Doctor, you said that you believed
   23   prescribing Nucynta ER, and monitor all patients          23   the product inserts have limited utility, correct?
   24   receiving Nucynta ER for the development of these         24      A. They are a piece of the puzzle, but they are
   25   behaviors and conditions."                                25   not the only piece, so their utility has to be

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    1   considered with respect to that, and as we read            1   to believe that sales reps for Janssen did not
    2   through them, they're fairly long and very detailed        2   distribute the package insert whenever discussing
    3   in some cases, so their utility for physicians is          3   the product and its indications, correct?
    4   limited by that.                                           4          MR. CHALOS: Object to the form.
    5         But I think the main thing that -- the main          5     A. That's -- I -- yes, I agree that I haven't
    6   opinion that I've expressed is that the PI is just         6   seen any evidence that they didn't do that. I still
    7   one piece of the marketing that was presented, and         7   have to say, though, I question the utility of it
    8   certainly these are all good examples that they            8   given the big picture of the marketing, but I
    9   provide warnings.                                          9   certainly agree with that statement.
   10     Q. Okay. And in fact -- we will come back to            10     Q. So let me talk about the question about the
   11   that, but one of the things you mentioned is --           11   utility. Why is it that you question the utility of
   12   yesterday, I can't remember who was speaking with         12   the package insert?
   13   you, it might have been Mr. Volney, that -- I think       13     A. Well, I think we've established through
   14   you testified that any time the product name and          14   these last two days that, you know, physicians are
   15   indication are mentioned, I think you've used be it       15   busy folks and they need information. They also
   16   even on a mug, it has to be -- the product insert or      16   need information that is succinct and relevant to
   17   label, package insert, product label, must be             17   the decision they are making at that moment in time.
   18   provided; is that correct?                                18          The package insert, as we've just gone
   19     A. Yes, and it was in reference to my                   19   through, these are extensive documents and they are
   20   understanding of when they had to provide a PI,           20   generally not in this nice of a fashion to read.
   21   which was any time they did those two actions             21   They are generally a big sheet with print so small
   22   together. And the mug example was an old-school           22   you can't even really read them. But the main point
   23   reference, because, of course, we know they don't do      23   is, is that they are one piece of a much larger
   24   that -- no one does that any more, but I remember,        24   program of marketing that is presented related to
   25   you know, years passed getting a coffee mug that          25   all of these products, Nucynta and Duragesic

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    1   would say Nucynta or whatever and there would be an        1   included, that focuses on product features and
    2   annoying package insert folded up very tightly stuck       2   product benefits, the things that are most at the
    3   to the side of it. So...                                   3   front of physicians' minds when they are trying to
    4      Q. Okay. And am I correct that in your review           4   make a decision about what their patient needs, and
    5   of -- well, let me --                                      5   what might be the best choice for their patient.
    6          In your review of the documents for Janssen,        6         And certainly those bigger -- the bigger
    7   for this exercise, did you gain an understanding of        7   more fuller scope focuses on the well-crafted and
    8   whether Janssen's sales representatives were               8   well-defined, well-thought-out, well-planned
    9   required to provide the package insert when engaging       9   strategies that defendants have figured out will be
   10   in what I believe you referred to as personal             10   the most effective at increasing sales of these
   11   selling?                                                  11   products.
   12      A. Depending on the nature of their visit, my          12         So for that reason, given the busy nature of
   13   answer would be yes, but I think that -- I don't see      13   the physician, given the presentation of the
   14   evidence that the package inserts were distributed        14   material in the PI not being the most user friendly
   15   inappropriately at any point.                             15   in many cases, and the large volume of other
   16      Q. And when you say distributed                        16   marketing materials, and that includes the CE
   17   inappropriately, the only inappropriate would mean        17   programs and the use of key opinion leaders and all
   18   if they weren't distributed, correct?                     18   the different ways that manufacturers reach out to
   19      A. Right. I think that's something that                19   physicians to educate them about their drugs, the
   20   industry people pay a lot of attention to because         20   package insert plays a role but it's a smaller role
   21   it's a well-understood requirement and I think            21   than most of the other types of marketing just in
   22   everyone wants to be as diligent as possible making       22   terms of how much utility it has during that patient
   23   sure the package insert is presented when it needs        23   encounter for a decision-making.
   24   to be.                                                    24     Q. You've mentioned a couple of times the large
   25      Q. So as you sit here today you have no reason         25   and dense nature, so to speak, of the package

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    1   insert. Am I correct that one of the ways meant to          1         The PDR was a collection of package inserts,
    2   address the depth and breadth of it is to provide           2   and so at least during the time period that the PDR
    3   the black box warning up front, that in a succinct          3   was around there would have been more reliance on
    4   way, as you put it, directs the physicians to that          4   that, but since that point in time, with the advent
    5   warning information?                                        5   of all the handheld and computer-based drug
    6         MR. CHALOS: Object to the form.                       6   information systems, I think the importance of the
    7     A. Yeah, that's -- that's true.                           7   package insert is greatly diminished.
    8     Q. And in fact, as we looked at, with one                 8     Q. The FDA still considers the package insert
    9   exception, which was the first Duragesic label,             9   an important part of marketing and information -- a
   10   every one of the labels we looked at had a black box       10   source of information for physicians, correct?
   11   warning that covered addiction, abuse, and misuse;         11         MR. CHALOS: Object to the form.
   12   is that correct?                                           12     A. So the FDA's characterization of it, I don't
   13     A. That statement is correct, yes.                       13   know what they call it, but I can tell you from my
   14     Q. Okay. And in fact, in that one Duragesic              14   perspective what I look at the -- the PI is what
   15   label that we looked at, and you have it, it's             15   sets the boundaries around which a pharmaceutical
   16   Exhibit 13 if you would like to go back, I think I         16   manufacturer who wants to market their product can
   17   asked you to read the very first thing under the           17   engage, and the package insert outlines that, I
   18   name on the top of the label and I believe you read        18   think, in a lot of detail. The black box warning is
   19   a warning about abuse risk; is that correct?               19   required, the indications, all of that are laid out.
   20     A. As I recall, yes, that's correct.                     20         So within the scope of the package insert as
   21     Q. Okay. You -- do you know whether or not               21   your boundaries, those are the things that can be
   22   physicians are trained or taught either in medical         22   discussed, so it's an important part of the
   23   school or otherwise the importance of reviewing and        23   marketing, I agree. I don't know what the FDA
   24   understanding package inserts?                             24   thinks but to me it's an important part of
   25     A. I don't know specifically what their                  25   marketing.
                                                        Page 466                                                          Page 468
    1   training involves. My understanding about what              1      Q. Are you familiar with the term Important
    2   physicians get in medical school in terms of                2   Safety Information or ISI?
    3   pharmacology training is that it's very minimal and         3      A. Yes.
    4   that most of their drug knowledge comes from their          4      Q. What is ISI?
    5   practice experience on medical school campuses,             5      A. The information that's usually contained in
    6   where they first begin seeing patients and                  6   the package or prescribing information relative to
    7   prescribing medications.                                    7   safe use of the product.
    8         And from a marketing perspective, we also             8      Q. And am I correct that pharmaceutical
    9   know that marketers tend to spend a lot of time in          9   manufacturers are required to include the ISI within
   10   those environments, to be there present during a           10   their -- in a fair and balanced way on their
   11   physician's early training years. So that's my --          11   marketing pieces?
   12   that's about the extent of my knowledge about what         12      A. Yes, that's my understanding.
   13   they get in terms of training. I don't know that           13      Q. Okay. And in your review of Janssen's
   14   they're -- or that they are or are not trained on          14   documents, have you seen any indication that it ever
   15   how to interpret a package insert.                         15   failed to include the ISI in its marketing pieces?
   16     Q. Well, do you think that doctors understand            16      A. I don't recall anything specific where they
   17   the importance of a package insert?                        17   did not include the important safety information --
   18     A. I think over time that perhaps has been --            18      Q. Okay.
   19   there would be a different answer to that question,        19      A. -- in a marketing piece.
   20   because I know back in the 1990s we didn't have            20      Q. To the extent that the product insert is
   21   handheld pharmaceutical reference capabilities. Now        21   given to -- or the package insert is given to
   22   certainly we do, and I don't know any doctor that          22   physicians, as you've said it's your understanding
   23   refers to the PDR ever anymore, but I do -- and in         23   it is, is it the manufacturer's fault that it is not
   24   fact, they stopped making the PDR at some point in         24   read or it is not considered by the physician, if in
   25   the mid 2000s.                                             25   fact that's the case?

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    1     A. Gosh. I mean, I hate to use the word fault,              1 Nucynta and its indications, then you would need to
    2   but what comes to my mind about that is, is that,             2 leave a package insert.
    3   you know, the manufacturer has a lot of options when          3    Q. So we -- if something is going to stay
    4   they decide what information to present, and I think          4 behind, it will be the package insert in those cases
    5   my opinion is, is that the package insert generally           5 with the black box warning on it, correct?
    6   is a boundary and I think most people respect that            6        MR. CHALOS: Object to the form.
    7   boundary, most manufacturers do.                              7     A. Yeah, depending on the circumstance. If it
    8         The problem arises in what information is               8   was a -- if they meet the criteria for needing to
    9   focused on. It's one thing to bring lunch to a                9   leave a package insert, I'm sure they probably would
   10   doctor's office and leave a package insert. It's             10   have.
   11   another thing to meet personally with that doctor            11     Q. Okay. Are --
   12   and to discuss the talking points that are designed,         12        THE WITNESS: How long have we been going?
   13   mapped out weeks ahead of time, strategized a year           13        MR. CHALOS: Over an hour.
   14   ahead of time by a marketing planner, and expect the         14        MR. GALIN: Do you want to take a --
   15   doctor to pay more attention to the package insert           15        THE WITNESS: I kind of need to take a short
   16   than the personal communication.                             16     break.
   17         So is it -- is it their fault? I mean,                 17        MR. GALIN: Certainly. Absolutely.
   18   essentially, it's designed so that the information           18        THE WITNESS: Thank you.
   19   that's remembered by the doctor is the information           19        THE VIDEOGRAPHER: We are now going off the
   20   that will promote the product, not restrict its use,         20     video record. The time is currently 11:28 a.m.
   21   so in -- at the end of the day, the marketing pieces         21     This is the end of the Media Number 2.
   22   that are designed to focus on product features and           22      (Recess from 11:28 a.m. until 11:40?a.m.)
   23   the benefits that those bring to patients and                23        THE VIDEOGRAPHER: We are now back on the
   24   doctors who use them.                                        24     video record with the beginning of Media
   25         The reasons why this drug is better than the           25     Number 3. The time is currently 11:40 a.m.

                                                          Page 470                                                       Page 472
    1   competition, the reasons why this drug works better           1         MR. GALIN: Thank you.
    2   than other therapies, those are all the messages              2   BY MR. GALIN:
    3   that get recalled.                                            3     Q. Dr. Perri, before the break, one of the
    4         So at the end of the day, I guess I don't               4   things you were mentioning was that time is spent
    5   like to use the word their fault, but I guess in a            5   preplanning the way pharmaceutical manufacturers
    6   marketing sense, it's because of their actions that           6   will discuss product features and attributes during
    7   those are the things that are remembered and that             7   personal selling in advance of those sales calls,
    8   the PI is not relied on.                                      8   correct?
    9     Q. In a number of the documents you looked at,              9     A. Yes.
   10   am I correct that they said "cannot be left behind"?         10     Q. Okay. During the break I placed before you
   11     A. There were documents that did say "this is              11   what's been marked as Exhibit 19 and I've shared
   12   not a leave behind," "do not share with customers."          12   with your counsel.
   13   I can't recall a specific one right now to point you         13         (Perri Exhibit 19 was marked for
   14   to, but the -- I know that on many of the documents          14   identification.)
   15   I saw in the data -- in the document production,             15   BY MR. GALIN:
   16   there would be designations about whether a document         16     Q. You may recognize this. I know you looked
   17   is permissible to be left behind or not, or if it            17   at a lot of documents, but you may recognize this as
   18   was intended to be left behind, "this is approved            18   some -- a Janssen document Bates stamped JAN00085130
   19   for distribution."                                           19   that is cited in your report at Page 75, Footnote
   20     Q. And yet, as you said, the package insert is             20   245. I won't blame you if you don't actually
   21   always left behind, correct?                                 21   remember this specific document.
   22         MR. CHALOS: Object to the form.                        22     A. Actually, I do.
   23     A. The package insert is left behind when it               23     Q. Oh, great. I really -- you don't -- you're
   24   meets those criteria for why it needs to be left             24   obviously entitled to look through all of it, but I
   25   behind. So if the -- if you're talking about                 25   will tell you I really only want to ask you a

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    1   question about what is the first substantive slide         1   a document JAN-MS-00259893, quote: "only AP-48
    2   on Page 2 of this printout deck. Do you see that           2   combines the superior potency of fentanyl with
    3   slide?                                                     3   naltrexone in a proprietary formulation to safeguard
    4     A. I do.                                                 4   against unintended usage."
    5     Q. And the title is "Compliance is Essential,"           5        Did I read that correctly? Do you see that?
    6   correct?                                                   6     A. Yes.
    7     A. It is.                                                7     Q. Do you know what AP-48 is?
    8     Q. Am I correct that the first bullet reads:             8     A. Off the top of my head, I don't recall, no.
    9   "As a sales representative, it is my responsibility        9     Q. Okay. Do you know -- I will represent to
   10   to" and then a colon?                                     10   you that AP-48 is, as is suggested by the quote that
   11     A. Yes.                                                 11   you have in the table, a developmental version of
   12     Q. Okay. The first bullet under the colon,              12   the fentanyl patch Duragesic meant to safeguard
   13   could you read that for me?                               13   against abuse.
   14     A. "Always promote the benefit and safety of            14     A. Okay.
   15   our products consistent with the FDA-approved             15     Q. Does that sound familiar? I take it you
   16   indications and prescribing information."                 16   don't know.
   17     Q. And the second.                                      17     A. Yeah. I'm trying to remember the specific
   18     A. "Disclose safety information for all                 18   document but --
   19   company-promoted products."                               19     Q. I could show it to you if you want --
   20     Q. Okay. And if you look in the talking                 20     A. No, that's --
   21   points, so to speak, the speaker notes that are           21     Q. -- but my question --
   22   underneath the print, there is one listed, "Slide         22     A. Tell me what your question is, yeah.
   23   Objective."                                               23     Q. Well, my question is do you know if AP-48
   24     A. Yes.                                                 24   ever made it to market?
   25     Q. And it says: "Stress that compliance is              25     A. I am not familiar with any fentanyl and

                                                       Page 474                                                         Page 476
    1   essential in everything we do when we are selling to       1   naltrexone combinations that made it to market.
    2   our customers we must stay within the guidelines."         2      Q. In fact, I will represent that it did not.
    3         Did I read that correctly?                           3      A. Right.
    4     A. Yes.                                                  4      Q. Okay. So considering that it did not make
    5     Q. Okay. So this document reflects, does it              5   it to market, do you believe that this document from
    6   not, Dr. Perri, that Janssen took being compliant          6   which you quote was used in marketing?
    7   and sharing safety information seriously, correct?         7         MR. CHALOS: Object to the form.
    8     A. I think that's one of the things this                 8      A. So no, I don't believe this document was
    9   document definitely shows, yeah.                           9   used in the marketing; however, as I've mentioned in
   10     Q. Okay. You can set that aside. This is                10   prior questions like this, it shows the thought
   11   where I really get jumbled trying to sort of piece        11   process, what was going on internally within
   12   stuff together, as I warned before, and to move this      12   defendants to look at abuse deterrent formulations
   13   along, so bear with me for a second, but where I          13   and to bring abuse deterrents to the marketplace.
   14   think I would like to go next is back to Table II of      14   That was important to the marketing. There were a
   15   your report and Page 89 in particular.                    15   number -- not a number, there were a few products
   16         So if I could ask you to -- this is                 16   that were developed, some got very far along, some
   17   actually -- well, let's start on Page 88 of the           17   did not, but yet the processes that were engaged for
   18   report, which is Letter B of Table II.                    18   those products were very similar to, if not
   19     A. Okay.                                                19   identical to in terms of the plans and strategies,
   20     Q. Letter B on Page 88 is "Abuse deterrent              20   to products that didn't make it to market as the
   21   formulations deter abuse."                                21   ones who did.
   22     A. Yes.                                                 22         So I did include -- and there are other
   23     Q. And if you flip to Page 89, there is a               23   examples in this table of products that or messages
   24   Janssen entry that is the second entry on the page        24   that never made it to market because there was
   25   and it reads, and I quote -- quote you quoting from       25   either a problem with the message or the product

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    1   never made it to market.                                    1   that document that I was interested in making sure
    2      Q. I guess what I'm struggling to understand             2   made it to my table.
    3   then, Dr. Perri, is if Table II, as I understand it         3         So there are a number of documents in there,
    4   from your testimony, is meant to reflect examples or        4   just a few, that never made it, but yet they reflect
    5   the aggregate message that, as you said, has                5   thinking. And I can give you specifically with the
    6   influenced prescribers and led to this increased            6   Endo document, for example, it references what I
    7   growth, as you've stated, in opioid prescriptions,          7   considered to be a vulnerable population: Veterans.
    8   why messages that were never actually used and why          8   And so regardless of whether it made it to market in
    9   messages about a product that never actually made it        9   that form, it showed consideration of targeting
   10   to the market would be included in your table?             10   veterans in the opioid marketing.
   11      A. I guess the best answer I can give you for           11         So the requirements for ending up in this
   12   that is, is that I wanted to be complete in my             12   table were just that it was something that was in
   13   presentation of what the manufacturers planned and         13   the marketing process within defendants' marketing.
   14   executed, and just because something didn't make it        14   It doesn't necessarily mean that they made it to
   15   to market didn't mean they didn't think about it.          15   market, although I'll represent that they did mostly
   16         The abuse-deterrent concept was important.           16   make it to market, and we can know for any one of
   17   It was important to more than just Janssen, and I          17   these whether it made it to market or not. That's
   18   think it was -- including that was one way of              18   not -- I mean, it's a possibility that that could be
   19   showing that there was an attempt made, there were         19   another column in the table, "Did it make it to
   20   considerations given, to an abuse-deterrent                20   market or not." I just didn't do that at this
   21   formulation. It didn't work out, but yet it's              21   point.
   22   important to note that from a -- the product               22      Q. Okay. I'll let my colleagues representing
   23   development perspective, this was something that was       23   Endo deal with the discussion about Endo for you.
   24   on the radar because at this time -- and I shouldn't       24      A. I'm sure they noticed that as well, so --
   25   say at this time because I don't know when this            25      Q. I suspect they probably did.
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    1   document relates to specifically time-wise as I'm           1        I will skip ahead in the purpose of time, if
    2   sitting here right now, but over time manufacturers         2   you would, to I believe it is Page 104 of your
    3   became more interested in abuse-deterrent                   3   report, and there are a number of -- actually,
    4   formulations because of a growing awareness                 4   excuse me. It's 103 that I want to look at. Oh,
    5   societally that we had a drug abuse problem in this         5   actually, bear with me for one moment. All right.
    6   country, and that was one of the things that was            6        Yes, it's 104. If you look under K, it
    7   leading people to look at these abuse-deterrent             7   says: "Patients can be easily tapered off opioids."
    8   formulations.                                               8        Is that correct?
    9     Q. I guess what I'm struggling with again,                9     A. That's correct.
   10   Dr. Perri, is there is nothing in your table, is           10     Q. And under K, the second document is a
   11   there, that distinguishes messages that made it to         11   Janssen document that's referenced by its Bates
   12   the public and to physicians and messages that never       12   number JAN00222151, correct?
   13   got outside the walls of the various defendants.           13     A. Correct.
   14   Correct?                                                   14     Q. Would you read the -- for me the quote
   15     A. The table summarizes messages that were in            15   there?
   16   the marketing materials. That's certain. The               16     A. "Physical dependence is not the same as
   17   majority of the messages, as I recall, were from           17   addiction. It may be managed by gradually reducing
   18   items that are certainly items that were distributed       18   the dosage of the drug if the doctor decides it is
   19   in the marketing materials. A few of the items in          19   appropriate to discontinue therapy."
   20   there, such as this one that you've pointed out            20     Q. I don't see anything or didn't hear anything
   21   today, were -- and others, for example, MoxDuo, that       21   in there about it being easy, and yet this appears
   22   never made it to market. Another example I can give        22   under something that says "patients can be easily
   23   you from Endo that cites to the use -- or to               23   tapered off of opioids."
   24   promoting the use for an incorrect indication, which       24        Why is that?
   25   was caught eventually, but it had other things in          25     A. We'd have to get the whole document to get a

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    1   sense of, you know, how it was being presented, but       1   URL indicates that it's the FDA's website and the
    2   I think certainly the sentiment that patients can be      2   section is for consumers and it's a consumer update
    3   tapered, and I think easily tapered, was something        3   captured just this month on April 4th, 2019?
    4   that shows up in many documents, and, you know,           4         Do you see what I'm referring to?
    5   maybe the words that I've used to describe K aren't       5     A. I do.
    6   perfect, but I don't think there would be any             6     Q. Okay. If you were to go to the second page
    7   argument that this phrase that's listed here,             7   of the printed version of the website, you will see
    8   "physical dependence is not the same as addiction,"       8   just past halfway down is a section -- and I
    9   is making a statement. It's clearly saying just           9   apologize for the small type, one of the problems
   10   because your patient is dependent, it doesn't mean       10   with a screen grab -- is "Misuse and Abuse." Do you
   11   they're addicted. Okay? So that sort of sets the         11   see the section I'm looking at?
   12   tone for it. And it may be managed by gradually          12     A. Yes.
   13   reducing the dose, so here's the solution.               13     Q. And its second paragraph reads under this --
   14         This is indicative of just exactly how I saw       14   well, for completeness or -- I'll read. The first
   15   the marketing messages being used by defendants.         15   paragraph is: "Misuse and abuse of pain medication
   16   There's a problem, it's a barrier to opioid use.         16   can be extremely dangerous. This is especially so
   17   I've identified these barriers in my report and          17   in regard to opioids. These medications should be
   18   there are categories, I think five barriers that         18   stored in a place where they cannot be stolen."
   19   I've pointed out. One of them is this exact thing,       19         The second paragraph reads: "According to
   20   that withdraw is a big concern.                          20   the National Institutes of Health, studies have
   21         And so the way that this is dealt with in          21   shown that properly managed medical use of opioid
   22   the marketing documents is to minimize the concern       22   analgesic compounds (taken exactly as prescribed) is
   23   and tell what the solution is. What does that do?        23   safe, can manage pain effectively, and rarely causes
   24   That promotes the use of opioids. That doesn't           24   addiction."
   25   necessarily promote the appropriate use or the           25         Did I read that correctly?

                                                      Page 482                                                      Page 484
    1   inappropriate use, and I did not make that judgment,      1     A. You did.
    2   but it promotes the use of opioids, which is why          2     Q. So will you agree with me that the FDA is
    3   when looking at all of these documents and all of         3   stating that when properly prescribed and man --
    4   the messages and all of the other marketing that          4   opioids can manage pain effectively and rarely cause
    5   went on, I was able to form the conclusion that the       5   addiction?
    6   marketing of the opioids, which focused on product        6         MR. CHALOS: Object to the form.
    7   features and benefits, heavily focused on the             7     A. That's what this says, yes.
    8   reasons why you should buy the product and not the        8     Q. Okay. You can set that aside, Dr. Perri.
    9   reasons why you shouldn't, led to the expansion of        9         I'm mindful of the time and if my colleagues
   10   the opioid market.                                       10   want to go. Let me sort of wrap up by going back to
   11     Q. Okay. I would, in a different time, go              11   something.
   12   through with you the discussion as to how -- the         12         When we started our discussion at least, one
   13   overall cite, but since it is -- the document to         13   of the things you mentioned was that you have not
   14   which you cite is the Nucynta website -- or excuse       14   made any determinations as to whether or not any of
   15   me, the Duragesic website from 2006. It's hundreds       15   the marketing claims that you've reviewed are false
   16   upon hundreds of pages and I'll spare all of us that     16   or misleading, correct?
   17   fun, but I do want to show you what I will mark          17     A. I did not, that's correct.
   18   Exhibit 20, which is a printout from a different         18     Q. And in fact, you were relying on five other
   19   website.                                                 19   experts and the FDA warning letters, I believe you
   20         (Perri Exhibit 20 was marked for                   20   said, correct?
   21   identification.)                                         21     A. Yes.
   22   BY MR. GALIN:                                            22     Q. One of the things you've also said -- and
   23     Q. This, if you look at the first page, you            23   just around that, you, when putting together your
   24   will see that Pagevault captures the key facts as to     24   report, were asked to assume, in fact, that the
   25   where this website comes from. This is the -- the        25   marketing claims were false and misleading; is that

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    1   correct?                                                   1   our marketing, our being defendants' marketing, and
    2     A. That's generally the way it was placed, yes.          2   I use us as a whole because you're talking about in
    3     Q. Okay. And one of the things you said                  3   the aggregate you haven't found anyone -- yes.
    4   earlier today when my colleague Mr. Carter was             4     A. I'm sorry. The first part -- I focused on
    5   speaking with you, and I think you said at least           5   the last part of the sentence. I didn't look at the
    6   once, if not twice, yesterday is, in essence, that         6   "violated marketing standards." That part of it I
    7   -- the term used, "the crux of the matter" here, is        7   have to think about. I haven't -- I just think that
    8   that the marketing of opioids has violated the             8   the -- I guess what I was trying to say is that
    9   standards of marketing. I certainly don't want to          9   the -- and I know that folks around this table are
   10   tell you what you said, but do you recall something       10   probably tired of hearing me say that marketing
   11   along that effect?                                        11   works.
   12         MR. CHALOS: Object to the form.                     12     Q. Then we'll stop asking.
   13     A. Yeah, I'm not sure I used those exact words          13     A. But the -- I think that the marketing,
   14   but I think that's roughly a paraphrase of it.            14   even -- whether the messages are false or
   15     Q. Let me use words that are yours from                 15   misleading, that wasn't really relevant. The
   16   Paragraph 192 on Page 155 at the end of your -- the       16   marketing, what did it do, how did it do it, those
   17   final presignature paragraph of your report?              17   opinions that I've expressed I think they remain
   18     A. Okay.                                                18   true.
   19     Q. You write: "Defendants violated marketing            19         I need to think about this part, about did
   20   standards by creating and disseminating false or          20   they violate marketing standards, that part I have
   21   misleading marketing messages that downplayed or          21   to think about, because I know for some of them
   22   minimized the risks associated with opioids while         22   there would still be a violation of the marketing
   23   emphasizing the benefits of their drugs, and by           23   standards. For example, the use of key opinion
   24   disguising their support of activities aimed at           24   leaders where the relationship between the company
   25   increasing sales of their own products."                  25   and the KOLs was not disclosed, so in cases like
                                                       Page 486                                                    Page 488
    1     A. Yes.                                                  1   that.
    2     Q. If in fact it turns out that the assumptions          2         So I would need to go through each and every
    3   that you've been asked to make, that our marketing         3   part of it and verify that each standard was or
    4   was in some way false or misleading, turns out to be       4   wasn't violated. Does that provide you with an
    5   an incorrect assumption, does that not vitiate the         5   answer you --
    6   conclusions that you reach in your report?                 6     Q. It provides me with your answer, which is
    7         MR. CHALOS: Object to the form; incomplete           7   all I can ask for.
    8     hypothetical.                                            8     A. Okay.
    9     A. Let me read my sentence again and see how             9     Q. But what I'm really also trying to
   10   taking the word false or misleading out would impact      10   understand here is you had said before, to your
   11   the meaning of that sentence, and just give me one        11   point, you've said a few times in this deposition
   12   second.                                                   12   that marketing is important and it worked, or that
   13     Q. Of course.                                           13   marketing works. I think in response to Mr. Carter
   14     A. So if I -- if I take out the words                   14   earlier you said that marketing itself isn't
   15   "disseminating false and misleading," it would just       15   inappropriate.
   16   say "disseminating marketing messages that                16         If I understand correctly, what you believe
   17   downplayed or minimized the risks associated with         17   the defendants did inappropriately was violating the
   18   opioids while emphasizing the benefits of their           18   standards of marketing, as you refer to in
   19   drugs, and by disguising their support of activities      19   Paragraph 192. Am I correct about that?
   20   aimed at increasing sales of their own products."         20         MR. CHALOS: Object to the form.
   21         I think the sentence remains true.                  21     A. The judgment about whether any particular
   22     Q. So if I'm understanding correctly, and I             22   message being appropriate or inappropriate wasn't
   23   certainly don't want to put words in your mouth, but      23   critical. The false and misleading, that does
   24   let me ask, am I correct in understanding that what       24   relate to some of the standards. So false and
   25   you are telling me is that it's not necessary for         25   misleading, as -- when you asked me the question

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    1   earlier, it does affect some of my judgment about            1   standard, for example, not promoting the rational
    2   the marketing, but taking that out, it would only            2   use of medication, promoting a use that goes beyond
    3   probably affect a few of the several standards that          3   what we would call rational or appropriate use of
    4   are listed.                                                  4   medicines.
    5         If we took out some of the other words in              5         So I would have to analyze it very carefully
    6   the sentence, it might also -- so it wasn't just             6   and look at all the details and all the facts.
    7   from the false and misleading perspective.                   7         Just looking further on down this list,
    8         And you're right, I didn't examine the                 8   "Accurately disclosing information about the risks
    9   nature of the ads, I relied on others to provide             9   of their drug in addition to the benefits being
   10   that information.                                           10   marketed," that requires a sort of different
   11         So I think we can break this down piece by            11   analysis, but it wouldn't be impacted by the false
   12   piece and get out each standard and look at just how        12   and misleading.
   13   it impacts that opinion, but I think the overall            13         It should not be disguised, that we've
   14   opinion is that some marketing standards were still         14   addressed in terms of the information being
   15   violated even if we take out the false and                  15   disclosed about what is being supported and so
   16   misleading nature that I relied upon in the                 16   forth.
   17   assumption to verify.                                       17         Good science and transparency.
   18      Q. And which standards would those be?                   18         So false and misleading would affect at
   19         MR. CHALOS: Object to the form; incomplete            19   least one of these standards.
   20      hypothetical.                                            20     Q. Okay. While I would enjoy discussing this
   21      A. If you look at Page 19, this is in the                21   more, I want to be respectful of my colleagues and I
   22   section on the standards that apply to                      22   appreciate your patience with me and I will turn the
   23   pharmaceutical marketing, Paragraphs 34 through 36.         23   microphone over to someone else, but I suspect
   24   The -- assuming that what we're talking about is            24   everyone is ready for a lunch break probably.
   25   taking out the words "false and misleading" from            25         MR. CHALOS: I hear the lunch carts rolling.

                                                       Page 490                                                       Page 492
    1   that statement, it -- again, I need to give this a           1         THE VIDEOGRAPHER: We are now going off the
    2   lot more thought because I spent a lot of time               2     video record. The time is currently
    3   working on this report and a lot of time analyzing           3     12:07 a.m. -- excuse me, p.m.
    4   documents, and just to jump into it here and give            4       (Recess from 12:07?p.m. until 12:44?p.m.)
    5   you a quick opinion, I'm doing that because you've           5         THE VIDEOGRAPHER: We are now back on the
    6   asked the question, but I do like to think about             6     video record. The time is currently 12:44 p.m.
    7   things.                                                      7                RECROSS-EXAMINATION
    8     Q. Okay. That's fair.                                      8   BY MS. RODGERS:
    9     A. But it says that: "Marketing must always be             9     Q. Dr. Perri, my name is Megan Rodgers. Again,
   10   truthful. Marketing must never make false or                10   I'm with Convington & Burling representing McKesson.
   11   misleading statements to the medical community."            11         I want to pick off where we left off -- pick
   12         So if we take those out the question would            12   up where we left off yesterday, and I believe
   13   be do the -- do the FDA documents still give me             13   yesterday you had testified that it was not
   14   pause and make me think that there is false and             14   appropriate for a distributor to conduct kind of a
   15   misleading marketing?                                       15   numbers-only analysis of a pharmacy's purchasing
   16         If we take away the FDA documents and the             16   history because it failed to take into account other
   17   assumption of false and misleading, then I would            17   relevant considerations, right?
   18   get -- I would probably formulate an even different         18         MR. CHALOS: Object to the form.
   19   opinion. So depending on the specific nature of the         19     A. I'm sorry. Are you reading from the
   20   hypothetical that we're talking about, I would yield        20   testimony that I provided yesterday or --
   21   to you that if the ads were -- none of them were            21     Q. I am summarizing your testimony yesterday.
   22   false or misleading, that I wouldn't say they               22         MR. CHALOS: Object to the form.
   23   violated the standard of not being truthful. It             23     A. There was a lot in there. I need to take
   24   could still be, though, that the learning that would        24   that, you know, piece by piece. I would like to
   25   take place from those ads would violate some other          25   look at it, if you -- if you have it.

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    1     Q. I don't have your testimony in front of me.            1     Q. And you learned about that in connection
    2   Let's take it piece by piece, though.                       2   with your participation in this lawsuit?
    3     A. Okay.                                                  3     A. Yes.
    4     Q. You would agree that it's not appropriate              4     Q. Okay. And I think you testified yesterday
    5   for a distributor to conduct a numbers-only analysis        5   that it's not your understanding that any laws or
    6   of a pharmacy's purchasing history, right?                  6   regulations changed since you wrote this expert
    7         MR. CHALOS: I object. That's outside of               7   report, correct?
    8     the scope of the opinions that he's given in his          8         MR. CHALOS: Object to the form.
    9     report, which is Exhibit 1 to this deposition.            9     A. That is a pretty broad statement. I can
   10         MS. RODGERS: And if you want to just have a          10   tell you that I think what I said yesterday was that
   11     standing objection to these --                           11   I'm not aware that there have been any changes to
   12         MR. CHALOS: No, I'd like to make them. I             12   the Controlled Substances Act since it was written.
   13     think we need to make them each time for purposes        13     Q. Okay. And so let's -- let me point you to
   14     of keeping the record clear.                             14   Page 6 of your -- of Exhibit 10, which is your prior
   15         MS. RODGERS: Okay.                                   15   expert report.
   16         MR. CHALOS: Standing -- standing -- I've             16     A. Okay.
   17     never found standing objections to be                    17     Q. And in Paragraph 26 you say: Based on my
   18     particularly effective because then it is not            18   review of the documents --
   19     clear when I am making it, so I'd rather just            19            (Speakerphone interruption.)
   20     make them for each question.                             20             (Discussion off the record.)
   21         MS. RODGERS: Okay.                                   21         THE VIDEOGRAPHER: We are now going off the
   22     A. So in the questions that you were asking me           22     video record. The time is currently 12:47 p.m.
   23   yesterday, and one other attorney was asking me            23        (Recess from 12:47 a.m. until 12:49 p.m.)
   24   yesterday, dealing with this issue of what is              24         THE VIDEOGRAPHER: We are now back on the
   25   appropriate for the wholesalers to do, I just -- I         25     video record. The time is currently 12:49 p.m.

                                                      Page 494                                                          Page 496
    1   want to be clear on the record that I did not do any        1   BY MS. RODGERS:
    2   of that analysis or make any of those decisions or          2     Q. Sorry about that interruption.
    3   have any opinions about that in this report that            3     A. It's quite all right.
    4   I've written. I understand that you all have the            4     Q. I think we were looking at Paragraph 26, and
    5   right to ask me questions about this, so I will try         5   in that paragraph you wrote: "Based on my review of
    6   to give you as good of answer as I can. I think, as         6   the documents provided, the decision to reduce and
    7   we established yesterday, though, this report was           7   then suspend controlled substances deliveries to
    8   written five years ago and there has been learning          8   Cherokee Pharmacy appears to have been based on two
    9   that has occurred since then.                               9   primary considerations. First, a superficial
   10     Q. There has been, I'm sorry, what?                      10   internal analysis of the volume of purchases of
   11     A. There has been learning that has occurred             11   controlled substances by Cherokee Pharmacy."
   12   since then and I'm more familiar with the matters at       12        Do you see that?
   13   hand. However, I'm not an expert on suspicious             13     A. I do.
   14   order monitoring or what wholesalers should or             14     Q. And why did you believe that that internal
   15   shouldn't do.                                              15   analysis was superficial?
   16     Q. And when you say there has been learning on           16     A. I don't recall. This is five years ago, so
   17   this matter, you mean that you've learned more             17   I don't -- I don't really recall the documents or
   18   information in connection with your participation in       18   why I would have used that term. Yeah.
   19   this lawsuit?                                              19     Q. Okay. Let's look at Paragraph 27 then,
   20     A. The -- what I mean is that since this 2014            20   where you wrote: "With respect to its own internal
   21   case, I have become aware, as I mentioned yesterday,       21   monitoring, Smith tracked and allotted certain
   22   that the DEA has put wholesalers sort of on notice         22   levels of controlled drugs to the pharmacies it
   23   that they need to do a better job of monitoring            23   serviced. Part of this analysis was done by the
   24   these orders. I don't know much about that.                24   'Suspicious Order Monitoring System' that tracked
   25   only -- that's the extent of what I know about it.         25   not only actual product purchases but also attempted

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    1   orders that were not filled by Smith in response to         1   Monday, so he placed that order again on Tuesday and
    2   customer's orders. Smith's analysis was limited to          2   it didn't come in on Wednesday, so he placed that
    3   the numbers of units dispensed for specific time            3   order again on Thursday.
    4   periods."                                                   4         And what jumps out -- the recollection that
    5        Is that refreshing your recollection?                  5   jumps out at me is that the way HD Smith -- I think
    6     A. A little bit it does, yes.                             6   it was -- it was either HD or JM Smith, I can't
    7     Q. Okay. And the paragraph goes on: "This                 7   remember which one it was. The way they -- they
    8   numbers-only oriented analysis does not take into           8   counted all of those towards his quota, and I think
    9   account the utilization patterns and the communities        9   that also referred to the "numbers-only," and I'm
   10   served by Cherokee Pharmacy, its new store location        10   not sure why they did that. I don't know what
   11   which was poised for growth, the demographics and/or       11   processes or procedures they had in place, I just
   12   changes in the prescribing community, the patient          12   know that from the documents that I saw and the
   13   mix, incidence of disease or other factors (e.g.,          13   testimony that came out, was that any order placed,
   14   insurance, formulary restrictions, or policies and         14   whether it was filled or not, counted against his
   15   procedures put in place by Cherokee Pharmacy to            15   purchases of controlled sub -- which greatly
   16   screen controlled substance prescriptions) impacting       16   inflated his apparent utilization, which the
   17   controlled substances utilization."                        17   wholesaler did not take into account, and I think
   18        Do you see that?                                      18   that was the real crux of what was going on here.
   19     A. I do.                                                 19      Q. Okay. I'm just going to ask this question
   20     Q. And you agree that those are the limitations          20   again because that was a long answer that wasn't
   21   of the numbers-only oriented analysis conducted by         21   entirely responsive.
   22   the distributor, correct?                                  22         So let me ask it a different --
   23        MR. CHALOS: Object to the form.                       23         MR. CHALOS: Objection.
   24     A. That, I don't know, because we were talking           24      Q. Let me ask it a different way and see if you
   25   about something completely different. Where did the        25   better understand my question.

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    1 numbers-only -- where is that? Is that --                     1         "A numbers-only oriented analysis does not
    2     Q. It's part of the sentence, sir. "This                  2   take into account the utilization patterns and the
    3   numbers-only oriented analysis..."                          3   communities served by Cherokee Pharmacy, its new
    4         MR. CHALOS: Object to the form. Object, I             4   store location which was poised for growth, the
    5     think it's misleading.                                    5   demographics and/or changes in the prescribing
    6     A. Okay. I see where you're at now. "The                  6   community, the patient mix, incidence of disease or
    7   numbers-only oriented analysis does not take into           7   other factors."
    8   account..."                                                 8         Do you agree that an analysis by a
    9         Okay. And your question about that was?               9   distributor should take those into account?
   10     Q. My question was you agree that the                    10         MR. CHALOS: Object to the form of the
   11   limitations you've identified here were the                11     question, and the opinion its seeking is beyond
   12   limitations of that numbers-only oriented approach         12     the scope of the opinions that he's offered in
   13   taken by the distributor in this case?                     13     this case.
   14         MR. CHALOS: Hang on a second. Object to              14     A. So when I did the analysis back in 2014, I
   15     the form. I think that's misstating what this            15   certainly agree that the wholesaler should have
   16     document says.                                           16   taken into account these factors. This was a very
   17     A. So I -- this does refresh my memory                   17   different case and very different issues than we
   18   slightly, and the thing that jumps out at me here          18   have here, and as I said, I haven't provided any
   19   is, as I recall in this case, Mr. Forshee, who was         19   opinions about this in this matter.
   20   the pharmacist who owned Cherokee Pharmacy, and the        20     Q. Do you agree those are always factors that
   21   documents that I reviewed, he had placed multiple          21   should be considered by a distributor?
   22   orders for the exact same order that he had been           22         MR. CHALOS: Object to the form; also beyond
   23   placing for his controlled substances. In other            23     the scope of the opinions he's offered in this
   24   words, he ordered, let's say, five bottles of              24     case as reflected in Exhibit 1 to this
   25   OxyContin on Saturday and it didn't come in on             25     deposition, his report.

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    1      Q. And just to be clear, I'm not asking you to            1   wholesaler, including controlled substances, and it
    2   opine on whether any distributors' decision on any           2   was based on the wholesaler's lack of awareness of
    3   given pharmacy was correct or incorrect right now.           3   the business operations at this pharmacy, which
    4   I'm just asking as a general matter, do you agree            4   placed the pharmacy in jeopardy, and in fact, as I
    5   with the statement written here, that a numbers-only         5   understand it, the pharmacy is no longer in
    6   oriented analysis is flawed and that instead, you            6   business, but the crux of this matter was the
    7   should take into account these other factors?                7   wholesaler stopped providing drugs which made the
    8          MR. CHALOS: I object to the form. I also              8   pharmacist not able to sell, generate revenue, and
    9      object that it is beyond the scope of the                 9   then not able to pay their bills to the wholesaler.
   10      opinions that he's offered in this case as               10   So that was -- that was what was going on here.
   11      reflected in his report, which is Exhibit                11   This wasn't about suspicious order monitoring or
   12      Number 1 to this deposition.                             12   anything. It was just about a decision that the
   13      A. So the danger in me saying that these are             13   wholesaler made that, in my assessment, wasn't fair
   14   the things that need to be reviewed will maybe lead         14   to the pharmacy.
   15   people to think that I know the exact nature of what        15     Q. And the decision that you made, the decision
   16   needs to be reviewed by a wholesaler, and I don't.          16   that -- sorry -- that you were assessing or
   17          I can tell you that in this case, based on           17   considering in this case, the -- in other words, the
   18   the documents that I saw in this specific instance,         18   distributor's decision to stop providing controlled
   19   it appeared that the decision that had been made had        19   substances to this pharmacy, part of the analysis,
   20   been made based on what I refer to in the paragraph         20   in your words, that went into that decision was done
   21   as a numbers-only analysis and it did not take into         21   by the suspicious order monitoring system of that
   22   consideration these factors. In that case, back in          22   distributor, correct?
   23   2014, I apparently felt that it should have.                23         MR. CHALOS: Object to the form.
   24      Q. And are there situations you can think of             24     A. This is something that would have come from
   25   where a distributor should not take those factors           25   one of the documents that I reviewed. This was not
                                                         Page 502                                                        Page 504
    1   into account?                                                1   something that was based on my own knowledge. It
    2         MR. CHALOS: Hang on a second. Object to                2   was something that I learned as a process of
    3      the form, but I also object that it's beyond the          3   reviewing the materials in this case.
    4      scope of the opinions that he's given in this             4      Q. So you put that into your report without
    5      case as included in Exhibit Number 1 to this              5   knowing or understanding what the suspicious order
    6      deposition.                                               6   monitoring system of the distributor was?
    7      A. So I don't know. I would need to think                 7          MR. CHALOS: Object to the form.
    8   about that. I would need to figure out -- you know,          8      A. That's not fair at all. That's not fair at
    9   if I'm going to be asked questions about what I              9   all to say that. What I said was I learned about
   10   think is -- you're referring to, and I know I               10   this from the documents that I reviewed in this
   11   referred to it here, as suspicious order monitoring,        11   case. So I don't know why you would say that I put
   12   which at the time was a new term to me, the answer          12   it in there without learning about that system. I
   13   would need to be analyzed. So should they always do         13   learned what I needed to know to formulate this
   14   this? Should they never this? Should they do this           14   opinion.
   15   sometimes? I don't know.                                    15      Q. So you learned about suspicious order
   16      Q. So let me ask you about the suspicious order          16   monitoring for this distributor?
   17   monitoring. Do you have expertise in suspicious             17      A. I learned about what was happening in this
   18   order monitoring?                                           18   case at this time. I was unaware that at that point
   19      A. I'm pretty sure I have said before that I do          19   in time there was a formal process known as
   20   not.                                                        20   suspicious order monitoring. This was something
   21      Q. Then why did you opine about it in this               21   that at the time I thought was unique to HD Smith or
   22   case?                                                       22   JM Smith, whoever it was.
   23      A. Because this case wasn't about suspicious             23      Q. And then you rendered a decision about the
   24   order monitoring. This case was about a pharmacist          24   distributor's analysis under their suspicious order
   25   whose supply of all drugs was curtailed by his              25   monitoring system, right?

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    1         MR. CHALOS: Object to the form.                        1     review the document? (The time is 1:03 p.m.)
    2      A. No, no.                                                2     A. (The time is 1:05 p.m.) Okay. Thank you
    3         MR. CHALOS: Misstates the document.                    3   for giving me that time. If you could ask your
    4      Q. What was your ultimate conclusion about the            4   question again, I think I'm prepared to answer.
    5   wholesale distributor's decision to terminate the            5     Q. Sure. What was your ultimate conclusion
    6   sale of controlled substances to this pharmacy?              6   with respect to the distributor's decision to
    7         I'm not trying to trick you but I think it's           7   terminate controlled substances here?
    8   in bold listed as Opinion V on Page 5.                       8        MR. CHALOS: Object to the form.
    9      A. I'm going to read the entire document                  9     A. In this case, after having reviewed the
   10   because I want to know what I'm talking about here.         10   document, which has refreshed my memory about what
   11   It's been five years since I've seen this and you're        11   all was going on here, was that Smith Wholesale
   12   asking me a lot of questions and I don't know where         12   suspended the sales of controlled substances to
   13   they're coming from, so if you'll please bear with          13   Cherokee Pharmacy with what I referred to as an
   14   me.                                                         14   incomplete or flawed analysis.
   15         MS. RODGERS: Can we go off the record while           15     Q. And it was incomplete or flawed because it
   16      he reviews this document?                                16   didn't take into account -- and I'm looking again at
   17      A. I'm sorry, there is a question pending and            17   Paragraph 7 -- 27 rather: "The utilization patterns
   18   I'm reviewing the document in response to your              18   in the community, its new store location which was
   19   question.                                                   19   poised for growth, the demographics and/or changes
   20         MS. RODGERS: I think we need to go off the            20   in the prescribing community, the patient mix,
   21      record for this.                                         21   incidence of disease, or other factors."
   22         MR. CHALOS: I don't agree to go off the               22        Correct?
   23      record.                                                  23        MR. CHALOS: Object to the form.
   24         SPEAKER: We have done that in other cases,            24     A. That is what's written in the report, yes.
   25      like Doug Boothe, when --                                25     Q. And you agree that business growth is a

                                                       Page 506                                                          Page 508
    1        MR. CHALOS: I don't know -- I don't know                1   legitimate reason for increasing a pharmacy's
    2    anything about that, but I'm not -- I don't agree           2   permissible order limits?
    3    to go off the record here.                                  3          MR. CHALOS: Object to the form; also is
    4        MR. LADD: We have done that in other                    4      seeking opinions that are beyond the scope of the
    5    cases. We've gone off the record when the                   5      opinions that he's offered in this opioids
    6    witness expresses the desire to review an entire            6      litigation as reflected in Exhibit Number 1 to
    7    document. We've gone off the record to give the             7      his deposition.
    8    witness a chance to review the document and gone            8      A. So at least in this matter I did -- I did
    9    back on the record once the witness has finished            9   come to that conclusion based on the documents that
   10    reviewing the document and is ready to answer              10   I reviewed, that there were a number of factors that
   11    questions about the document.                              11   were not considered, one of which was the pharmacy
   12        MR. CHALOS: Well, I don't agree.                       12   was relatively new and it was in a growth phase,
   13        MR. CIULLO: It's a courtesy we extended to             13   yes.
   14    the plaintiffs.                                            14      Q. Okay. And when you say in this paragraph
   15        MR. CHALOS: I know.                                    15   "changes in the prescribing communities," you meant
   16        MS. BAISCH: You didn't in my deposition.               16   general increases in prescribing that were happening
   17        MR. CIULLO: You were deposed?                          17   around the country?
   18        MS. RODGERS: Okay. I'm going to preserve               18      A. No, I don't believe so. I think this was
   19    the objection so we can revisit this time                  19   specifically to this case, which the changes in the
   20    allocation later. I think we should go off the             20   prescribing community in this instance had to do
   21    record right now.                                          21   with the -- if I remember correctly, and I think
   22        MR. CHALOS: I don't agree.                             22   this is the case, there was a pain clinic with a
   23        MS. RODGERS: I'm preserving the objection.             23   nurse practitioner that had just opened near the
   24        MS. ZOLNER: At a minimum, can we keep track            24   hospital that was also adjacent to Cherokee
   25    of the amount of time the witness is using to              25   Pharmacy. I'm pretty sure that's what that relates

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    1   to, and this is five years ago, so --                     1   with controlled substances?
    2     Q. Okay. Yeah. And that would be a legitimate           2         MR. CHALOS: Object to the form of the
    3   reason for increasing a pharmacy's permissible order      3     question. I also object on the ground that it is
    4   limits?                                                   4     seeking opinion testimony that's beyond the
    5         MR. CHALOS: Object to the form of the               5     opinions that he's offered in this litigation as
    6     question. I also object to the question on the          6     reflected in Exhibit Number 1 to this deposition.
    7     grounds that it is outside of the scope of the          7     A. So my answer to that is at least in this
    8     opinions that Dr. Perri has given in the opioids        8   case, I think those are things I should have
    9     litigation that we're here about today as               9   considered. I don't know beyond this.
   10     reflected in Exhibit Number 1 to this deposition.      10     Q. Okay. Let's look at the top of Page 7.
   11     A. So with respect to this case, the volume of         11     A. Okay.
   12   documents that I looked at included a number of          12     Q. And I'm just going to read a statement and
   13   factors why I felt as though the process that Smith      13   ask if you agree with it. It is the second
   14   used to decide not -- to no longer sell                  14   paragraph on the -- on Page 7: "Pharmacies of
   15   prescriptions to Cherokee Pharmacy, that was one of      15   different sizes and geographic locations have vastly
   16   the factors, but there were many.                        16   different dispensing patterns due to their location,
   17     Q. Okay. And demographics, patient mix, and            17   the number and types of prescribers nearby, and the
   18   incidence of disease, those are also other factors       18   demographics of the patients served. Each of these
   19   that could lead a distributor to increase a              19   variables can impact the volume and mix of
   20   pharmacy's permissible order limits, right?              20   prescriptions dispensed."
   21         MR. CHALOS: Object to the form. Hang on            21         Do you agree with that statement?
   22     one second. Object to the form. I also object          22     A. I do.
   23     to the question on the ground that it is outside       23     Q. Okay. In the second bullet point you note
   24     the scope of the opinions that he's given in the       24   that the Pro Compliance report had based its
   25     opioids litigation as reflected in Exhibit             25   assessment on spacial data, which was the distance
                                                    Page 510                                                          Page 512
    1     Number 1 to this deposition.                            1 of the prescriber or patient from the pharmacy.
    2     A. I hate to ask but you can you repeat that            2 Would you agree that that's not an adequate
    3   question again?                                           3 justification to withhold sale of controlled
    4     Q. Demographics, patient mix, an incidence of           4 substances -- controlled substances to a pharmacy?
    5   disease, those are also factors that could lead a         5         MR. CHALOS: Object to the form of the
    6   distributor to increase a pharmacy's permissible          6     question. I also object on the ground that it
    7   order limits, correct?                                    7     seeks opinion testimony beyond and outside the
    8         MR. CHALOS: Same objections.                        8     scope of the opinions that he is offering in this
    9     A. Okay. So that -- that actually -- I'm glad           9     litigation as reflected in Exhibit Number 1 to
   10   I had you repeat that, because I thought I had           10     this deposition.
   11   detected something in there that concerned me.           11     A. So in this particular matter, there was a
   12         I did not evaluate increasing order limits         12   unique concern that I had because of the location of
   13   under -- at any point in this case. The only             13   Cherokee Pharmacy. Cherokee Pharmacy was located on
   14   question that I had in front of me was the complete      14   the border between Georgia and Tennessee, and as
   15   cut off of supply to that pharmacy of controlled         15   such, they had a lot of patients that came -- and in
   16   substances.                                              16   addition to that, they were located near Chattanooga
   17         So the question of should his allotments be        17   or outside Chattanooga, so they both drew patients
   18   increased was never on my radar in this case.            18   from the Chattanooga area, as well as the rural
   19     Q. Okay. That's -- let me withdraw and                 19   areas around. So they had many patients that
   20   rephrase.                                                20   traveled 50 or 75 miles to get to their pharmacy.
   21     A. Okay.                                               21   They had patients that traveled from out of state.
   22     Q. Demographics, changes in the prescribing            22         And based on what I recall from this case
   23   community, and patient mix, incidence of disease,        23   and the Pro Compliance report, that Pro Compliance,
   24   those are all factors that a distributor should          24   the company that evaluated the pharmacy computer
   25   consider in deciding whether to service a pharmacy       25   data for JM Smith, assessment was that the pharmacy

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    1   was suspicious, or whatever other word they were              1   into play here in the fact that Mr. Forshee's
    2   using, I don't recall what it was, but the                    2   pharmacy actually drew from -- primarily from
    3   suspicious word is in this report, so I guess it              3   Georgia and not Tennessee, and I'm not sure why
    4   could be that, because -- or the orders were suspect          4   that's not noted here, but I do recall that from --
    5   because of the distance that patients were traveling          5   as I'm getting more into this, I'm remembering more
    6   to get to that pharmacy.                                      6   about this case.
    7         Now, to then not take that a step further               7         But in general, I would agree that
    8   and look at it and say, "Oh, well, this pharmacy is           8   pharmacies may have or they may not have procedures
    9   unique because of its geographic location," seemed            9   in place that can safeguard patients and the filling
   10   inappropriate to me and that's one of the basis for          10   of prescriptions. We've all heard the term "pill
   11   the opinions that I expressed here.                          11   mills" before, and so if a pharmacy is just
   12     Q. In other words, there is nothing inherently             12   indiscriminantly filling prescriptions without
   13   wrong with patients having to travel some distance,          13   vetting patients, not doing anything to protect
   14   you have to look a little closer at what's going on?         14   patients in any way, and I know from reviewing this
   15         MR. CHALOS: Object to the form, and object             15   document over the last few minutes, Mr. Forshee had
   16     to the extent it's calling for an opinion that's           16   an extensive procedure when a patient comes into the
   17     beyond the scope of the opinions that he's                 17   pharmacy, where they collect page after page after
   18     offering in this litigation as reflected in                18   page of information to get to know the patient, to
   19     Exhibit Number 1 to this deposition.                       19   help the patient understand how they were going to
   20     A. So to answer your question, the -- if this              20   meet their needs in term of providing pain
   21   was a pharmacy in Athens, Georgia, that has a number         21   medications and things like that.
   22   of pharmacies around and a completely different              22         So in this particular instance, I definitely
   23   geographic makeup, if patients are traveling 75 or           23   agree with this. I don't know if I could agree with
   24   100 miles or coming from South Carolina or Tennessee         24   this in another instance, but at least here for
   25   or North Carolina to shop in Athens, that would be           25   Cherokee Pharmacy, I definitely agree with this.

                                                         Page 514                                                       Page 516
    1   very suspicious to me. Again, I'm not basing this             1     Q. You agree with the statement that I read to
    2   on any kind of expertise in the order -- in the area          2   you earlier: "This is not relevant to the filling
    3   of knowing what a suspicious order looks like. I'm            3   of legitimate prescriptions by licensed pharmacists
    4   basing it on the fact that I'm a pharmacist and I             4   acting on medical providers' orders. While a
    5   have seen, at least in this case, the way rules --            5   significant problem --" again the accidental drug
    6   whatever rules by whoever imposed them were being             6   overdose rates -- "this must be addressed from a
    7   applied, and I thought it was unfair in the case              7   variety of perspectives, including through educating
    8   against Cherokee Pharmacy.                                    8   patients, not by withholding needed medications."
    9     Q. Okay. The third bullet point you wrote:                  9         MR. CHALOS: Object to the form, and I also
   10   "The Pro Compliance report notes that Tennessee has          10     object to the extent it's calling for opinion
   11   one of the highest accidental drug overdose rates.           11     testimony beyond the scope of the opinions that
   12   This is not relevant to the filling of legitimate            12     he's offering in this case as reflected in
   13   prescriptions by licensed pharmacists acting on              13     Exhibit Number 1 to this deposition.
   14   medical providers' orders. While a significant               14     A. So to the extent that this -- these two
   15   problem, this must be addressed from a variety of            15   sentences relate to Cherokee Pharmacy, I definitely
   16   perspective, including through educating patients,           16   agree with them.
   17   not by withholding needed medications."                      17     Q. Thank you. If you look at the next bullet
   18         Do you agree with that statement?                      18   point, you note that: "The Pro Compliance report
   19         MR. CHALOS: Object to the form. I also                 19   does not mention that Tennessee is the 3rd highest
   20     object to the extent it's calling for -- I object          20   in the US in terms of utilization of all
   21     on the ground that it is calling for opinion               21   prescription medications..."
   22     testimony that's beyond the opinions that he's             22         And then I'm skipping down to the next
   23     offered in this opioids litigation as reflected            23   paragraph there. Do you agree that that "highlights
   24     in Exhibit 1 to this deposition.                           24   that average numbers of prescriptions per capita in
   25     A. There is actually another factor that came              25   Tennessee will be different than the rates reported

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    1   in other states and national averages"?                     1   context of hydrocodone, which is I believe what
    2         MR. CHALOS: Object to the form. I also                2   prompted this report?
    3     object to the extent it's calling for -- I object         3         MR. CHALOS: Object to the form and object
    4     on the ground that it is calling for opinions             4     to the extent it's seeking an opinion that is
    5     that are beyond to scope of the opinions he's             5     beyond the scope of the opinions he's offering in
    6     offered in this case.                                     6     the current litigation as reflected in Exhibit 1
    7     A. So is your question do I agree that                    7     to this deposition.
    8   Tennessee is third, is that --                              8     A. So for clarification, is hydrocodone the
    9     Q. I'm saying first, do you agree that the fact           9   drug that was at issue in this case?
   10   that Tennessee is third highest in the US in term of       10     Q. I believe it's actually oxycodone in
   11   utilization of all prescription medications means          11   Paragraph 29.
   12   that the average numbers of prescriptions per capita       12     A. Okay.
   13   in Tennessee will be different than the rates              13         MR. CHALOS: Same objection.
   14   reported in other states and national averages?            14     A. I'm sorry. Is there a question now?
   15         MR. CHALOS: Object to the form. I also               15     Q. Sure. My question is is your opinion that
   16     object on the ground that it is seeking expert           16   distributors should have considered the fact that
   17     testimony and opinions beyond the scope of the           17   Tennessee is the third highest in the US in terms of
   18     opinions he's offered in this case.                      18   utilization of all prescription medications when
   19     A. So that was the -- the footnote to that is            19   making a decision about whether to terminate the
   20   referenced to the Kaiser Family Foundation, so I           20   sale of controlled substances?
   21   will defer to them to assess whether that's accurate       21         MR. CHALOS: Object to the form. Object to
   22   or not. I certainly think the Kaiser Family                22     that question on the ground that it's seeking
   23   Foundation is a well-respected repository of date          23     opinion testimony that is outside the scope of
   24   regarding this type of utilization.                        24     the opinions he's offering in this litigation as
   25         With regard to the next statement, I think           25     reflected in Exhibit Number 1 to this deposition.
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    1   that flows from the citation from Kaiser.                   1      A. So I think I just answered that. So if I
    2      Q. Which next -- that "interestingly"?                   2   didn't -- if you don't think I did, then I need to
    3      A. Yes.                                                  3   make sure we're communicating properly here, because
    4      Q. Okay. Let me ask this a different way. Why            4   I said I think with regard to this case that
    5   did you include this point, that Tennessee is the           5   something that --
    6   third highest in the US in terms of utilization of          6         MR. CHALOS: This case being?
    7   all prescription medications in your report?                7      A. I'm sorry. Yes, the Cherokee Pharmacy case,
    8      A. So I guess the reason that was included was           8   that it's something that the wholesaler should have
    9   because the drug utilization in different parts of          9   considered, Pro Compliance should have considered,
   10   the country, and we've seen in this case that Ohio         10   but they did not apparently consider, and I said it
   11   has a fairly high utilization of certain drugs,            11   could be that they would be more sensitive to
   12   other parts of the country have less utilization, so       12   utilization because it's a high-use area, or they
   13   I think sensitivity should be applied at least in          13   might be less sensitive because it's a high-use
   14   this case of Cherokee Pharmacy, that I think was           14   area. So that was, I think, what the gist of my
   15   treated unfairly by the wholesaler, based on this          15   answer was before. Or is that the response as you
   16   report and my recollection of what I did in this           16   recall it?
   17   case, that the -- that whatever system the                 17      Q. Yes, I believe that was to a different
   18   wholesaler had in place, whatever data they were           18   section, but that -- I appreciate your response now.
   19   using should have been sensitive to the fact that          19   Thank you. I want to ask you just one other
   20   they are in a high drug utilization area, and that         20   question about a document that you cite at
   21   mean -- that might mean that they are more sensitive       21   Footnote 8, and I brought a copy of that and marked
   22   or it might mean that they are less sensitive, but         22   it as Exhibit 21.
   23   it should have at least been considered and it was         23         (Perri Exhibit 21 was marked for
   24   not apparently considered.                                 24   identification.)
   25      Q. Okay. It should be considered even in the            25   BY MS. RODGERS:

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    1     Q. This is an article in Pharmacist.com, which          1   so I really can't tell you what they're all about
    2   is titled: "Pharmacists turn away legitimate pain         2   other than it's a report from a fairly reputable
    3   patients as wholesalers limit shipments of                3   trade magazine that says, hey, this is a problem for
    4   controlled substances."                                   4   other pharmacies, and I think that's the real reason
    5          You've seen this document before, I take it?       5   why I cited it here.
    6     A. Yes.                                                 6         As far as whether I agree with it or not, I
    7     Q. This article?                                        7   certainly think that there is a heightened
    8     A. Yes.                                                 8   sensitivity on the part of community pharmacists in
    9     Q. What is the National Community Pharmacists           9   the area of being able to meet their patients'
   10   Association?                                             10   needs. I know that some pharmacies feel as though
   11     A. NCPA is a group of -- I believe NCPA is the         11   the behavior of certain stores, certain groups of
   12   association that used to be the National Association     12   stores, has negatively impacted the marketplace and
   13   of Retail Druggists and they've changed their name       13   that's why they feel like their orders are being
   14   to National Community Pharmacists Association, and       14   reduced or cut back.
   15   they represent our nation's independent community        15         So I think this is a real issue. I don't
   16   pharmacies and some small chains, I think.               16   really have any opinions about it or any analysis
   17     Q. Okay. And are you or have you been -- have          17   associated with it, but with respect to Cherokee
   18   you ever been a member of that association?              18   Pharmacy, this was something I felt as though
   19     A. I've never been a member of NCPA or NARD;           19   would -- to highlight for whoever was reading this
   20   however, during the early part of my career I was        20   report at the time, the fact that this is not just
   21   frequently asked to speak at their meetings on           21   an isolated incidence, perhaps there are other
   22   issues related to helping community pharmacists run      22   incidences that are occurring.
   23   their businesses more efficiently, especially            23         MS. RODGERS: Okay. I have no further
   24   related to marketing topics.                             24     questions. Thank you for your time.
   25     Q. And I just want to direct your attention to         25         THE WITNESS: Thank you.
                                                      Page 522                                                      Page 524
    1   right after the header "NCPA: The pendulum has            1        THE VIDEOGRAPHER: We are now going off the
    2   really swung too far."                                    2     video record. The time is currently 1:23 p.m.
    3     A. Okay.                                                3       (Recess from 1:23 p.m. until 1:27?p.m.)
    4     Q. Where it says: An online survey released in          4        THE VIDEOGRAPHER: We are now back on the
    5   January by the National Community Pharmacists             5     video record with the beginning of Media
    6   Association found that three out of four (75%) of         6     Number 4. The time is currently 1:27 p.m.
    7   the nearly 1,100 responding pharmacies had                7              RECROSS-EXAMINATION
    8   experienced three or more delays or issues caused by      8   BY MR. LADD:
    9   stopping shipments -- stopped shipments of their          9     Q. Good afternoon, Mr. Perri. My name again is
   10   controlled substances over the past 18 months.           10   Matthew Ladd, and we spoke yesterday, from Morgan
   11         I'm just going to stop there.                      11   Lewis representing Rite Aid. I have a handful of
   12     A. Okay.                                               12   questions for you as you correctly intuited
   13     Q. Would you -- is it your opinion that that's         13   concerning your prior expert report in Cherokee
   14   a problem, would you agree that that's a problem?        14   Pharmacy which has been marked Exhibit 10.
   15         MR. CHALOS: Object to the form. I also             15        Do you still have that exhibit in front of
   16     object on the ground that it seeks opinion             16   you?
   17     testimony beyond the scope of the opinions that        17     A. Yes, I do.
   18     he has offered in this case as reflected in            18     Q. Could you turn, please, to Page 4 of that
   19     Exhibit 1 to his deposition.                           19   exhibit, and specifically let me direct your
   20     A. Yeah. So to answer your question, I -- you          20   attention to Paragraph 19.
   21   know, I've cited this document in this report to         21     A. Okay.
   22   show that this wasn't a problem just for Cherokee        22     Q. Do you see where I am?
   23   Pharmacy, but that other pharmacies are reporting        23     A. Yes.
   24   the same kinds of problems. I did no analysis or         24     Q. If you would look down, the fourth sentence
   25   evaluation of that, I didn't verify those numbers,       25   beginning "If the pharmacist believes," do you see

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    1   that sentence?                                             1   process, and to guarantee the delivery of
    2     A. Yes, I do.                                            2   medications to patients."
    3     Q. And to save time, I'll just read it into the          3          Did I read that sentence correctly?
    4   record. You wrote here: "If a pharmacist believes          4      A. Yes.
    5   that a particular drug might not be the best therapy       5      Q. And did you agree with that statement when
    6   for a patient, they may explain their findings to          6   you wrote it?
    7   the medical provider, but the final decision is that       7      A. There's a lot in there but I did agree with
    8   of the medical provider and the order must be filled       8   it then and I do agree with it now.
    9   exactly as written."                                       9      Q. Thank you. In other words, the point is
   10         Did I read that sentence correctly?                 10   pharmacists should not interfere with the
   11     A. Yes.                                                 11   physician-patient relationship; is that correct?
   12     Q. And was this part of the opinion in your             12          MR. CHALOS: Object to the form. It also is
   13   expert report that you submitted in the Cherokee          13      asking for opinions outside of the opinions he's
   14   Pharmacy case?                                            14      offered in this litigation, the opioids
   15     A. Yes, it was.                                         15      litigation, as reflected in Exhibit 1 to his
   16     Q. And did you agree with this statement when           16      deposition.
   17   you wrote it?                                             17      Q. And to rephrase, Dr. Perri, if I may, the --
   18     A. Of course. I agree with it now.                      18   I'll withdraw that question and ask another one.
   19     Q. Thank you. If you look to the next                   19          Part of your opinion in this prior report
   20   statement, I'll ask a series of similar questions:        20   was that pharmacists should not interfere with the
   21   "Pharmacists have a professional duty to provide the      21   physician-patient relationship; is that correct?
   22   medications selected by the prescriber when a             22          MR. CHALOS: Object to the form.
   23   legitimate patient-prescriber relationship exists."       23      A. So, actually, no, that's not -- that's not
   24         Did I read that sentence correctly?                 24   really what I'm trying to imply here. When you say
   25     A. Yes, you did.                                        25   it should not interfere, it's more like they should
                                                      Page 526                                                       Page 528
    1     Q. And did you agree with that statement when            1   intervene in a positive and appropriate way when
    2   you wrote your prior report?                               2   there is a problem.
    3     A. Yeah. And I would like to just add, though,           3         So if you go back to the paragraphs that we
    4   that this is, with respect to the bigger context of        4   looked at just before, the duty to ensure that there
    5   the pharmacist's duty when they bring a patient into       5   is a legitimate prescriber-patient relationship, the
    6   the pharmacy, the -- this doesn't apply to any             6   duty to do a prospective drug utilization review and
    7   particular drug or drug category. This is for all          7   ensure that the medication that is being prescribed
    8   drugs.                                                     8   is not going to do any harm to the patient, these --
    9     Q. I understand this is for all drugs.                   9   if you intervene in that, you're not interfering
   10     A. Right.                                               10   with the patient-physician relationship, you are
   11     Q. Including controlled substances?                     11   intervening to ensure appropriate care. So I
   12     A. Yes.                                                 12   disagree with your use of the word interfering.
   13     Q. Including opioids?                                   13         But with that being said, I think that the
   14     A. Yes, that's right.                                   14   pharmacist has the role as I've described in my
   15     Q. And you agreed with this statement when you          15   answer, and also the general Pharmacy Practice Act
   16   wrote it?                                                 16   that we all work underneath the authority of,
   17     A. I did.                                               17   certainly it would support these statements.
   18     Q. And you agree with this statement now?               18      Q. And to be clear, and just to give some
   19     A. It's part of the Pharmacy Practice Act, yes.         19   context to this statement that you just gave, your
   20     Q. Thank you. If you could turn to the next             20   opinion in this report was that -- part of your
   21   page, at the top of Page 5, the last sentence in          21   opinion in this report was that when a legitimate
   22   Paragraph 20, you wrote: "The role of the                 22   patient-prescriber relationship exists, pharmacists
   23   pharmacist is not one of second guessing medical          23   have a professional duty to provide the medication
   24   providers, but rather to work to ensure appropriate       24   selected by the prescriber; is that correct?
   25   drug therapy, the integrity of the prescription           25         MR. CHALOS: Object to the form.

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    1     A. Yes, and -- but there is two parts to that,           1     Q. If you looked at Paragraph 26 at the top of
    2   and the second part of it is that the pharmacist's         2   Page 6, is it fair to say that this particular
    3   duty extends beyond just the legitimacy of the             3   paragraph, based on the review of your prior report
    4   patient-prescriber relationship, even though that's        4   that you were conducting during Ms. Rodgers'
    5   the first part and if it's not met, then everything        5   examination, deals with two separate analyses that
    6   stop, but the second part is, is to ensure that the        6   had been done, one by the distributor and one by a
    7   drugs is not going to do any harm. So though -- but        7   third party, Pro Compliance; is that correct?
    8   those things, they have to go together, in my mind.        8        MR. CHALOS: Object to the form.
    9     Q. I understand. Thank you, Dr. Perri, for               9
   10   clarifying.                                               10    A. It seems to me that JM Smith did some kind
   11     A. Thank you.                                           11 of a superficial analysis and that they got a Pro
   12     Q. Can you go to Paragraph 25 of this expert            12 Compliance report. There were a couple of issues
   13   report, please?                                           13 that were going on here with regard to these -- the
   14     A. Okay.                                                14 timing of all of this. Smith -- and there is one
   15     Q. And you discussed yesterday with                     15 other issue that I feel like I have to tell you as
   16   Ms. Rodgers, just to refresh your recollection, this      16 well because it has bearing on this whole report and
   17   particular part of the report dealt with a                17 why this incident came about.
   18   distributor, Smith Wholesale, that in this case           18        But the initial analysis, whatever Smith
   19   unilaterally ceased providing controlled substances       19 did, and I don't know exactly -- I don't recall and
   20   to Cherokee Pharmacy; is that correct?                    20 I don't know if I ever knew exactly what they did,
   21     A. Yes.                                                 21 but whatever it was, it prompted them to order this
   22     Q. And you write in your report, and I'm                22 Pro Compliance report, and Mr. Forshee didn't want
   23   looking now at the last sentence before the two           23 to do the Pro Compliance report for some reason, as
   24   bullet points: "This action had two significant and       24 I recall, because he felt like it was a violation of
   25   immediate effects on the operation of the pharmacy        25 HIPAA in some way, because the wholesaler would then

                                                     Page 530                                                         Page 532
    1   and its patients."                                         1   be looking at his actual patient data in his
    2         Do you see that sentence?                            2   computer: Names, addresses, phone numbers, ZIP
    3     A. Yes.                                                  3   codes, all that kind of stuff.
    4     Q. And did I read that correctly?                        4        So there was this back-and-forth between
    5     A. Yes.                                                  5   them, and Mr. Young, who was the Smith
    6     Q. Thank you. And one of the significant and             6   representative -- what has -- what has occurred to
    7   immediate effects that you noted in your prior             7   me in all of this is that nothing -- something that
    8   report was that the pharmacy could not provide             8   hasn't come up at all was the real reason that came
    9   needed medications to its patients; is that correct?       9   out in this whole case about why Mr. Forshee's
   10     A. Yes.                                                 10   supply was being cut was because Smith didn't want
   11     Q. And the second significant and immediate             11   to do business with him anymore because he got very
   12   effect of the distributor unilaterally ceasing to         12   rude with him on the telephone, and these were all
   13   provide controlled substances to the pharmacy was         13   things that were being acting as if they were a
   14   that legitimate patients with serious medical             14   smoke screen to cloud the issue of why they were
   15   conditions were unable to obtain their controlled         15   really cutting him off as a supplier.
   16   substances medication from the pharmacy; is that          16        So there were these other layers to what was
   17   right?                                                    17   going on, and I don't think that's come out before,
   18     A. Yes.                                                 18   and really, as I'm getting back into this, I'm just
   19     Q. Thank you.                                           19   remembering more and more about the case. So --
   20     A. So --                                                20     Q. I --
   21     Q. Can you go to the next paragraph, please?            21     A. I was going to say but to answer your
   22         MR. CHALOS: Hold on. Do you have                    22   question, there were -- there were two things that
   23     something --                                            23   were related to the orders, there was the conflict
   24         THE WITNESS: No, it's okay. I can -- I'll           24   between Mr. Forshee, as far as the releasing his
   25     bring this up.                                          25   patient data to a third party that he didn't have

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    1   any real knowledge of, and then the issues                1      that misstates the -- what this is saying here.
    2   related -- also the issues related to Mr. Forshee's       2      Q. So let me try the question a different way.
    3   belief that the wholesaler shouldn't be interfering       3   I'll read directly from your report.
    4   with his patient relationships.                           4      A. Okay.
    5         So there were four things, I think. You             5      Q. "The fact that the distributor lowered the
    6   mentioned two.                                            6   allotment for oxycodone to Cherokee Pharmacy by as
    7     Q. Thank you, Dr. Perri. So just to go back to          7   much as 50 percent meant that Cherokee Pharmacy
    8   my question, there were two analyses referred to in       8   could not fill all prescription requests for this
    9   this particular paragraph; is that correct, one           9   product."
   10   superficial internal analysis done by the                10          Is that correct?
   11   distributor, and one partial analysis of dispensing      11          MR. CHALOS: Object to the form; misstates
   12   statistics provided by Pro Compliance?                   12      the document.
   13     A. So to that question, yes, there were two            13      A. So the real issue here, as I'm looking at
   14   analyses. I thought the prior question had asked me      14   this, was that not only they were -- they were
   15   what the factors were.                                   15   cutting the quota, but they were also not telling
   16     Q. And I apologize if I was unclear, but this          16   Mr. Forshee what his new magic number was going to
   17   paragraph is just addressing these two analyses, one     17   be.
   18   by the distributor and one by Pro Compliance; is         18      Q. I understand.
   19   that right?                                              19      A. So he ran the risk of if he placed an order
   20     A. That's right.                                       20   and it exceeded his allotment, that he was going to
   21     Q. Okay. And in your opinion in this report            21   then be held accountable for that order that he
   22   and I'm just reading from your report here, in your      22   never received once again, as he was in prior
   23   opinion both the distributor's internal analysis and     23   orders, which was going to add to the demerits
   24   the Pro Compliance report had serious flaws that         24   against him and his pharmacy in the overall system
   25   rendered these analyses largely useless; is that         25   that Smith was using.

                                                     Page 534                                                       Page 536
    1   correct?                                                  1         So that actually contributed to my questions
    2          MR. CHALOS: Where is that? Where are you           2   about how the Smith system could be effective in
    3      reading from?                                          3   actually doing what it was purporting to do.
    4      Q. So this is from the fourth sentence of              4     Q. Thank you. That's helpful. And because of
    5   Paragraph 26.                                             5   that, you opined in your report: "Patients would
    6      A. That's what I said at the time, yes.                6   have to seek to have their medication filled
    7      Q. And they were largely useless in evaluating         7   elsewhere or go without needed medication."
    8   the appropriateness of the dispensing of controlled       8         Is that correct?
    9   substances at the pharmacy; is that right?                9         MR. CHALOS: Object to the form.
   10      A. Based on the documents I had seen in this          10     A. In the event that these things actually
   11   matter, that's -- that was the conclusion I came to.     11   happened and he didn't receive an order, and he
   12      Q. Thank you, Dr. Perri. And just because I'm         12   didn't have inventory to fill it, yes, they would
   13   not positive we got this on the record yesterday, if     13   have needed to go somewhere else.
   14   you will go to Paragraph 29.                             14     Q. Thank you, Dr. Perri. Could you turn to the
   15      A. Okay.                                              15   next page?
   16      Q. In your expert report in this case, Cherokee       16     A. Yes.
   17   Pharmacy, you stated that the distributor lowered        17     Q. Actually, go two more pages in, on Page 8,
   18   the allotment for oxycodone by as much as 50             18   and then we'll jump back because I have a few more
   19   percent; is that correct?                                19   questions about the Pro Compliance report that you
   20      A. You know, I don't recall that but I see that       20   discussed with Ms. Rodgers just a few moment ago.
   21   it's in the report here in Paragraph 29.                 21     A. Okay.
   22      Q. Okay. Thank you. And as a result of that,          22     Q. My first question has to do with the
   23   Cherokee Pharmacy could not fill all prescription        23   conclusion that you arrived at in Paragraph 32. You
   24   requests for oxycodone; is that right?                   24   stated here: "The actions taken by Smith Drug
   25          MR. CHALOS: Object to the form. I think           25   Company to arbitrarily impose restrictions on

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    1   dispensing of controlled substances by Cherokee             1     this case we are here about today, or in Smith?
    2   Pharmacy interfered with its patients' ability to           2         MR. LADD: In the case in Smith, in Smith.
    3   get needed medications."                                    3         MR. CHALOS: Okay. Yeah, because --
    4         Is that correct?                                      4         MR. LADD: In which he wrote the prior
    5         MR. CHALOS: Object to the form.                       5     report. Understood.
    6     A. That's the conclusion that I drew here.                6         MR. CHALOS: Okay.
    7     Q. Thank you. And just so we have it on the               7   BY MR. LADD:
    8   record, did you alter or change this opinion in any         8     Q. In Smith, what would a -- what would a
    9   way after you submitted it, to your recollection?           9   defensible benchmark have looked like, in your
   10         MR. CHALOS: Object to the form.                      10   opinion?
   11     A. I don't know that there would even be a               11     A. You know, I wasn't asked to come up with the
   12   mechanism to do that. You mean like filing a               12   right answer, I was just making a notation here that
   13   supplemental report or something like that?                13   they hadn't developed a benchmark, they just said
   14     Q. Correct. You're not aware of having changed           14   that the patients were traveling too far but they
   15   or altered your opinions in this case in any way?          15   didn't say how far that was or why. So I don't know
   16     A. No.                                                   16   what the right number would be.
   17     Q. Thank you. If you could look back on Page 7           17         I do know that it would be different than an
   18   to the discussion of the Pro Compliance report, and        18   in-town center city pharmacy because of the rural
   19   specifically the second bullet point, you spoke a          19   location, and distance between two much bigger
   20   few moments ago with Ms. Rodgers concerning the Pro        20   cities than where Cherokee Pharmacy is located.
   21   Compliance report basing its assessment on spacial         21     Q. Thank you. And I believe you said a moment
   22   data; is that correct?                                     22   ago when you were being asked questions by
   23         MR. CHALOS: Object to the form; a vague,             23   Ms. Rodgers that this was an unusual situation
   24     unclear question.                                        24   because there was was a rural community that was
   25     Q. You can answer.                                       25   located between two larger cities?
                                                      Page 538                                                         Page 540
    1     A. I'm looking for the word "spacial" so I --             1     A. And on the border.
    2   oh, there it is. Gotcha. The second bullet point.           2     Q. Is that correct?
    3   Okay.                                                       3     A. Right. And on the border.
    4         Yes.                                                  4     Q. And on the border. So is it your
    5     Q. You remember discussing that with                      5   understanding that this particular city, Cleveland,
    6   Ms. Rodgers just a few minutes ago?                         6   Tennessee, was the only community in the United
    7     A. Yes.                                                   7   States that was both on the border of a state and
    8     Q. And if you look to the paragraph directly              8   located between two much larger cities?
    9   after that beginning with the sentence "This is             9     A. It's the only one in Cleveland, Tennessee
   10   flawed," do you see that?                                  10   that has those characteristics. I don't know about
   11     A. Yes, I do.                                            11   the rest of the country.
   12     Q. You wrote: "This is flawed because no                 12     Q. I understand. Is it your understanding that
   13   standards are presented nor assessment of the actual       13   there are other rural communities in the United
   14   distances reported. This is likely due to the lack         14   States that are located between two much larger
   15   of defensible benchmark for these statistics given         15   cities?
   16   the vast differences that would be seen between            16     A. I'm sure that we could identify some if we
   17   rural and metropolitan areas."                             17   pulled out a map. I think the point isn't whether
   18         Do you see that?                                     18   there is other cities or not, the point is, is
   19     A. I see that.                                           19   whatever rules were in place, were they being
   20     Q. My question for you is in this case, what             20   applied appropriately to Cleveland -- Cleveland,
   21   would have been a defensible benchmark, in your            21   Tennessee and to Cherokee Pharmacy, which was the
   22   opinion?                                                   22   analysis that I was trying to do in the Cherokee
   23         MR. CHALOS: Object to the form. Are you              23   Pharmacy case.
   24     talk -- when you say "in this case," that's my           24     Q. I understand. But in your view in this
   25     beef with the question. Are you talking about in         25   prior expert report, part of the reason there was a

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    1   lock of a defensible benchmark was that the                 1     Q. You're not aware of any one-size-fits-all
    2   dispensing analysis that took place did not take            2   dispensing analysis that would be appropriate in
    3   into account the particular geographical                    3   Cherokee or any other case?
    4   characteristics of the pharmacy in question; is that        4         MR. CHALOS: Object to the form. I also
    5   right?                                                      5     object to the extent it's -- object on the ground
    6     A. I think, basically, that is something I                6     that it is seeking opinion testimony beyond the
    7   would agree with.                                           7     scope of the opinions he's offering in this
    8     Q. Okay. And so in this -- so your                        8     litigation as reflected in Exhibit 1 to his
    9   understanding at the time was that for a dispensing         9     deposition.
   10   analysis of a pharmacy's dispensing practices to be        10     A. So I guess what I'm saying is I leave open
   11   accurate or to be accurate as possible, it would           11   the possibility that there is some rule that could
   12   need to take into account whatever geographical            12   be applied, and I think you referred to it as a
   13   particularities or characteristics that pharmacy           13   dispensing analysis.
   14   had?                                                       14     Q. Yeah. Yeah.
   15         MR. CHALOS: Object to the form, and object           15     A. And I think that's the Pro Compliance
   16     to the extent it's seeking opinions here in our          16   report, is a dispensing analysis. Am I correct in
   17     case, the opioids case, that are beyond the scope        17   that assumption?
   18     of his opinions as reflected in Exhibit 1.               18     Q. Yes, that's correct.
   19     A. So the answer to your question is, you know,          19     A. So if -- I would leave open the possibility
   20   I don't know what needs to be done for other stores.       20   that there is some one-size-fits-all rule that could
   21   I did a pretty thorough analysis here of Cherokee          21   be developed that would be an initial or prescreen
   22   Pharmacy back when this all happened and I had a lot       22   for any potential problems in a dispensing analysis.
   23   of data, I could look at a lot of things. I looked         23   Again, I don't know what that rule might be, I
   24   at prescription numbers, the volumes, the actual           24   haven't undertaken to analyze that, and I'm not an
   25   numbers of controlled substances that Mr. Forshee          25   expert in that area, and I didn't provide any
                                                       Page 542                                                        Page 544
    1   was ordering. So I had a lot of information on that         1 opinions in the opioid case about things like that.
    2   so I could actually make an informed decision about         2    Q. And just be clear, you're not aware of any
    3   whether what was happening to him seemed to be              3 such one-size-fits-all rule as you sit here today?
    4   appropriate or not.                                         4      A. Well, I think what Cherokee was being
    5         Beyond the scope of his store, I can't make           5   subjected to was a one-size-fits-all rule, which was
    6   any conclusions or have any opinions about what's           6   if you are traveling more than 25 miles, and I think
    7   right or wrong for other stores or what should be           7   that's what we assumed they were using at the time,
    8   done at the wholesaler level or any other level.            8   just as my recollection is, is that number came into
    9     Q. Understood. But could you say at this time,            9   my head, that seems to be what they were using, but
   10   when you wrote this report, to a reasonable degree         10   it didn't apply to Cherokee.
   11   of certainty that a dispensing analysis of a               11          So it would -- that would at least be
   12   pharmacy would likely be more accurate if it took          12   evidence in my mind that a one-size-fits-all doesn't
   13   into account geographical characteristics of a             13   work for anybody.
   14   particular pharmacy than if it did not?                    14          MR. LADD: Thank you, Dr. Perri. Those are
   15         MR. CHALOS: Object to the form, and object           15      all the questions I have for you today.
   16     to the extent it's calling for opinion testimony         16          THE VIDEOGRAPHER: We are now going off the
   17     beyond the scope of the opinions he's offering in        17      video record. The time is currently 1:47 p.m.
   18     the opioids litigation.                                  18         (Recess from 1:47 p.m. until 1:49?p.m.)
   19     A. So with respect to Cherokee, I definitely             19          THE VIDEOGRAPHER: We are now back on the
   20   agree with that. I don't know beyond that because          20      video record. The time is currently 1:49 p.m.
   21   there may be more -- there may be some                     21                 CROSS-EXAMINATION
   22   one-size-fits-all that's appropriate. I haven't            22   BY MS. COATES:
   23   undertaken to study that. I'm not an expert in that        23      Q. Hello, Dr. Perri. My name is Melissa Coates
   24   area and I haven't looked at it at Cherokee nor in         24   and I represent the Teva defendants in this matter.
   25   our case today, the opioid case.                           25   I am going to try my best not to retread any ground

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    1   but stick to some questions specific to my client.       1     Q. All right. If we could turn to Paragraph
    2     A. Okay.                                               2   173.
    3     Q. And I'm -- am I correct, based on what I            3     A. Okay.
    4   heard in your testimony so far, that you are not         4     Q. And the last sentence of that paragraph
    5   offering a Teva-specific opinion in your report or       5   reads: The key marketing messages are focused on
    6   your testimony?                                          6   competitive prices and the assurance of consistent
    7     A. Yes.                                                7   supply of quality generic medicines -- medications.
    8     Q. And similarly, you are not offering any             8         Did I read that correctly?
    9   Cephalon-specific opinion in your report or your         9     A. Yes, you did.
   10   testimony?                                              10     Q. Thank you. And I think you reference that
   11     A. Yes.                                               11   just a minute ago, that those marketing messages are
   12     Q. Okay. If we could turn -- we can go back to        12   different than what you've seen with the branded
   13   Exhibit 1 to your report, and if we could turn to       13   marketing messages; is that correct?
   14   Paragraph 165.                                          14     A. Yes.
   15     A. Okay.                                              15     Q. Okay. And generic manufacturers do not
   16     Q. All right. This is under Subsection G,             16   promote the safety, efficacy, or benefits of their
   17   Defendants' Generic Marketing; is that correct?         17   generic medications; is that correct?
   18     A. Yes, it is.                                        18         MR. CHALOS: Object to the form.
   19     Q. And it looks to me like Subsection G goes          19     A. I would agree that they generally don't do
   20   through Paragraph 182; is that correct?                 20   that, but if there is not -- I can't say that that's
   21     A. Yes.                                               21   never done with respect to generics. And if we
   22     Q. And does this Section G, Paragraphs 165            22   qualify that just a little bit, for example,
   23   through 182, represent the entirety of the opinions     23   sometimes with generics there are -- references are
   24   you're giving on generic marketing, generics            24   made to other products or comparable products, the
   25   marketing?                                              25   branded product itself. So when that occurs, the
                                                     Page 546                                                      Page 548
    1         MR. CHALOS: Object to the form.                    1   generic is sort of linking itself to the branded
    2      A. I think so. I think the only other place           2   rather than just standing alone on its own. So with
    3   there might be something related to marketing of         3   those qualifications -- generally, I completely
    4   generics would be in the section on the distribution     4   agree with this, and this is what I see in the vast
    5   channels, the supply chain earlier in the report,        5   majority of the marketing messages associated with
    6   but it wouldn't be anything different. It just           6   generics that I saw in the opioid matter, was that
    7   might be supplemental.                                   7   they focused on consistency of supply, pricing and
    8      Q. Okay. And what do you mean, just so that we        8   quality of the products.
    9   can be clear, when you refer to generic marketing?       9     Q. Okay. Thank you. And turning to
   10      A. So the marketing for brand name                   10   Paragraph 182 -- sorry, 181, but just above still on
   11   pharmaceuticals and marketing for generics, in my       11   page 151.
   12   experience, is slightly different.                      12     A. Okay.
   13      Q. Okay.                                             13     Q. Although we can read the sentence from the
   14      A. So I felt as though I should distinguish          14   beginning, just go back to page 150. The sentence
   15   between the two in the report. So to the extent         15   starting: "From a marketing and business
   16   that different methods are used or different themes     16   perspective, for each generic manufacturer who
   17   are used, I wanted to have a section that               17   decided to enter the opioid market, the profit
   18   specifically related to the themes used with            18   potential outweighed any barriers or potential
   19   generics.                                               19   negative aspects of market entry, including concerns
   20      Q. Okay. And this is specific to generic             20   over the risks of selling opioids."
   21   prescription medicines, and in this case opioids,       21         Did I read that correctly?
   22   it's not generic in the sense of nonspecific or         22     A. You did.
   23   unbranded, it's generic prescription medicines and      23     Q. And this calculus, that profits outweigh the
   24   opioids?                                                24   risks and costs of a particular product, that
   25      A. Yes.                                              25   calculus is not unique to a decision to enter a

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    1   market for opioids; is that correct?                        1   DEA quotas; is that correct?
    2     A. Yes, that's true, the go/no go decision                2     A. Yes.
    3   described in this section on my report, it would be         3     Q. So --
    4   true for any generic product being considered.              4     A. As far as I know, yes.
    5     Q. Okay. And medications that are available by            5     Q. Okay. So manufacturers cannot simply
    6   prescription, as opposed to, say, over the counter,         6   manufacture as much product as they want, correct?
    7   that is because there is some degree of risks               7     A. That's my understanding how the opioid quota
    8   associated with those medications, correct?                 8   system works, yes.
    9     A. I think by definition, prescription                    9     Q. Okay. And are you familiar with the duty of
   10   medications are more dangerous or more -- have more        10   sameness when it comes to generic prescription
   11   potential for harms than over-the-continuer                11   medicines?
   12   medicines, yes.                                            12     A. I don't know if I've heard that exact
   13     Q. Okay. So a pharmaceutical manufacturer is             13   phrase, but the -- I'm familiar with the
   14   going to undergo a similar calculus when deciding to       14   requirements for a generic are.
   15   manufacture or enter the market for any drug,              15     Q. Okay. And can you explain those
   16   correct?                                                   16   requirements to me, in your understanding?
   17     A. I think there would be a contemplative                17     A. Right. So a generic can come to market
   18   decision that would be made and they would -- they'd       18   without doing the clinical testing that the brand
   19   have criteria. Certainly I think the criteria for a        19   name product has to do, but the generic must be
   20   branded product may be different and certainly have        20   bioequivalent and it must have the same
   21   higher implications in terms of the amount of              21   bioavailability. In other words, there is a -- I
   22   investment that you've got to put into the product,        22   think it used to be 85/120 rule, that the drug must
   23   the amount of time that it would take to develop and       23   be within certain parameters. So as long as the
   24   bring to market, but the overall "should we do this        24   drug is within those parameters of bioavailability
   25   or not" is going to be pretty similar at the end of        25   and bioequivalence, that it's essentially the same

                                                       Page 550                                                        Page 552
    1   the day: Is this a market where we can find enough          1   as the branded product.
    2   customers to satisfy a model that's going to                2     Q. And it's required to have the same label as
    3   generate the revenues we need to make to maximize           3   the branded product?
    4   shareholder wealth and stay in business?                    4     A. Yes, that's part of it as well. I was
    5     Q. Okay. And you're not giving an opinion that            5   taking it from a little bit different angle, but --
    6   there is anything wrong with selling generic opioid         6   so -- but the indications, the safety information,
    7   medications; is that correct?                               7   would all be exactly the same.
    8     A. No, I'm not giving an opinion that there is            8     Q. Okay. If we could turn to Paragraph 128.
    9   anything wrong with that.                                   9     A. Okay.
   10     Q. You're not giving an opinion that any                 10     Q. And if -- if you look at that paragraph and
   11   generic manufacturers in this case engaged in some         11   Footnote 253 cited in Paragraph 128, you're citing
   12   wrongful act; is that correct?                             12   to the Boyer Teva deposition; is that correct?
   13         MR. CHALOS: Object to the form.                      13     A. Yes.
   14     A. To the extent that, you know, opioid --               14     Q. And I believe you testified earlier that
   15   generic opioid manufacturers are part of the opinion       15   this was not one of the depositions that you read in
   16   that, you know, the marketing expanded the opioid          16   its entirety; is that correct?
   17   market, they would be implicated in that, I think,         17     A. Yes, that's correct.
   18   but I'm not making the assessment of right or wrong,       18     Q. Okay. And the first sentence reads:
   19   only that the marketing resulted in this expansion.        19   "Mr. Boyer, former President and CEO of Teva,
   20   So I think the answer to your question is no, I'm          20   testified that using sales representatives to
   21   not giving that opinion, but there are opinions that       21   communicate with doctors about the proper use and
   22   are related to that in the report just about the           22   risks of opioids was cost prohibitive and not done
   23   expansion of the market, and certainly generics did        23   by Teva."
   24   have a role in the expansion of the market.                24         Did I read that correctly?
   25     Q. Okay. And generic opioids are subject to              25     A. Yes, you did.

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    1      Q. This testimony relates to Teva's generic              1   alternative that enables, from a couple of
    2   business; is that correct?                                  2   perspectives, access to medications to be increased.
    3      A. Yes, generally speaking, yes.                         3         On the one hand we have third-party payers
    4      Q. Do you recall from reviewing the deposition           4   who have a preference towards generics because they
    5   transcript whether this was specific to Teva's              5   are cheaper and it makes it a better deal for their
    6   generic business?                                           6   insurers and for their pharmacy benefit managers and
    7      A. As I recall, it was, yes.                             7   eventually for the patients as well.
    8      Q. Okay. And is it your opinion, then, that              8         For cash payments, generics present a lower
    9   generic manufacturers failed to warn about the risks        9   cost alternative that they may be able to afford
   10   of their generic opioid medications by failing to          10   when indeed they can't afford a brand name product.
   11   use sales representatives to communicate with              11   So public policy-wise I see generics as a positive
   12   doctors?                                                   12   thing.
   13      A. No, I don't think that's my opinion                  13     Q. And if generic manufacturers were using
   14   exactly.. I think that this was -- this was just           14   sales representatives to put out that voice, that
   15   to -- again, you know, a case study analysis, you          15   would affect their ability to offer those low
   16   have to look at so many different data points and          16   prices; is that correct?
   17   one of the data points that I was concerned about          17     A. I mean, I don't -- I don't know the inner
   18   was the balance of information in terms of whether         18   workings of the generic manufacturers and what it
   19   or not the -- you know, we spent a lot of time going       19   would cost them to do that if they already have a
   20   through a lot of package inserts earlier today, and        20   sales force or if they don't. The ins and outs of
   21   certainly those package inserts have warnings in           21   that, my guess is it would cost them more money but
   22   them and that's important. That has to be                  22   I haven't undertaken that analysis and certainly
   23   considered.                                                23   don't know specifically for Teva, or any of the
   24         But then if you -- if you have a product and         24   manufacturers, if they could or couldn't, would or
   25   it was simply a way of assessing whether or not, for       25   wouldn't, and what it would cost, so -- but with

                                                        Page 554                                                            Page 556
    1   Teva's generic products, whether there was any              1 that as a -- as sort of a caveat, I think certainly
    2   effort on the parts of sales, which there are a lot         2 the conclusion could be drawn that if generics
    3   of sales reps out there bringing share of voice way         3 started marketing exactly the way brand name
    4   up for opioids, were there any sales reps out there         4 products did, they would cost more.
    5   promoting the -- or communicating with doctors about        5    Q. Okay. Thank you. Let's turn to Paragraph
    6   the proper use of the generic opioids? So it was            6 137. The first sentence there reads: "Fears were
    7   just -- it's just a data point.                             7 also minimized through marketing communications that
    8         It's not really -- I mean, I don't really             8 indicated problems like addiction occur only when
    9   even consider this judgmental against Teva. It's            9 opioids are abused or used illegally."
   10   just simply that when we look at the overall balance       10       And then there is a Footnote 275. Is that
   11   for generics, we generally aren't going to see a lot       11 correct?
   12   of personal selling and we're not going to see a lot       12     A. Yes.
   13   of personal selling related to the risks or possible       13     Q. Okay. And if we look at 275 Footnote, it
   14   harms of opioids. It's just an artifact of the             14   starts: "See generally, e.g."
   15   market. Again, it's not judgmental, it's just this         15         And e.g. there means "for example," correct?
   16   is the state of where we are, this is what's               16     A. Uh-huh.
   17   typically done in that marketing.                          17     Q. So what follows is going to be an example to
   18     Q. What do you understand the public policy              18   support that first clause of Paragraph 137; is that
   19   reasons for making generic medications available in        19   correct?
   20   the market to be?                                          20     A. Yes.
   21     A. I think I address, to a certain extent, I             21     Q. Okay. So if we read after the e.g. in
   22   address that in the last section that we -- around         22   Footnote 275, it says: "Proper assessment of
   23   Paragraph 180, where we just were. Generics                23   patients, proper prescribing practices, periodic
   24   provide -- and we can certainly flip to that, but          24   reevaluation of therapy, and proper dispensing and
   25   just in general, generics provide a lower cost             25   storage are appropriate measures to help limit abuse

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    1   of opioid drugs."                                         1     A. I'm finding myself wanting to look at this
    2         Did I read that correctly?                          2   whole area so I can make sure.
    3     A. Yes.                                                 3     Q. Please.
    4     Q. So the quoted passage is about means to              4     A. I'm still trying to figure out if the
    5   limit abuse, correct?                                     5   citation, you know -- why this was cited in this
    6         MR. CHALOS: Object to the form.                     6   particular occasion.
    7     A. The quoted passage does, yes.                        7     Q. Okay. Go ahead.
    8     Q. Okay. And do you agree that the things               8     A. Thanks. Okay. Now, if you don't mind,
    9   listed in the quoted passage can be done to limit         9   would you ask me your question?
   10   abuse?                                                   10     Q. Sure. So I'm struggling to see anything on
   11     A. Yes. I think we would need to look at this          11   Page 11 that's stating that addiction occurs only
   12   whole document, though, to get the reason why that's     12   when abused or used illegally, which is the
   13   being cited at 275, yeah.                                13   proposition that you cited this document as an
   14     Q. Okay. And the quoted passage at least does          14   example of. Is that correct or --
   15   not specifically mention addiction, is that correct?     15         MR. CHALOS: Object to the form.
   16     A. Well, it doesn't mention addiction. It              16     A. So this section of the report, and this
   17   mentions abuse, so, yeah. Yeah.                          17   particular -- this Paragraph 137, one of my -- one
   18     Q. Okay. And it does not mention illegal use,          18   of my contentions is that the marketing messages
   19   correct?                                                 19   minimized concerns over addiction -- dependence,
   20     A. Right.                                              20   tolerance, addiction, withdrawal. So the -- in this
   21     Q. Okay. So I'm going to mark the document as          21   sales training, which the topic of this page is
   22   Exhibit 22.                                              22   "Abuse, Addiction & Diversion," so this is a
   23         (Perri Exhibit 22 was marked for                   23   question-and-answer that is designed to -- if you
   24   identification.)                                         24   look at the very first page of this document, it's
   25   BY MS. COATES:                                           25   teaching a way -- a selling technique to minimize
                                                      Page 558                                                         Page 560
    1    Q. I'll give you that copy.                              1   concerns and focus on the product's benefits and
    2    A. Good throw.                                           2   features, and the reasons why it's okay to use the
    3    Q. That one is not going to make it quite as             3   project -- product, basically.
    4 far.                                                        4          So I agree with you, this is not a -- the
    5       All right. And that quote references                  5   best example I probably could have cited here, but
    6 Page 11, right? And just for comparison, the Bates          6   it does meet the criteria of what I would say, that
    7 Number is TEVA_CHI_00000509. And that's the same            7   it's a communication, that's training in the sales
    8 Bates Number on the document that I gave you,               8   force, designed to alleviate fears about abuse, and
    9 correct?                                                    9   the question-and-answer, it does a job of taking the
   10    A. Yes.                                                 10   doctor's fear, taking the prescriber's fear, and
   11    Q. Okay. And so if we turn to Page 11, and if           11   reducing or minimizing that concern so that there
   12 you look at the second bullet point, it says: "All         12   will be less trepidation about using the product.
   13 patients treated with opioids require careful              13      Q. Okay. Thank you. Do you know what branded
   14 monitoring for signs of abuse and addiction, since         14   products -- branded opioid products in particular
   15 use of opioid analgesic products carry the risk of         15   Teva or Cephalon manufactures?
   16 addiction even under appropriate medical use."             16      A. Yes.
   17       Did I read that correct?                             17      Q. What are those products?
   18    A. Yes.                                                 18      A. I believe Fentora and Actiq, and the new one
   19    Q. So this is acknowledging that addiction can          19   that's eluding me right now, the newer one. I'm --
   20 occur when appropriately prescribed, correct?              20   I'm drawing a blank on the name of the newer
   21    A. Yes.                                                 21   product, so --
   22    Q. And it does not actually state anything              22      Q. I'm not aware of any new product, so I can't
   23 about addiction occurring only when abused or used         23   help you there.
   24 illegally, correct?                                        24      A. Well, Hang on just one second because I'm
   25       MR. CHALOS: Object to the form.                      25   thinking of something. So Fentora and Actiq I know

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    1   for sure, and it may have been a competitor's                    1   same time similar to the others.
    2   product but I thought there was another transmucosal             2        (Perri Exhibit 23 was marked for
    3   or transbuccal immediate release fentanyl. Give me               3   identification.)
    4   just a second.                                                   4   BY MS. COATES:
    5         It strikes me this is the first time in this               5     Q. Okay. I'm going to hand you what I'm going
    6   entire process that anybody has asked me about drug              6   to mark as Exhibit 23.
    7   names. It takes me a minute to adjust.                           7     A. Thanks. Good job.
    8     Q. Sure.                                                       8     Q. That one slides. This one is harder.
    9     A. Ah, okay. It was -- it says here Subsys.                    9        MR. CHALOS: That was a good one.
   10   That's it. I'm good.                                            10        MS. COATES: Thank you.
   11     Q. That's correct. Thank you.                                 11     Q. Do you recognize this document?
   12         Okay. And you testified earlier that you're               12     A. I recognize it as the Actiq package insert
   13   relying on other experts to determine whether any               13   from 2011 era. It was complete prescribing
   14   branded marketing by Teva or Cephalon was false or              14   information, I should say. Oh, there is a med guide
   15   misleading; is that correct?                                    15   here as well.
   16     A. The assessment of the specific messages and                16     Q. And do you see the date on this package
   17   their false and misleading, incorrect, whatever,                17   insert anywhere?
   18   yes, I'm relying on other experts for that.                     18     A. December 2011.
   19     Q. And are you familiar with the TIRF REMS                    19     Q. Okay. And so as I think we discussed, this
   20   Access program?                                                 20   would be just before the TIRF REMS program was
   21     A. I'm generally familiar with it as I am all                 21   implemented, but if we turn to the fourth page in
   22   the different REMS -- well, there weren't a lot of              22   Section 5.10 --
   23   different REMS but there were a couple of different             23     A. Yes.
   24   REMS that were involved here, so I'm generally                  24     Q. -- it discusses what the requirements of the
   25   familiar with the requirement of that REM, yes.                 25   TIRF REMS Access program are going to be in
                                                             Page 562                                                      Page 564
    1     Q. And are you aware that since 2012, Actiq and                1   Section 5.10 titled "Transmucosal Immediate Release
    2 Fentora have been subject to the TIRF REMS Access                  2   Fentanyl (TIRF) Risk Evaluation and Mitigation
    3 program?                                                           3   Strategy (REMS) Access Program."
    4     A. I don't know the exact date of when that                    4        Did I read that correctly?
    5 happened but I think that's about the right time                   5     A. You did.
    6 period as I have it in my mind.                                    6     Q. And if you look underneath the first full
    7     Q. Okay. Do you know what the prescriber                       7   paragraph there, it goes through the required
    8 requirements of the TIRF REMS Access program are?                  8   components of the TIRF REMS Access program.
    9     A. I -- as I recall, they are very similar to                  9     A. Yes.
   10 the other opioid REMS and it's requiring prescriber               10     Q. And so the first requirement is that:
   11 training and education and a few other features I                 11   "Healthcare professionals, who prescribe Actiq for
   12 don't recall specifically.                                        12   outpatient use, must review the prescriber
   13     Q. Do you know if there is a reason that TIRF                 13   educational materials for the TIRF REMS Access
   14 products have their own specific REMS?                            14   program, enroll in the program, and comply with the
   15     A. Yes, because of the difference in                          15   REMS requirements."
   16 administration and the potential for problems to                  16        Did I read that correct?
   17 occur if they are not used properly.                              17     A. You did.
   18     Q. And so being subject to their own specific                 18     Q. And the second bullet: "To receive Actiq,
   19 TIRF REMS, presumably those TIRF REMS have different              19   outpatients must understand the risks and benefits
   20 requirements or additional requirements to the other              20   and sign a Patient-Prescriber Agreement."
   21 REMS?                                                             21        Did I read that correct?
   22     A. They're different, yes. Again, I don't                     22     A. You did.
   23 recall exactly the details in the REMS, but I am                  23     Q. And "Pharmacies that dispense Actiq must
   24 familiar that it's -- that exists and that it was --              24   enroll in the program, and agree to comply with the
   25 as I recall, it was slightly different, but at the                25   REMS requirements."

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    1         Did I read that correct?                              1     and sweet, and I think we can now take a break.
    2     A. Yes.                                                   2         THE VIDEOGRAPHER: We are now going off the
    3     Q. And "Wholesalers and distributors that                 3     record. The time is currently 2:20 p.m.
    4   distribute Actiq must enroll in the program, and            4       (Recess from 2:20 p.m. until 2:36?p.m.)
    5   distribute only to authorized pharmacies."                  5         THE VIDEOGRAPHER: We are now back on the
    6         Is that correct?                                      6     video record with the beginning of Media
    7     A. Yes.                                                   7     Number 5. The time is currently 2:36 p.m.
    8     Q. So these are requirements that are specific            8               CROSS-EXAMINATION
    9   to this class of medications; is that correct?              9   BY MS. ZOLNER:
   10     A. Well, these requirements are -- yes, I                10     Q. Good afternoon, Dr. Perri. My name is Erica
   11   agree, they are specific to Actiq and this class of        11   Zolner. I've been sitting on this side of the room,
   12   drugs. They are not unique in terms of REMS. There         12   so I'm not sure we've seen each other much in the
   13   are other programs that pharmacists and doctors have       13   last couple of days, but I represent Allergan
   14   to enroll and so forth, but this is certainly unique       14   Finance and I'm going to be asking you some
   15   to the other opioids.                                      15   questions specifically about my client.
   16     Q. Okay. Thank you. And I'm not going to go              16     A. Okay.
   17   through multiple iterations of labels with you, but        17     Q. And just to be clear, although I think there
   18   I do just want to confirm that there is a boxed            18   have been many people asking you these questions,
   19   warning or a black box warning, however you want to        19   you are not offering any Allergan-specific opinions,
   20   refer to it --                                             20   correct?
   21     A. Yes.                                                  21         MR. CHALOS: Object to the form.
   22     Q. -- applicable to these medications as well.           22     A. Yes, that's correct.
   23     A. There is.                                             23     Q. And you're also not offering any
   24     Q. Okay. Can we turn to Table II of your                 24   Actavis-specific opinions, right?
   25   report? I believe it starts on page 86. And as             25         MR. CHALOS: Object to the form.

                                                      Page 566                                                    Page 568
    1   we've discussed, Table II is sort of your                   1     A. Yes, that's correct.
    2   categorization of the marketing messages that you           2     Q. Let's turn to your report.
    3   reviewed; is that correct?                                  3     A. Okay.
    4     A. Yes.                                                   4     Q. And I think you already have a copy which
    5     Q. And as we discussed, these are not typically           5   was previously marked Exhibit 1.
    6   the type of marketing messages that generic                 6     A. Yes.
    7   manufacturers are going to be communicating, that           7     Q. Could you look at Paragraph 174?
    8   these marketing messages would be more related to           8     A. Okay.
    9   branded manufacturers; is that correct?                     9     Q. In that paragraph you state that Actavis
   10     A. Yes, essentially, that's correct.                     10   marketed an opioid medication called Kadian,
   11     Q. Okay. And Section A, your first marketing             11   correct?
   12   message: Extended release drugs or q12 dosing had          12     A. Yes.
   13   fewer peaks and valleys and less chance of addiction       13     Q. Are you aware that Actavis acquired Kadian
   14   and abuse.                                                 14   from a company called Alpharma?
   15         Is that correct?                                     15     A. I believe that's correct, yes.
   16     A. Yes.                                                  16     Q. Do you know when Actavis acquired Kadian
   17     Q. And I guess I should have asked you this              17   from Alpharma?
   18   previously, but Actiq or Fentora are not extended          18     A. I don't have an exact date, no.
   19   use drugs, is that correct, extended release drugs?        19     Q. Okay. And I'm not expecting it to be a
   20     A. They are not used in this fashion, no.                20   memory test. I'll represent to you that it was in
   21     Q. Okay. And there are no Teva documents                 21   December of 2008. Do you have any reason to
   22   listed in this section; is that correct?                   22   disagree with that date?
   23     A. No, there are not.                                    23     A. No, that seems about what I -- that seems
   24         MS. COATES: Okay, Doctor. I think that I             24   about right to me.
   25     am done with my questions, I tried to be short           25     Q. Does your report cite marketing statements

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    1   by Alpharma?                                                  1         MR. CHALOS: Object to the form.
    2     A. With respect to the family of companies                  2     A. So in my report I have a tab for Schedule 6
    3   related to Actavis, I'm pretty sure they are all              3   that is the ARCOS Opioid Drugs and Defendant
    4   referenced as -- let me took at Table II just to be           4   Corporate Groupings, and among other things it lists
    5   sure.                                                         5   the name of a drug, the status of that drug, who the
    6     Q. While you are looking at that, you're not                6   defendant is, and then manufacturers of that, and
    7   suggesting that Alpharma is part of the Actavis               7   the -- so I was careful in this table to list only
    8   or Allergan family of companies,                              8   companies that are listed as a defendant, whether
    9     A. Say that again.                                          9   they were --
   10     Q. Sure. You're not suggesting that Alpharma               10         So, for example, with the product fentanyl,
   11   is part of the Allergan or Actavis family of                 11   I'm looking at Table 1 in this Exhibit 6. For
   12   companies?                                                   12   fentanyl, the defendant includes Actavis, Endo,
   13     A. Okay. So your question was specific to                  13   Mallinckrodt and Teva, and under the Actavis tab,
   14   Alpharma?                                                    14   Actavis and Watson are both listed. So I -- that's
   15     Q. That's right.                                           15   what I'm referring to as the corporate families or
   16     A. Yeah. So I know that Alpharma is not cited              16   groupings of defendants.
   17   in Table II or anywhere, yes.                                17     Q. Okay. But let's try to break that down. Do
   18     Q. Okay.                                                   18   you understand that Alpharma is not a defendant in
   19     A. So yes.                                                 19   this litigation?
   20     Q. Could you look at Page 93 of your report?               20     A. Yes, I have -- I can check on that, too.
   21     A. Okay.                                                   21   Let me see.
   22     Q. At the bottom of that page you quote a                  22         Schedule 5 is the list of the defendants in
   23   document stating: "Over time, your body may become           23   the case --
   24   tolerant of your current dose. You may require a             24     Q. Right. And you've listed them in
   25   dose adjustment to get the right amount of pain              25   alphabetical order, right?

                                                          Page 570                                                       Page 572
    1   relief. This is not addiction. It is just your                1     A. Right.
    2   body getting used to the drug."                               2     Q. And I do not see Alpharma listed there?
    3         Did I read that correctly?                              3     A. That's correct.
    4     A. Yes.                                                     4     Q. Okay. So Alpharma is not part of the family
    5     Q. You attribute that statement to Allergan,                5   of defendants in this litigation, correct?
    6   right?                                                        6     A. Did I say that they were?
    7     A. That's what I was going to say a little bit              7     Q. I'm confused by your term "family of
    8   earlier, is that all of -- anything that has to do            8   defendants" because defendants have specific meaning
    9   with this family of defendants is -- Actavis and              9   in the context of litigation.
   10   Allergan, would be listed as Allergan.                       10     A. Okay.
   11     Q. I guess I'm confused by what you mean by                11     Q. So maybe let's just take one step back.
   12   "family of defendants."                                      12     A. Okay.
   13     A. With all the mergers --                                 13     Q. Isn't it correct that Alpharma is not part
   14         MR. CHALOS: Sorry. Let her finish her                  14   of this lawsuit?
   15     question, if you would. Sorry. You can answer.             15     A. That's my understanding, yes.
   16     Q. Thank you. We talked earlier about the fact             16     Q. And it's also your understanding that
   17   that Actavis acquired Kadian, the branded drug, from         17   Alpharma is not part of the family of defendants
   18   Alpharma in December 2008, right?                            18   that's part of the Allergan umbrella, correct?
   19     A. We did talk about that.                                 19         MR. CHALOS: Object to the form.
   20     Q. And you understand that Actavis did not                 20     A. I assume so. The comings and goings of the
   21   acquire Alpharma, right?                                     21   different companies, the mergers, acquisitions,
   22     A. Yes.                                                    22   licensing, purchasing of products, I looked at the
   23     Q. Okay. So maybe you can describe to me what              23   products themselves and their marketing. I didn't
   24   you mean when you keep saying that there is a family         24   really focus extensively on the -- you know, who was
   25   of defendants?                                               25   making it when. It was when did a product come to

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    1   market, what was the marketing planning, what was            1     A. I do.
    2   the metrics that were used to evaluate it, what              2     Q. And then do you see that the document is
    3   tactics were used, what strategies were used.                3   also dated in the next line March 2007?
    4     Q. Got it. But you were looking at the                     4     A. Okay.
    5   question of when a product came to market?                   5     Q. And you'll recall several questions ago I
    6     A. Right.                                                  6   represented to you that Actavis acquired Kadian in
    7     Q. I think that's what you just testified to.              7   December of 2008. Do you remember that?
    8   And you were also including dates in the documents           8     A. You did.
    9   that you cited throughout your report, correct?              9     Q. So that was over a year before -- this
   10     A. Wherever possible, yes.                                10   document was published over a year before Actavis
   11     Q. So let's take a look at a document that I'm            11   acquired Kadian, correct?
   12   going to mark Exhibit 24.                                   12     A. That's right.
   13         (Perri Exhibit 24 was marked for                      13        MR. CHALOS: Hold on. Object to the form.
   14   identification.)                                            14     Q. Do you have any reason to believe that
   15         MS. ZOLNER: This table is so long.                    15   Actavis ever used this document after it acquired
   16         MR. CHALOS: Do you have another copy of               16   Kadian?
   17     that?                                                     17     A. I don't have any reason to suspect that they
   18         MS. ZOLNER: I'll try to shuffle it across.            18   did or didn't. I wouldn't know.
   19           (Discussion off the record.)                        19     Q. What about Allergan, do you have any reason
   20   BY MS. ZOLNER:                                              20   to suspect Allergan ever used this document?
   21     Q. Dr. Perri, if you could just look at the               21     A. I wouldn't know based on this document.
   22   first page in the upper left-hand corner, do you see        22     Q. Did you do any research to determine when
   23   there where it's marked "Kadian"?                           23   Actavis acquired Kadian from Alpharma prior to your
   24     A. I'm confused. Upper left-hand corner?                  24   deposition today?
   25     Q. Upper right-hand corner. My apologies.                 25     A. You know, that's -- I appreciate the

                                                         Page 574                                                           Page 576
    1     A. Thank you. Yes.                                         1   question and the answer, I think, is no but maybe.
    2     Q. And then under that it says: "Learn more                2   I was concerned with the marketing of Kadian. I
    3   about customized pain control with Kadian."                  3   wasn't concerned with who made it, when they made
    4     A. Yes.                                                    4   it, and I wanted to see the marketing for Kadian and
    5     Q. And then you quote from language in your                5   that's what I focused on.
    6   report on the fourth page of this PDF, correct? And          6         That's why I don't have independent opinions
    7   just for clarification, that's the page that's               7   about each individual defendant or another. The --
    8   marked ACTAVIS0006826, and I believe in your report          8   what I was focused on was the marketing of opioids.
    9   on page 93, which was the portion of your report we          9   So whether Kadian was owned by you or someone else,
   10   were looking at before I showed you Exhibit 24, we          10   I wanted to know what was happening with Kadian and
   11   were looking at that language that I quoted earlier.        11   that's what I stayed with.
   12     A. Okay.                                                  12      Q. Understood. And you weren't paying
   13     Q. The "over time, your body..." section.                 13   attention to ownership lines or who was responsible
   14     A. Yes.                                                   14   for manufacturing the drug in your review of the
   15     Q. Do you recall that?                                    15   marketing materials?
   16     A. Yes.                                                   16      A. I tried to pay attention to that, but it was
   17     Q. Do you see that language quoted on Page 4 of           17   impossible to keep that straight at all points for
   18   Exhibit 24?                                                 18   every drug at every point in time because there were
   19     A. Yes.                                                   19   so many mergers, acquisitions, licensing and so
   20     Q. If you turn to the last page of Exhibit 24,            20   forth that -- I did the best that I could, I think,
   21   do you see in the bottom right -- bottom left-hand          21   in keeping track of where everybody was with respect
   22   corner there is a copyright date, and it's copyright        22   to ownership and all that.
   23   2007, Alpharma Branded Products Division?                   23         And I know certainly from reading some of
   24     A. Okay.                                                  24   the depositions, and particularly with regard to
   25     Q. Do you see that?                                       25   Allergan Financial, that there was a lot of question

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    1   about ownership and things like this, so I                  1   ACTAVIS0006930, that's the document you're quoting,
    2   appreciate your concern over this and I'm sure you          2   right?
    3   all will figure out an answer to that, but from my          3     A. You know, I've looked at all of these
    4   perspective, this was about Kadian, not about who           4   documents, so I know that it came from that
    5   owned it at that time.                                      5   document, but I can't tell you the time frame of it,
    6     Q. Understood. So just for points of                      6   so --
    7   clarification, as you sit here today you can't              7     Q. Understood. Why don't -- why don't we mark
    8   recall any specific research you did to determine           8   that document.
    9   when Actavis acquired Kadian from Alpharma?                 9     A. Okay.
   10     A. Not other than what I would have read in the          10     Q. Let's mark it Exhibit 25.
   11   deposition transcripts about the timing of when            11         (Perri Exhibit 25 was marked for
   12   things happened, yeah.                                     12   identification.)
   13     Q. Could you turn to Page 96 of your report              13   BY MS. ZOLNER:
   14   now?                                                       14     A. Good job.
   15     A. Okay.                                                 15     Q. We should bring a carrier pigeon.
   16     Q. Do you see where you wrote -- and this is by          16         I think the good news here is we're just
   17   the Actavis document in your chart, 0006930, do you        17   going to look at the first page.
   18   see that?                                                  18     A. Okay.
   19     A. Yes.                                                  19     Q. So do you see where it says in the middle of
   20     Q. "It is important for these audiences to               20   the page, "Kadian 2005 Publication Plan"?
   21   understand the difference between addiction and            21     A. Yes.
   22   pseudoaddiction, which involved medication-seeking         22     Q. It also says this document was prepared by
   23   behavior solely for the sake of pain relief. While         23   Alpharma on January 20th, 2005. Do you see that?
   24   tolerance to opioids can occur, a dose increase of         24     A. I do.
   25   switch to another agent will often yield the needed        25     Q. Do you have any reason to disagree with

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    1   pain relief. Tolerance can also work advantageously         1   what's written on the first page of Exhibit 25?
    2   for the patient, since it also applies to adverse           2     A. No, I do not.
    3   events."                                                    3     Q. As you sit here today, do you know if
    4         Did I read that right?                                4   Actavis ever used this document?
    5     A. You did.                                               5     A. What I was undertaking here was to look at
    6     Q. And you attribute that statement to                    6   the contents specifically to refresh my memory about
    7   Allergan, right?                                            7   what may have been going on in this planning
    8     A. Yes, for the reason I explained earlier,               8   document, and then my thought was to get ahold of an
    9   yes.                                                        9   Actavis document, Actavis marketing plan for Kadian
   10     Q. And by "the reason I explained earlier," you          10   and then compare them and see, and then maybe draw
   11   mean that you weren't focused on the dates of              11   the conclusion that they are similar or they're not
   12   ownership for any particular drug?                         12   very similar and I could possibly answer your
   13     A. Not just that, but that is part of it.                13   question, but since I don't have the second
   14   The -- it's just Allergan as a named defendant. I          14   document, I can't really do that.
   15   wanted the column, this last column, to be a named         15     Q. My question was a simple one. I just was
   16   defendant, so whatever defendant family might have         16   asking do you know if this document was ever used by
   17   been there. So while it may have been an Actavis           17   Actavis?
   18   document, it's listed under Allergan as the                18     A. As I sit right now, I don't know.
   19   defendant.                                                 19     Q. Okay. What about Allergan, as you sit here
   20     Q. Okay. Even though Allergan didn't own the             20   now do you know if this document was ever used by
   21   drug at the time, it's still listed under Allergan?        21   Allergan?
   22     A. Again, if that's the case, then that's like           22     A. I do not know that.
   23   the last example. I wasn't focused enough on the           23     Q. And I'm speaking about Exhibit 25, just for
   24   dates.                                                     24   the record.
   25     Q. Understood. The statement did come from               25     A. Right.

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    1     Q. In the case of Actavis, are you aware of any             1     A. Yes.
    2   regulatory or administrative action by the FDA?               2     Q. Could you look at Page 31? It's the page
    3         MR. CHALOS: Object to the form.                         3   that says "Efficacy" at the top.
    4     A. I don't recall as I sit here.                            4     A. Yes.
    5     Q. What about Allergan, are you aware of any                5     Q. The very first bullet on Page 31 of
    6   further regulatory or administrative action by the            6   Exhibit 26 says: "Kadian contains morphine as its
    7   FDA against Allergan?                                         7   active ingredient and has a long history of safety
    8         MR. CHALOS: Object to the form.                         8   and efficacy when used as indicated."
    9     A. Again, as I sit here, I don't recall.                    9         Did I read that correctly?
   10     Q. Let's go back to your report and I'm looking            10     A. Yes.
   11   at Paragraph 137 now. Let me know when you're                11     Q. Again, I know you've testified repeatedly
   12   there.                                                       12   that you're not here to offer FDA expertise, but I
   13     A. 127?                                                    13   have a question on this.
   14     Q. 137.                                                    14         Are you aware that before the FDA approves a
   15     A. Okay.                                                   15   drug for marketing, it must first determine if a
   16     Q. Paragraph 137.                                          16   drug is effective?
   17     A. I'm there. I'm there.                                   17     A. Safe and effective, yes, safe and effective,
   18     Q. Okay. You state here that: "Fears were                  18   yes.
   19   also minimized through marketing communications that         19     Q. Okay. And are you also aware that the FDA
   20   indicated problems like addiction occur only when            20   is responsible for making sure that the benefits
   21   opioids are abused or used illegally, and if opioids         21   outweigh its potential risks to patients?
   22   are taken as prescribed, the risk of addiction is            22         MR. CHALOS: Object to the form.
   23   rare, less than 1 percent."                                  23     Q. Let me rephrase that.
   24         Did I read that correctly?                             24         One of the other issues that the FDA is
   25     A. Yes.                                                    25   considering before approving a drug for marketing is

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    1      Q. Looking at your support materials, I want to            1   whether the benefits outweigh potential risks to
    2   start with Footnote 276, and there you're citing a            2   patients, correct?
    3   document which is ACTAVIS0264972.                             3     A. That's my understanding of what the FDA's
    4         Do you see that?                                        4   goal is.
    5      A. Yes.                                                    5     Q. Let's look now at Exhibit 27.
    6      Q. Okay. And in that footnote, Footnote 276,               6         (Perri Exhibit 27 was marked for
    7   it says: "See generally, e.g. 'long history of                7   identification.)
    8   safety and efficacy when used as indicated' Kadian            8   BY MS. ZOLNER:
    9   Marketing Overview, ACTAVIS0264972, page 31."                 9     Q. Thank you. This, Dr. Perri, is -- the
   10         Did I read that right?                                 10   document that we just marked Exhibit 27 is the FDA
   11      A. Yes.                                                   11   approval letter for Kadian that came in on July the
   12      Q. And as you note in your footnote, the                  12   3rd, 1996, correct?
   13   document states that for Kadian, there is a long             13     A. Yes.
   14   history of safety and efficacy when used as                  14     Q. And the first paragraph of this letter
   15   indicated, right?                                            15   written to Mr. Wagner is: Please refer to your June
   16      A. Yes.                                                   16   29, 1995 new drug application, or NDA, submitted
   17      Q. I'd like to now mark Exhibit Number 27 --              17   under Section 505(b) of the Federal Food, Drug, and
   18   26. I'm sorry.                                               18   Cosmetic Act for Kadian (morphine sulfate) Sustained
   19         (Perri Exhibit 26 was marked for                       19   Released Capsules, 20 milligrams, 50 milligrams and
   20   identification.)                                             20   100 milligrams.
   21   BY MS. ZOLNER:                                               21         Did I read that correctly?
   22      Q. And again, this is -- the document that we             22     A. Yes.
   23   have just marked Exhibit 26 is a Kadian Marketing            23     Q. If you look down to the fourth paragraph,
   24   Overview from Sales Representative Training on               24   this explains that in approving Kadian, the FDA
   25   October of 2011. Do you see that?                            25   concluded that Kadian was safe and effective for the

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    1   use as indicated, correct?                                 1   with the Bates number ACTAVIS0567695, Page 17.
    2     A. Yes.                                                  2         Did I read that right?
    3     Q. Are you aware if the FDA ever requested that          3     A. Yes.
    4   Kadian be removed from the market?                         4     Q. So that cite is part of a document that was
    5     A. I don't know.                                         5   entitled the Kadian PI Workshop?
    6     Q. Do you know if Kadian is still sold today?            6     A. Yes.
    7     A. I know that the generic forms pretty much             7     Q. Did you review that document?
    8   took over the marketplace for Kadian eventually, so        8     A. Yes.
    9   I don't know if it's still sold as a branded product       9     Q. Would you remind the jury what PI means? I
   10   or not.                                                   10   know you previously gave a definition, but just for
   11     Q. You just don't know one way or the other?            11   purposes of my recollection.
   12     A. No.                                                  12     A. Well, it's either package insert or
   13     Q. Okay. Is it accurate to say that the                 13   prescribing information, one or the other.
   14   statement, "Kadian has a long history of safety and       14     Q. A pharmaceutical manufacturer's marketing
   15   efficacy when used as indicated," comes directly          15   claims must be consistent with PI; isn't that right?
   16   from the FDA approval letter?                             16     A. Yes.
   17        MR. CHALOS: Object to the form.                      17     Q. In your report at Paragraph 89 --
   18     Q. And again, I was looking specifically at             18     A. Okay.
   19   Paragraph 4.                                              19     Q. -- you include a quote right after Footnote
   20     A. Yes, I see that.                                     20   166 that says: "This means marketers can be
   21        MR. CHALOS: Object to the form.                      21   selective in what they choose to talk about in a
   22     A. I see that.                                          22   sales encounter, but the information selected must
   23     Q. Is it accurate to say that that statement            23   be consistent with the P.I."
   24   comes from Paragraph 4 of the FDA approval letter?        24         Correct?
   25        MR. CHALOS: Object to the form.                      25     A. Yes.

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    1     A. Yes.                                                  1     Q. Going back to Note 275, you state that
    2     Q. I'm sorry. I couldn't hear your answer.               2   the --
    3     A. Yes.                                                  3         MR. CHALOS: Hold on.
    4     Q. Do you have any reason to dispute that the            4         MS. ZOLNER: Sure.
    5   language in the FDA approval letter is accurate?           5         MR. CHALOS: Okay.
    6         MR. CHALOS: Object to the form.                      6         MS. ZOLNER: Let me know when you're both
    7     A. I have no reason to dispute that.                     7     there.
    8     Q. Could you go back to your report now,                 8         MR. CHALOS: Oh, yeah. No, I'm sorry.
    9   please? Sorry to have you shuffle so many papers.          9         MS. ZOLNER: Okay.
   10     A. That's okay.                                         10         MR. CHALOS: It's more important that you're
   11     Q. I'm looking now at Footnote 275.                     11     there.
   12     A. Okay.                                                12         MS. ZOLNER: I'll wait for both of you.
   13     Q. You cite a document, ACTAVIS0567695 in               13     A. I'm there too, so --
   14   Note 275, right?                                          14     Q. Okay.
   15     A. Yes.                                                 15     A. Yeah.
   16     Q. And in that footnote you cite that document          16     Q. At Note 275 you state that the Kadian PI
   17   for the quote: "Opioid agonists are sought by drug        17   Workshop makes the following claim, and this is I
   18   abusers and people with addiction disorders and are       18   think the third sentence in -- well, it's more than
   19   subject to criminal diversion. These risks should         19   the third sentence in that paragraph but it starts:
   20   be considered when prescribing or dispensing Kadian       20   "Concerns about abuse, addiction, and diversion
   21   in situations where there is concern about increased      21   should not, however, prevent the proper management
   22   risk of misuse, abuse, or diversion. Concerns about       22   of pain."
   23   abuse, addiction, and diversion should not, however,      23         Did I read that correctly?
   24   prevent the proper management of pain."                   24     A. Yes.
   25         And that come from the Kadian PI Workshop           25         MS. ZOLNER: Can we mark the PI Workshop,

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    1     the Kadian PI Workshop? It's Tab 15.                     1     A. Section?
    2        (Perri Exhibit 28 was marked for                      2     Q. I'm actually looking at the page -- Section
    3   identification.)                                           3   5, Warnings and Precautions.
    4   BY MS. ZOLNER:                                             4         Right. So it's Page 6 if you are counting
    5     Q. I will turn your attention to Page 17 of the          5   manually, and I am -- it's the reference ID in the
    6   document that we just marked Exhibit 28, Page 17.          6   bottom -- I think, actually, all those numbers are
    7     A. Okay.                                                 7   the same, but I am -- Section 5, Warnings and
    8     Q. This is under the heading "Abuse Potential,"          8   Precautions, 5.1, Abuse Potential.
    9   and if you look at the third bullet, I think that's        9     A. I'm there.
   10   where we found the quote that we just found in your       10     Q. Okay. Could you read the last sentence in
   11   report in Paragraph 137, Note 275. Again the              11   the first paragraph under that subpoint? It
   12   language is identical: "Concerns about abuse,             12   starts --
   13   addiction, and diversion should not, however,             13     A. "Concerns about abuse, addiction, and
   14   prevent the proper management of pain."                   14   diversion should not, however, prevent the proper
   15     A. Okay.                                                15   management of pain."
   16     Q. That's the statement you cited, right, from          16     Q. Dr. Perri, would you agree that the sentence
   17   the PI Workshop document?                                 17   you just read is identical to the sentence in the
   18     A. Wrong page. Yes.                                     18   FDA-approved prescribing information?
   19     Q. And if you turn to the front of this                 19     A. Yes, I would agree with that.
   20   document, the Kadian PI Workshop is dated March           20         MR. CHALOS: Object to the form.
   21   2013. Do you see that?                                    21     Q. In your report on Page 93 you cite this
   22     A. I do.                                                22   statement again, quoting a document called the
   23     Q. Okay. Now I'm going to show you -- yes.              23   Kadian Stocking Offer, that's a document that is
   24   I'm going to show you a different document. This is       24   again under the chart on Page 93, an Actavis --
   25   Exhibit 29.                                               25   acquired Activis document marked 00369188. Just let

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    1     A. Should I be keeping all these documents open          1 me know when you are there.
    2   or --                                                      2    A. Okay. I'm there.
    3     Q. You can just put them in a pile. I don't              3    Q. That's the same sentence again, correct?
    4   think we'll come back to any.                              4    A. It is.
    5     A. Okay.                                                 5    Q. "Concerns about abuse, addiction, and
    6         (Perri Exhibit 29 was marked for                     6 diversion should not, however, prevent the proper
    7   identification.)                                           7 management of pain."
    8         MS. ZOLNER: We will come back to this one?           8       Is that sentence identical?
    9   BY MS. ZOLNER:                                             9    A. It is.
   10     Q. My colleague tells me you might want to put          10    Q. Your report cites several statements found
   11   this one to the side after we talk about it because       11 in the Kadian marketing and training materials that
   12   we might talk about it twice.                             12 come directly from the Kadian PI, right?
   13     A. Okay.                                                13    A. That's correct.
   14     Q. So this is Exhibit 29. Dr. Perri, if you             14    Q. Let's look at Page 101 of your report where
   15   will look in the bottom right-hand corner, do you         15 you cite a July 2010 document. That one has a Bates
   16   see the revised date of July 2012?                        16 number of ALLERGAN_MDL_00405512. Could you read me
   17     A. Yes.                                                 17 what you have in quotes by that document? And the
   18     Q. Do you agree that this was the Kadian PI             18 date of that document is July 30th, 2010 in your
   19   that was in effect in July of 2012?                       19 report.
   20         MR. CHALOS: Object to the form.                     20    A. "Proper assessment of the patient, proper
   21     A. That looks like what that -- it looks as to          21 prescribing practices, periodic reevaluation of
   22   be -- it looks like this is what that is, yes.            22 therapy and proper dispensing and storage are
   23     Q. Okay. Could you turn to Page 6 of this               23 appropriate measures that help limit the abuse of
   24   document, and I don't know that the pages are             24 opioid drugs."
   25   numbered.                                                 25    Q. Do recall what that -- do you recall what


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    1   document that language comes from?                        1   therapy, and proper dispensing and storage are
    2     A. I would have to see the document to make             2   appropriate measures that help to limit abuse of
    3   sure, but -- I mean, I don't remember the specific        3   opioid drugs."
    4   document.                                                 4     Q. Okay. And I told you you were going to need
    5     Q. Okay. I'll show it to you. Let's mark this           5   Exhibit 29 again. That was the one I said to keep
    6   Exhibit 30.                                               6   close at hand. If you look at page 15 of that
    7     A. Oh, yeah.                                            7   document, this is Section 9.2, it's titled "Abuse."
    8        (Perri Exhibit 30 was marked for                     8     A. Okay.
    9   identification.)                                          9     Q. Could you please read the second full
   10   BY MS. ZOLNER:                                           10   paragraph under 9.2?
   11     Q. This document is titled: Objection Handling         11     A. "Drug abuse is the intentional and
   12   Workshop, Training Class July 7th and 8th, 2010.         12   nontherapeutic use -- "
   13        Correct.                                            13     Q. Actually, I'm sorry, I don't want you to
   14     A. Yes.                                                14   read something that you don't need to read. That is
   15     Q. In going back to your report, you explain in        15   not the right section.
   16   Paragraph 135, Note 264 -- it's a footnote to            16        Next page. Sorry about that. This is the
   17   Paragraph 135, that: "Sales personnel were trained       17   second full paragraph at the top of the next page,
   18   on how to handle objections to multiple issues,          18   right before you get to Section 9.3, Dependence.
   19   including concerns over addiction. See, e.g.,            19     A. "Proper assessment of the patient, proper
   20   Kadian objection handler ACTAVIS0003698."                20   prescribing practices, periodic reevaluation of
   21        And I think my question is a simple one. Is         21   therapy, and proper dispensing and storage are
   22   the Objection Handling Workshop document that we         22   appropriate measures that help to reduce abuse of
   23   just marked Exhibit 30 the type of training              23   opioids."
   24   presentation that you're talking about in Paragraph      24     Q. Do you agree that the statement that you
   25   135?                                                     25   cited from the Objection Handling Workshop,
                                                      Page 594                                                      Page 596
    1        MR. CHALOS: Object to the form.                      1   Exhibit 30, comes directly from the Kadian
    2      A. Yes.                                                2   prescribing information that we marked as
    3      Q. Earlier in your report, on Paragraph --             3   Exhibit 29?
    4   under Paragraph 89 you have a Note 169 where you          4     A. Yes.
    5   explain that: "Handling objections and reducing           5         MR. CHALOS: Object to the form. I'm sorry.
    6   concerns prescribers may have about a medication is       6     I lost you. Where did you say he -- I'm back
    7   a staple of sales training and development."              7     on -- I may be a few questions behind. Where did
    8        Let me know when you are there. I'm sorry.           8     he cite that in his report?
    9   I thought you were already on Paragraph 89. I'm           9         MS. ZOLNER: Where did he cite what?
   10   looking specifically at Note 169.                        10         MR. CHALOS: That sentence you just had him
   11      A. Yes, I'm there.                                    11     read.
   12      Q. Looking again at Exhibit 30, I'm just asking       12         MS. ZOLNER: The sentence that I just read
   13   you to compare and contrast your report with what        13     was cited in his report in Paragraph 1 -- oh,
   14   I've marked as Exhibit 30, the Objection Handling        14     101.
   15   Workshop. If you turn to Page 8 of this document,        15         MR. CHALOS: Page 101?
   16   Exhibit 30, you see the statement you cited about        16         MR. CIULLO: Yes.
   17   proper assessment of the patient, right? And it's        17         MR. CHALOS: Okay. Sorry. I'm just
   18   the page that begins with -- says at the top:            18     having -- you're moving quickly through your
   19   "Objection 4. I'm concerned about the abuse              19     outline. I'm having trouble keeping up. Page
   20   potential of Kadian."                                    20     101.
   21      A. Right.                                             21   BY MS. ZOLNER:
   22      Q. Again, if you could just read that first           22     Q. Dr. Perri, again, not to be repetitive, but
   23   bullet.                                                  23   can you identify a single specific physician or
   24      A. "Proper assessment of the patient, proper          24   prescriber in Cuyahoga or Summit County to whom
   25   prescribing practices, periodic reevaluation of          25   Actavis communicated any of the statements in any

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    1   version of the Kadian learning system?                     1   Actavis, correct?
    2     A. I did not -- I did not undertake that                 2     A. Well, this kind of goes along with what I
    3   specific analysis, but I know from the testimony and       3   was saying yesterday, that -- when I was asked
    4   the documents in this case that the marketing plans        4   another question along these same lines, that, you
    5   and the marketing documents that I saw were                5   know, the fact that I can't link a specific
    6   distributed nationally and used even locally in            6   advertisement to a specific doctor doesn't mean that
    7   Ohio.                                                      7   the advertisements weren't present in the
    8     Q. Do you know that these documents that we've           8   marketplace, it doesn't mean the doctors didn't see
    9   been looking at today were distributed in Cuyahoga         9   them, it just means that I haven't the tools at my
   10   and Summit Counties?                                      10   disposal to make that connection.
   11     A. Specifically this document, I don't have             11     Q. And you haven't made that connection,
   12   any -- anything that points to its actual use there       12   correct?
   13   other than, as I said, the testimony that the             13     A. I make the connection by virtue of the fact
   14   marketing plans and the marketing materials were          14   that I know these materials were used in Ohio and I
   15   developed nationally and implemented in Ohio.             15   know that doctors in Ohio saw them.
   16     Q. I think you're referring to what you've              16     Q. My question is a different one.
   17   referred to all day as some of the aggregate data         17         Can you identify any of the doctors who saw
   18   that you were referring to, right?                        18   them?
   19         MR. CHALOS: Object to the form.                     19         MR. CHALOS: Object to the form.
   20     A. There is actually a citation in my report I          20     A. Yeah, I mean, I can give you the -- I can
   21   think from -- quoting testimony from defendants that      21   give you doctors' names but it would be a
   22   specifically relates to this issue. So I can look         22   presumption that they did or didn't see it in any
   23   for that and point you to that if you need me to.         23   individual case.
   24     Q. I think my question is much more simple. I           24     Q. Okay. You talk about KOLs in your report.
   25   just want to know if you can identify any physician       25     A. Yes.
                                                     Page 598                                                          Page 600
    1 or prescriber in Cuyahoga or Summit who Actavis or           1     Q. And KOLs are key opinion leaders, right?
    2 Allergan communicated with with respect to anything          2   The acronym KOL stands for key opinion leader?
    3 related to Kadian marketing?                                 3     A. That's right.
    4     A. I guess I'm confused because it sounds like           4     Q. In your report you talk about how KOLs are
    5   to me that your question is asking me that if I say        5   influencers, right?
    6   no, I can't, then the conclusion that you would draw       6     A. Yes. I -- that's not my terminology
    7   from that is that none of the materials that we're         7   necessarily. That's either industry or in some of
    8   looking at today were used in Ohio and specifically        8   the defendants' terminology.
    9   to these counties, and that's not accurate.                9     Q. Understood. So in Paragraph 67 of your
   10     Q. My question is a yes-or-no question. Can             10   report, you include a quote: "Peer-to-peer
   11   you identify a single physician or prescriber in          11   marketing uses key opinion leaders, or influencers,
   12   either Cuyahoga or Summit County to whom Actavis or       12   and word of mouth to create an expanding awareness
   13   Allergan communicated any of the marketing                13   and more rapid adoption of new pharmaceuticals by
   14   information we've looked at today?                        14   prescribers and other stakeholders."
   15         MR. CHALOS: Object to the form.                     15        Did I read that right?
   16     Q. And if you don't have any names, then --             16     A. Yes.
   17         MR. CHALOS: Well, object to the form.               17     Q. Would you agree that in the context of this
   18     A. I actually have a long list of physicians            18   case, a KOL is an influential doctor in the field of
   19   names in Cuyahoga and the other county that you           19   pain management?
   20   mentioned, they are from call notes from another one      20        MR. CHALOS: Object to the form.
   21   of the defendants, so I don't know that they would        21     A. KOL could be a pain management, it could be
   22   reflect any activities by your company, but they          22   addiction, it could be just -- in this case, it
   23   would reflect the names of physicians who were the        23   could have been a general practitioner. It could
   24   recipients of the marketing that occurred in Ohio.        24   have been a nurse, it could have been a lot of
   25     Q. But you can't link it back to Allergan or            25   different people.

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    1     Q. Does simply being a doctor make someone a             1     A. Yes, "Amounts Paid to Key Opinion Leaders."
    2   KOL?                                                       2     Q. Okay.
    3     A. No. The --                                            3     A. Let me finish my review here.
    4        MR. CHALOS: Hold on. Object to the form;              4     Q. Sure. You just let me know when you are
    5     incomplete hypothetical.                                 5   done with your review.
    6     A. So the requirements for KOL are completely            6     A. Yes, ma'am. I'm sorry. It's taking just a
    7   subjective and they are really up to the company           7   moment but these materials were originally in a
    8   hiring the KOL or employing that strategy. The KOL         8   spreadsheet that was a lot easier to click on tabs
    9   would be -- and I saw a lot of documents in the            9   than it is to look through them.
   10   record that were evaluations of people who were           10     Q. It's easier to search too, I'm sure.
   11   being considered as key opinion leaders, of               11     A. Yep. Okay. So other than those four I
   12   databases of people who were either past, present or      12   mentioned, I don't see anything else that I can
   13   being considered for the future key opinion leaders,      13   point to at this time.
   14   and those people would be evaluated. Some of them         14     Q. Okay. And you've just identified four
   15   were eliminated because they weren't meeting up to        15   names, right?
   16   certain criteria.                                         16     A. Yes.
   17        So the whole idea of key opinion leadership          17     Q. So let's take a step back. I know earlier
   18   is one that is subjective to the company and if the       18   today you mentioned that you read -- I think you
   19   company thinks that it's a person that's an               19   said portions of Doug Boothe's testimony in this
   20   influential prescriber or other type of                   20   case. Is that accurate?
   21   practitioner, then that's up to them to decide. The       21     A. Yes.
   22   point about what they are is that they are people         22        MS. ZOLNER: Do we have his testimony
   23   who influence the opinions of others, and in my           23     available?
   24   report I refer to it -- and it was not my word, it        24        MR. CIULLO: Uh-huh.
   25   was the word of one of the defendant's witnesses --       25        MS. ZOLNER: Can we mark that? Is that

                                                      Page 602                                                           Page 604
    1   that said key opinion leaders are used to infect           1     Exhibit 31? It's Page 363.
    2   other doctors with the ideas that they have.               2         (Perri Exhibit 31 was marked for
    3     Q. Do you have any opinion as you sit here               3   identification.)
    4   today as to whether Actavis worked with key opinion        4   BY MS. ZOLNER:
    5   leaders?                                                   5     Q. Dr. Perri, we are going to flip specifically
    6     A. I think the answer to that is that I do               6   to Page 363. Are you aware that Doug Boothe was the
    7   have -- I have seen evidence that Actavis did --           7   CEO of Allergan?
    8   well, Actavis I don't know specifically. Allergan          8     A. As I recall, his title was -- I can't recall
    9   or Actavis, because in my analysis I made a note to        9   his exact title.
   10   try and determine if each company did indeed work         10     Q. Okay. Well, I'll represent to you that he
   11   with key opinion leaders or have key opinion leaders      11   was the CEO. And if you could look at Page 363,
   12   in their sort of cadre of people that they went to,       12   starting at line 23, I'll read to you the question
   13   and I know that I have a schedule in my report that       13   and I'll eliminate the objections and then read the
   14   we can look at that's broken down by manufacturer.        14   answer. Line 23 of page 363 of Doug Boothe's
   15   So we can go to that if you need me to look for a         15   deposition.
   16   document that shows that.                                 16         Question: Were you aware of any KOL
   17     Q. Sure. I mean, do you know if Allergan or             17     development at either Alpharma or Actavis when
   18   Actavis worked with key opinion leaders? Is that          18     you were there?
   19   part of your opinion in this case?                        19         Answer: As I previously said, we at Actavis
   20     A. I will let you know.                                 20     did no KOL activity for Kadian or any of our
   21         So it appears that for Allergan I have four         21     generic approved products.
   22   entries: Dr. Chester Chorazy, David Sua, a person         22         Question: Were you aware of any KOL
   23   called Nutel and Stewart Lewis.                           23     development for any opioid products at Alpharma
   24     Q. Are you looking at -- Dr. Perri, are you             24     or Actavis?
   25   looking at Schedule 18 in your report?                    25         Let's just focus on the first part. Do you

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    1   see where he said: Actavis did no KOL activity for          1     A. Yes. It was not approved, right.
    2   Kadian or any of our generic approved products?             2     Q. Okay. So it was not approved by the FDA; is
    3     A. Yes.                                                   3   that accurate?
    4     Q. Do you have any basis to dispute that                  4     A. Not approved by the FDA and not marketed by
    5   testimony?                                                  5   the company, either one.
    6     A. No.                                                    6     Q. Okay. So that means no patient was ever
    7     Q. Now, you referred to Schedule 18 of your               7   prescribed MoxDuo?
    8   report.                                                     8         MR. CHALOS: Object to the form.
    9     A. Uh-huh.                                                9     A. I guess that's true, yes, unless somebody
   10     Q. Which is the section about amounts paid to            10   did something untoward.
   11   KOLs and you first mentioned Chester Chorazy, right?       11     Q. And your voice dropped. I think you said
   12     A. Yes.                                                  12   that MoxDuo was never marketed; is that accurate?
   13     Q. Who is Chester Chorazy?                               13         MR. CHALOS: Object to the form.
   14     A. I don't know.                                         14     A. That is my understanding, that MoxDuo didn't
   15     Q. How long has he been a KOL?                           15   ever launch.
   16     A. I don't know.                                         16     Q. Do you have any opinion as to whether
   17     Q. Who is he employed by?                                17   Actavis was involved in continuing medical education
   18     A. I don't know.                                         18   courses?
   19     Q. On what basis do you claim he was a KOL for           19     A. I don't recall.
   20   Allergan?                                                  20     Q. What about Allergan, do you have any opinion
   21     A. On the basis that he is on this list, but we          21   as to whether Allergan was involved in any
   22   can pull that document and answer those questions.         22   continuing medical education courses?
   23     Q. Do you know anything about Mr. Chorazy's              23     A. Again, I don't recall specifically Allergan.
   24   background as a KOL?                                       24     Q. Is there anything that you could use to
   25     A. No, I don't.                                          25   refresh your recollection on those?

                                                        Page 606                                                   Page 608
    1     Q. Do you know anything about his area of                 1     A. Well, if I looked -- if I pulled the Kadian
    2   expertise?                                                  2   marketing plans or other marketing plans, perhaps,
    3     A. As I said, his presence on this list tells             3   that would -- if they were going to do it, it would
    4   me there were amounts paid to him. That's what I            4   be, generally speaking, in the marketing plans, so
    5   know.                                                       5   we could look at that.
    6     Q. Okay. What about David Sua, Nutal, or                  6     Q. Yes. Okay. So that's going to be Exhibit
    7   Stewart Lewis, would the answer be the same for all         7   Number 32.
    8   of those individuals?                                       8        (Perri Exhibit 32 was marked for
    9     A. Same answer for all of those, yes.                     9   identification.)
   10     Q. In other words, you don't know who they are           10   BY MS ZOLNER:
   11   and you don't know how long they worked as a KOL?          11     Q. I'm going to show you another document,
   12     A. I don't recognize those specific names, yes.          12   Dr. Perri. This is ALLERGAN_MDL_01104711, for the
   13     Q. Do you have any opinion as to whether                 13   record. The document is titled "Healthcare
   14   Actavis worked with pain advocacy organizations to         14   Compliance Business Rules."
   15   promote opioids?                                           15     A. Okay.
   16     A. I don't think they did.                               16     Q. Have you seen this document before?
   17     Q. Do you have any opinion as to whether                 17     A. It does not look familiar to me, but I've
   18   Allergan worked with pain advocacy organizations to        18   looked at a lot of documents.
   19   promote opioids?                                           19     Q. You have looked at a lot of documents.
   20     A. Same answer.                                          20     A. I'm just beginning. Let me scan through it
   21     Q. I know this morning a drug called MoxDuo              21   and --
   22   came up, and I don't want to put words in your mouth       22     Q. Sure.
   23   but according to my notes, I think you mentioned           23        MR. CHALOS: Is this number 32?
   24   MoxDuo as an example of a drug that never made it to       24        MS. ZOLNER: It is.
   25   market, correct?                                           25     A. There are certainly things in here that look

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    1   familiar to me, but again, I can't say I've seen          1   weren't planning on doing it right now.
    2   this specific document.                                   2     Q. Right. But a couple of questions ago I
    3     Q. The title of this document is "Sales                 3   think that you testified that you don't have any
    4   Representative's Interactions with Healthcare             4   recollection of whether Allergan or Actavis was
    5   Professionals & Patients," correct?                       5   involved in any continuing medical education,
    6     A. Yes.                                                 6   correct?
    7     Q. And the effective date of this document is           7         MR. CHALOS: Object to the form.
    8   January 5th, 2010?                                        8     A. I think what I said was I didn't have a
    9         MR. CHALOS: Hold on. Object to the form.            9   specific -- a specific program that I could point to
   10     He just said he's never seen this document. If         10   that -- yes, so the answer is yes.
   11     you are just asking him to read it and say that's      11     Q. What about general?
   12     what it says, that's one thing, but I don't think      12         MR. CHALOS: Object to the form.
   13     you can ask him to affirm that that's true.            13     Q. Do you have any general knowledge of any
   14     Q. Does the document represent that it was             14   continued medical education that Allergan or Actavis
   15   effective as of January 5th, 2010?                       15   was involved with?
   16     A. Yes.                                                16         MR. CHALOS: Object to the form.
   17     Q. If you could look at Page 7, under                  17     A. As I sit here right now, I can't -- I can't
   18   Educational Grants -- this is Section 12.0.              18   have a -- I don't have an answer for that because I
   19     A. Yes.                                                19   just don't remember.
   20     Q. Do you see under Section 12.2 in bold it            20     Q. Okay. Do you have any opinion as to whether
   21   says: "At this time Actavis will not be offering         21   Actavis ever hosted speakers bureaus?
   22   any educational grants?"                                 22     A. Again, I need to look at the Actavis
   23     A. It does say that in this document, yes.             23   marketing or the marketing plans because --
   24     Q. Do you have any basis to dispute that               24     Q. Have you not looked at those plans?
   25   Actavis was not offering educational grants at this      25     A. No, I have. I've just -- I've looked at

                                                      Page 610                                                        Page 612
    1   time?                                                     1   hundreds and hundreds of marketing plans and I can't
    2         MR. CHALOS: Object to the form.                     2   tell you off the top of my head what's in every
    3     A. So, I -- yeah. I -- I mean, I'm not                  3   single one of them. So if you are going to ask me a
    4   disputing that they are not involved. I don't have        4   specific question about that, I need to look at the
    5   a specific recollection of them being involved in         5   marketing plans to see if they laid out plans and
    6   these programs, but I'm just uncomfortable drawing        6   then I would know which documents or what to look at
    7   conclusions from, you know, this cursory look at          7   to know if those were actually enacted.
    8   this document that I haven't really had a chance to       8     Q. Do you have any opinion as to whether
    9   review or a document that I am not exactly sure           9   Allergan ever hosted speakers bureaus?
   10   where it fits into the big picture of things that        10     A. Same answer.
   11   I've examined in this case. I know that this --          11     Q. Okay. You just -- you don't know as you sit
   12   what this appears to be is a document where              12   here right now?
   13   Allergan/Actavis was sort of setting out the rules       13     A. I would need to look the marketing plans to
   14   of the road for a sales force that they were going       14   refresh my memory about what they did or didn't do
   15   to employ.                                               15   specifically in each category for all of the
   16     Q. Right.                                              16   categories of marketing that I put in my report.
   17     A. So it -- it looks like it's consistent with         17     Q. You understand that Allergan is one of seven
   18   what I would expect to see and it definitely says at     18   manufacturing defendants that has been sued in this
   19   this time Actavis will not be offering any               19   MDL, correct?
   20   educational grants. What I would point out is that       20         MR. CHALOS: Object to the form.
   21   offering of educational grants is typically              21     A. The list is longer than seven but I
   22   something you find in the marketing plans for            22   understand that that's what we're talking about here
   23   branded products. So the fact that they are saying       23   today.
   24   they're not going to do it at this time doesn't tell     24     Q. In preparation for your deposition today did
   25   me that they never did it. It just says they             25   you do anything to try to determine which

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    1   manufacturers were involved in what specific                  1     We've been going a little over an hour.
    2   marketing activity for purposes of preparation for            2     Q. Do you want to take a break?
    3   your deposition today?                                        3     A. Yes.
    4         MR. CHALOS: Object to the form.                         4     Q. Okay.
    5     A. I did a lot of review and a lot of                       5     A. Yeah.
    6   preparation for this deposition but, unfortunately,           6         MS. ZOLNER: Let's go off the record.
    7   I don't -- I don't have a perfect memory and can't            7         THE VIDEOGRAPHER: We are now going off the
    8   recall every single thing that I've seen.                     8     video record. The time is currently 3:36 p.m.
    9     Q. I understand that, but I think you testified             9     This is the end of Media Number 5.
   10   earlier that you spent over 700 hours on this case           10        (Recess from 3:36 p.m. until 3:49 p.m.)
   11   and you've been paid somewhere around $210,000, and          11          (Mr. Chalos is no longer present.)
   12   I am sure you spent a lot of time preparing for your         12         THE VIDEOGRAPHER: We are now back on the
   13   deposition today, and one of the key areas of                13     video record with the beginning of Media
   14   expertise you are providing expert opinion on is             14     Number 6. The time is currently 3:49 p.m.
   15   peer-to-peer marketing, and I'm asking you questions         15   BY MS. ZOLNER:
   16   about that.                                                  16     Q. Dr. Perri, do you have any opinion as to
   17         And so what I'm trying to figure out is if             17   whether Actavis ever worked with medical science
   18   you have any understanding of whether Actavis or             18   liaisons?
   19   Allergan ever hosted speakers bureaus?                       19     A. I don't recall specifically in the materials
   20         MR. CHALOS: Object to the form;                        20   that I reviewed reading about MSLs at Actavis, but
   21     argumentative. It's a long admonishment                    21   the -- I might not have seen that in the marketing
   22     preceding a question that he's already answered.           22   documents because MSLs are separate from marketing.
   23         MS. ZOLNER: To be clear, I am not trying to            23   I might have seen it as a result of overlap, but I
   24     admonish the witness at all. I'm just trying to            24   don't recall specific to your -- to your defendant.
   25     make sure I understand his answer.                         25     Q. What about anything general that relates to

                                                          Page 614                                                       Page 616
    1         MR. CHALOS: Okay. Then don't admonish him.              1   Actavis?
    2         MS. ZOLNER: Agree to disagree on whether it             2     A. I only saw a couple of documents that
    3     was an admonishment. I think we're having a very            3   related to MSLs. There is one place in my report
    4     pleasant exchange.                                          4   that I recited -- I cited MSLs with respect to
    5         MR. CHALOS: Object to the form.                         5   gathering of information at a -- like an American
    6     A. So a couple of things: Number one, I didn't              6   Pain Society meeting, and I'm trying to remember
    7   testify that I have been paid $210,000. I gave that           7   what the section of the report was, but I -- as I
    8   as an estimate and I said if I get paid everything            8   sit here, I would have to look to see which
    9   that I billed.                                                9   defendant that was.
   10     Q. Understood.                                             10     Q. But you don't recall specifically that it
   11     A. That's number one.                                      11   would have been Actavis; is that right?
   12     Q. I know how that works.                                  12     A. I don't think it was Actavis, but again, I
   13     A. Number two, in my preparation I've looked --            13   wish I could type in MSL and go right to that
   14   I can tell you all kinds of things about Jennifer            14   section in my report and give you an exact answer to
   15   Altier and the marketing plans for Kadian, I just            15   that question, because it is possible, I just need
   16   can't remember as I sit here right now whether               16   to look, so --
   17   continuing medical education or advisory boards were         17     Q. What about Allergan, do you have any opinion
   18   part of all that. I do recall this, and I will give          18   as to whether Allergan ever worked with medical
   19   you this information, that from her testimony, she           19   science liaisons?
   20   said that the marketing was basically like a                 20     A. Same answer for Allergan.
   21   glorified package insert, so my thinking is maybe            21     Q. Do you have any general opinions as to
   22   I'm not remembering because it didn't happen, but            22   whether Allergan --
   23   until I see the documents, I can't tell you for sure         23     A. Did you or didn't you want me to get an
   24   one way or the other.                                        24   answer to that for you? Because I was looking --
   25         MR. CHALOS: Why don't we take a break?                 25     Q. Oh, I'm sorry. I didn't realize you were

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    1   looking.                                                  1         (Perri Exhibit 33 was marked for
    2     A. Yeah.                                                2   identification.)
    3     Q. Dr. Perri, are you looking for where you             3         THE WITNESS: Good idea. Thank you.
    4   talk about MSLs in your report?                           4         MS. BAISCH: Do you have another one of
    5     A. Yes.                                                 5     those?
    6     Q. Do you want me to give you some help?                6         MR. CIULLO: I do.
    7     A. It's up to you.                                      7   BY MS. ZOLNER:
    8     Q. You might be looking at Paragraph 60.                8     Q. This document is dated June 27, 2012.
    9     A. I'm at 69 going in that direction, so I was          9     A. Yes.
   10   in the right place.                                      10     Q. And if you go down to the first e-mail, the
   11     Q. Okay. It's been a long day, so -- ease of           11   initial e-mail in this chain, it's from Terrence
   12   reference.                                               12   Fullem. Do you see where I am?
   13     A. Yeah. So it was Allergan that is the                13     A. Yes.
   14   example that I cited in my report.                       14     Q. It says: "All, as you know, we have had to
   15     Q. Are you referring to the line of your               15   let the MSLs and NAMs go due to the CRL on Moxduo."
   16   report: Allergan -- for example, Allergan MSLs           16         First of all, what is a NAM?
   17   collected marketing intelligence at an American Pain     17     A. National account manager.
   18   Society meeting focused on the potential dangers of      18     Q. Okay. Do you have any understanding of what
   19   opioid use; is that right?                               19   this sentence means?
   20     A. Yes.                                                20         MS. BAISCH: Object to form.
   21     Q. What Allergan MSLs are you speaking of here?        21     A. So my purpose of citing this MSL example
   22     A. Whichever ones the deponent was speaking            22   here was to simply show the utility of these kind of
   23   about in that deposition testimony. I don't think I      23   personnel within the marketing organization and to
   24   have names.                                              24   demonstrate the role that they could play. Whether
   25     Q. You don't have any names. Do you know what          25   they were fired later on or let go because of the

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    1   MSLs were collecting the market intelligence at an        1   status of the product they might have been working
    2   American Pain Society meeting?                            2   on, Moxduo not being launched, is really not
    3     A. So I remember this document pretty well but          3   relevant to my analysis. What is relevant is this
    4   I don't remember the specifics of who, but I know         4   is how MSLs can interact within the marketing
    5   there were -- there were sections for -- of input         5   organization within a company, that's all.
    6   from MSLs providing what I refer to as market             6      Q. Understood. And I'm just trying to
    7   intelligence on the landscape of the pain -- on the       7   understand exactly to what extent Actavis or
    8   opioid market.                                            8   Allergan used MSLs, and that's why I'm asking these
    9     Q. Do you know how many MSLs were at that               9   questions, just to get a sense of magnitude or lack
   10   meeting?                                                 10   of magnitude.
   11     A. Without -- and I think -- I think I cite            11      A. Okay.
   12   that document in Number 88, so I'm sure if it's          12      Q. The NAM that's referenced here, you've
   13   important for you to know how many were there, we        13   defined that. What about the CRL, what does that
   14   can pull that document and look at it.                   14   acronym stand for?
   15     Q. In your report it says: For example,                15      A. That, I don't know. I've seen a lot of
   16   Allergan MSLs collected marketing intelligence at an     16   acronyms that --
   17   American Pain Society meeting focused on the             17      Q. I think it might be a misprint and I think
   18   potential dangers of opioid use.                         18   it might be CLR -- or CRL, complete response letter?
   19         It's singular in this report. Is that              19      A. It could be that. When I first saw it I
   20   accurate?                                                20   thought clinical research liaisons, but that doesn't
   21     A. That it was one meeting? An example, this           21   make any sense in the context of the sentence, so --
   22   is a singular example, yes.                              22      Q. But this seems to indicate that in this
   23     Q. Okay. Let's look at Exhibit 33.                     23   particular instance that you've cited in your
   24         MS. ZOLNER: Thank you. This is a document          24   report, that the MSLs were released after the FDA
   25     that's Bates numbered Allergan_MDL_00194340.           25   rejected the Moxduo product, right?

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    1        MS. BAISCH: Object to form.                            1   connection with any other drug besides Moxduo?
    2     A. I don't think I cited that in my report. I             2     A. Again, you're making the connection that
    3   think that's evidenced here in this e-mail.                 3   this was completely related to Moxduo and I don't
    4     Q. Would you agree that this suggests that                4   draw that conclusion in my report.
    5   Actavis was working with MSLs for purposes of going         5     Q. Can you give me other examples of Allergan
    6   to market with Moxduo?                                      6   working -- Allergan or Actavis working with MSLs,
    7        MS. BAISCH: Object to form.                            7   other than the document that we're looking at here
    8     A. So given my recollection, even though we               8   and the document you cite?
    9   don't have the document here in front of us, of the         9     A. Okay. So let me finish what I was saying.
   10   document that's cited in Reference 88, the e-mail          10     Q. Sure. I didn't mean to interrupt you.
   11   and slide presentation, that lists a lot of the            11     A. So the connection that you're making is
   12   factual things that the MSLs actually provided in          12   that -- and it may be true, I don't know the answer
   13   terms of market intelligence, and given this               13   to this question, but you're drawing the conclusion
   14   document, it seems like that the MSLs were used            14   that the MSLs in this example were working for
   15   prior to the launch of Moxduo, and at least this           15   Moxduo. It's possible that's true. It's possible
   16   document says that the MSLs were let go because of         16   that it's not true. I don't -- I don't know the
   17   the fact that Moxduo didn't launch.                        17   answer to that question based on what I have here in
   18     Q. Are you speculating right now?                        18   front of me.
   19     A. I mean, I thought I was agreeing with you,            19         What I do know is from a marketing
   20   actually, but do you have a specific question?             20   perspective, and this is my analysis in the case,
   21   Because maybe I --                                         21   what I was concerned about, what I was focused on
   22     Q. Let me try to unpack this in a different              22   was did Allergan -- did any of the defendants
   23   way. We talked earlier about the fact that Moxduo          23   utilize MSLs in any way related to their marketing
   24   was a drug that never went to market, correct?             24   organization, because in my experience, MSLs are a
   25     A. Correct.                                              25   valuable resource when it comes to providing
                                                       Page 622                                                         Page 624
    1      Q. And this document that we have marked                 1   information to the marketing department. And while
    2   Exhibit Number 31 --                                        2   they aren't in the sales force, they're a very
    3      A. 33.                                                   3   valued part of the company and play a vital role.
    4      Q. -- 33, thank you, Dr. Perri, suggests that            4   So I was simply using this as an example to show how
    5   MSLs were being used for purposes of Moxduo and a           5   the MSLs could collect information.
    6   potential launch of that drug, right?                       6         These other issues about Moxduo and whether
    7      A. Actually, I don't really read it that way,            7   they were working for Moxduo or for something else
    8   it's that because Moxduo wasn't launching, they had         8   weren't on my radar screen.
    9   to let them go. I mean, it could be financial, it           9     Q. Got it. Okay. Will you opine in this case
   10   could be that they just couldn't afford it anymore.        10   that any particular opioid medication is more
   11      Q. Fair enough.                                         11   dangerous than another?
   12      A. So I don't try to draw conclusions about             12     A. I don't carry a specific opinion about the
   13   that.                                                      13   drugs in this case per se, so no.
   14      Q. Fair enough. Well, let me ask you a simpler          14     Q. What about general?
   15   question. Do you have any basis to believe that            15     A. Just that opioids are dangerous drugs,
   16   Actavis worked with MSLs in connection with any            16   that's all.
   17   other drug besides Moxduo?                                 17     Q. But again, you're not going to be opining on
   18      A. Well, I can tell you for sure that any               18   any particular opioid medication being more
   19   information they gained on the opioid marketplace as       19   dangerous than another?
   20   a result of their attending of the American Pain           20     A. No, I don't think so, no.
   21   Society meeting that I cite in Reference 88 would          21     Q. Will you opine that marketing for one type
   22   have benefited the companies marketing organization        22   of opioid product is more problematic than others?
   23   for any product they were bringing to market.              23     A. No, and I'll just -- I will reiterate that
   24      Q. That wasn't my question. Do you have any             24   my analysis was based on the collective marketing
   25   basis to believe that Actavis worked with MSLs in          25   and the marketing is intertwined and you can't

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    1   single out one drug's marketing from the rest             1   Bierut. I'm here on behalf of Ropes & Gray
    2   without losing the richness of the context of the         2   representing Mallinckrodt. I just want to ask you a
    3   marketing of opioids.                                     3   few quick questions that pertain to my client.
    4      Q. You're looking at marketing in an aggregate         4        I know that you've been asked this multiple
    5   form, you're not looking at the sum of the parts?         5   times today and yesterday, but am I correct that you
    6      A. I looked at the parts to form the aggregate         6   are not offering any Mallinckrodt-specific opinions
    7   opinion.                                                  7   in your report?
    8      Q. Is it your testimony that you looked at all         8     A. Yes, that's correct.
    9   of the parts?                                             9     Q. And if you are called to testify at trial,
   10      A. I looked at as many parts as I could locate        10   you will not be offering any Mallinckrodt-specific
   11   and had time to analyze, yes.                            11   opinions, right?
   12      Q. But again, you're not offering any opinions        12     A. Yes, that's correct.
   13   about any of the specifics about any of the              13     Q. If you turn to your report at Page 75, you
   14   defendants in this case, meaning that when we first      14   have a heading "Marketing Information Bias Toward
   15   started talking earlier today I asked if you were        15   Benefits, Not Harms."
   16   offering any specific opinions about Allergan and        16        Did I read that correctly?
   17   Actavis and you said no.                                 17     A. Yes, you did.
   18      A. That's right.                                      18     Q. And then at Page 77, Paragraph 128, your
   19      Q. And I think that would be the case for all         19   report states: "Mr. Webb..."
   20   of the defendants that are involved in this              20        Do you see that?
   21   litigation, correct?                                     21     A. I do.
   22      A. It is, but I'm sure that everyone will still       22     Q. "Mr. Webb, testifying for Mallinckrodt, was
   23   ask me that question.                                    23   asked about risk information related to addiction in
   24      Q. You're right.                                      24   marketing materials. He stated, '-- refresh my
   25      A. But just to be 100 percent clear, I don't          25   memory on what we consider the fair balance in the

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    1 have any opinions about any drugs or any particular         1   important patient risk information that we put on
    2 single actions. My opinions are the summation of            2   our material. But I know that we share with the
    3 what I've reviewed all taken together. So while the         3   physician, anytime opioids were being discussed in
    4 marketing behaviors were examined individually, in          4   our promotional material, that there is a risk of
    5 other words, I did look at the Kadian marketing plan        5   addiction. The degree of that, I can't speak to.'"
    6 by itself, regardless of whether Kadian was a               6     A. Right.
    7 product of your company or some other company, I            7     Q. Did I read that correctly?
    8 looked at the Kadian marketing plan, and then beyond        8     A. You did.
    9 that, I looked at the companies to the best degree          9     Q. This testimony does not say that
   10 that I could, and then took all of those companies         10   Mallinckrodt downplays the risks of its products,
   11 together to form my aggregate opinion.                     11   correct?
   12       MS. ZOLNER: Thank you, Dr. Perri. I                  12     A. I don't have that whole testimony in front
   13    appreciate your time.                                   13   of me but, no, it was just he wasn't able to say --
   14       THE WITNESS: Thank you.                              14   the reason that's included here is because he wasn't
   15       MS. ZOLNER: I don't have any further                 15   able to say to any degree of how much they -- how
   16    questions at this point.                                16   much time they actually focused on that. That's
   17       THE WITNESS: Thanks.                                 17   all.
   18       THE VIDEOGRAPHER: We are now going off the           18     Q. Okay. And earlier today in response to
   19    video record. The time is currently 4:02 p.m.           19   questioning by Mr. Carter you listed the transcripts
   20      (Recess from 4:02 p.m. until 4:05 p.m.)               20   you read in full, correct, deposition transcripts
   21       THE VIDEOGRAPHER: We are now back on the             21   that you read in full?
   22    video record. The time is currently 4:05 p.m.           22     A. Yes. Yes.
   23             CROSS-EXAMINATION                              23     Q. And Mr. Webb's 30(b)(6) deposition was not
   24   BY MS. BIERUT:                                           24   one of the ones you read in full?
   25    Q. Hello, Dr. Perri. My name is Elizabeth               25     A. I don't believe that it was. That was, you

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    1   know, based upon a memory of what I was looking             1 opioid-tolerant patients only?
    2   through, that list of depositions. I know that              2    A. Yes. I mean, it's once daily dose sort of
    3   there were several sections of his that I recall,           3 dictates that that would be the case, yes.
    4   but I can't say for sure, so I didn't include him on        4     Q. Okay.
    5   the list.                                                   5     A. Good.
    6      Q. Okay. And how about Mr. Webb's fact                   6     Q. Moving toward Page 82 of your report, you
    7   deposition, did you read that as well?                      7   state that: "One of the barriers to opioid
    8      A. See, and that's the part that makes me                8   prescribing has been the potential for and fear of
    9   wonder if I read his 30(b)(6), because it is ringing        9   addiction. Numerous marketing messages used by
   10   a bell, but again, I can't promise -- he asked me if       10   Defendants communicated information that supported a
   11   I read each and every word of those depositions, and       11   change in the paradigm regarding the link between
   12   as I recall with Mr. Webb, I read part of his              12   addiction and opioids."
   13   depositions and other parts I skipped over.                13         Do you see that?
   14      Q. How did you identify which parts to read?            14     A. I do.
   15      A. Well, for example, the parts on people's             15     Q. Okay. And one of your examples is on the
   16   background and education, if they had been deposed         16   next page, Page 83: "Mallinckrodt's communication
   17   before, I would skip through a lot of that.                17   of the message that MNK-795 (oxycodone/APAP extended
   18      Q. Okay. Let's turn to your report at                   18   release), 'provides fast-acting and long-lasting
   19   Page 135, and at "Theme Three: Opioid should be            19   relief without concerns about abuse.'"
   20   first-line therapy for pain."                              20         Do you see that?
   21      A. Yes.                                                 21     A. I do.
   22      Q. Did I read that correctly?                           22     Q. And then in Footnote 266 --
   23      A. Uh-huh.                                              23     A. Yes.
   24      Q. Okay. And then on Page 136, Note 311, one            24     Q. -- you state that: "This is a compound that
   25   of the documents you cite here is "Exalgo Account          25   would come to market as Xartemis."

                                                        Page 630                                                    Page 632
    1   Executive Customer Presentation," correct?                  1        Correct?
    2     A. Yes.                                                   2     A. Yes.
    3     Q. And it's Bates number MNK-T1_0002321267?               3     Q. So are you aware that Xartemis launched in
    4     A. Yes.                                                   4   March 2014?
    5     Q. Did you read this entire document before you           5     A. About then, yes.
    6   cited it?                                                   6     Q. Okay. And then -- we're making good time.
    7     A. I'm sure I did. I'd need to look at the                7        Direct you to look at your report on
    8   document to see what is contained in it so I know           8   Page 14.
    9   for sure.                                                   9     A. Page 14?
   10     Q. Yeah. And are you aware that Exalgo is                10     Q. Uh-huh. The last bullet on that page -- I'm
   11   indicated for a risk-tolerant -- I'm sorry, for            11   sorry.
   12   opioid-tolerant patients only?                             12     A. Yes.
   13     A. Yes.                                                  13     Q. Okay. The last bullet on that page is:
   14     Q. Okay.                                                 14   "Pharmaceutical marketers take advantage of the
   15     A. Yeah.                                                 15   medical community's reliance on scientific evidence
   16     Q. Let's go to Page 82.                                  16   by not only providing science-based messages
   17     A. Give me just one second, please.                      17   directly through their marketing, but also through
   18        So just in terms of that, this document is            18   funding and sponsoring clinical research, clinical
   19   cited with respect to breakthrough paper, so I'm           19   practice guidelines, and continuing medical
   20   pretty sure that's why it's in this reference. So          20   education."
   21   I'm not sure exactly about your question, but we are       21        Do you see that?
   22   within a section but within that section there are         22     A. I do.
   23   different topics being discussed.                          23     Q. And on page 86 is your marketing messages
   24     Q. Okay. But you do know that Exalgo is                  24   table?
   25   indicated for breakthrough pain -- I'm sorry, for          25     A. Yes.

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    1     Q. The first entry there is a presentation at a        1   offering any Par-specific opinions in your report?
    2   2015 American Academy of Pain Medicine Annual            2      A. That would be correct.
    3   Meeting with a Mallinckrodt-sponsored study; is that     3      Q. And to put a finer point on that question,
    4   right?                                                   4   specifically, you're not offering any opinion in
    5     A. Yes.                                                5   this case that any of Endo's marketing statements
    6     Q. And you cite in the Bates column a link to          6   were false or misleading?
    7   the abstract?                                            7      A. I was relying on other experts to make that
    8     A. Yes.                                                8   judgment, if they made it.
    9     Q. So was it clear to you from this citation           9      Q. And you've stated in your report that the
   10   that the study was sponsored by Mallinckrodt?           10   assumption, relying on other experts, is consistent
   11     A. Do you happen to have a copy of the abstract       11   with FDA documents, in particular warning letters,
   12   there or --                                             12   regarding the false and misleading nature of
   13     Q. Not on me.                                         13   defendants' marketing; is that correct?
   14     A. As I recall, and again, lots of documents          14      A. For some products, yes.
   15   here, that it was linked to a support by                15      Q. Okay. To your knowledge did Endo receive
   16   Mallinckrodt.                                           16   any warning letters for any of its Opana promotional
   17     Q. Okay. And did you read the study itself?           17   materials?
   18     A. I know I read the abstract at least, yes.          18      A. I can't recall, and I know that there is a
   19     Q. So you have no opinions on the scope of the        19   citation that lists all the drugs here in the
   20   study?                                                  20   report, and there are about 11 or 12 that are named.
   21     A. Just what I would glean from the abstract,         21   I just, as I sit here, I can't recall if Opana is
   22   which is basically included in this paragraph.          22   one of them.
   23     Q. And no opinion on the methodology of the           23      Q. And if the citations in your report don't
   24   study?                                                  24   include any FDA warning or other letters regarding
   25     A. No, I don't have an opinion on the                 25   Endo's Opana labeling, is it fair to say that you're

                                                   Page 634                                                          Page 636
    1 methodology as we sit here.                                1   not aware of any?
    2     Q. And no opinion on whether the conclusion was        2     A. I'm not aware of any in addition to this,
    3   sound from a clinical perspective?                       3   that's right.
    4     A. No.                                                 4     Q. Okay. And we've talked a little bit or a
    5         MS. BIERUT: That's it for me. Thank you.           5   lot today about Table II in your report. I noticed
    6         THE VIDEOGRAPHER: We are now going off the         6   that Table II in your report doesn't include any
    7     video record. The time is now currently                7   Endo marketing statements regarding Percocet. Does
    8     4:13 p.m.                                              8   that sound right?
    9       (Recess from 4:13 p.m. until 4:16?p.m.)              9     A. That's probably correct, yes.
   10         THE VIDEOGRAPHER: We are now back on the          10     Q. Does any part of your opinion concern Endo's
   11     video record. The time is currently 4:16 p.m.         11   marketing of Percocet?
   12               CROSS-EXAMINATION                           12     A. That is a more difficult question to answer
   13   BY MR. HENNESSY:                                        13   because the opinion apply -- my opinion applies to
   14     Q. Good afternoon, Dr. Perri. My name is Sean         14   all opioids being marketed, because it's my -- it's
   15   Hennessy and I'm with the law firm Arnold & Porter      15   my contention that the marketing by any -- the
   16   and I'm here today on behalf of the Endo and Par        16   marketing of any opioid is impacting the marketing
   17   Pharmaceutical defendants. I understand that I'm        17   of all opioids by virtue of the impact that it has
   18   the last person that stands between you and the         18   on the marketplace, the education of physicians and
   19   door, so I will do my best to be appropriately          19   other prescribers, the other stakeholders, the
   20   focused with my questions.                              20   supply chain, so it's all interrelated.
   21     A. Thank you.                                         21     Q. Is it fair to say that you haven't
   22     Q. Am I correct that you are not offering any         22   identified any specific messages relating to
   23   Endo-specific opinions in your report?                  23   Percocet that Endo used?
   24     A. Yes, you are.                                      24     A. I'm sure that's true. There may be -- there
   25     Q. Okay. And I'm also correct that you're not         25   may be messages in the more complete listing of

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    1   search -- the search results for marketing messages          1     A. I don't recall Endo's sales call notes.
    2   that I requested contains a lot of documents that I          2     Q. And so fair that you didn't identify any
    3   didn't cite in Table II, so there may be some in             3   Endo sales call notes indicating that any doctor
    4   there related to Percocet, but as I recall, I have           4   changed his or her prescribing decision in any way
    5   not seen specific marketing documents related to             5   as a result of Endo's marketing?
    6   Percocet other than perhaps a marketing plan, an old         6         MS. BAISCH: Object to form.
    7   marketing plan or something like that.                       7     A. I think my answer to your previous question
    8     Q. Am I correct that you have not attempted to             8   would require me to answer that question the same
    9   measure the extent to which Endo's marketing                 9   way, is that I don't -- I didn't do that analysis to
   10   influenced opioid prescribing decisions?                    10   assign a doctor's behavior to a particular cause on
   11     A. Yes. So my opinion is that opioid marketing            11   the marketing side.
   12   influenced prescribing decisions, but I did not             12     Q. Can you say to a reasonable degree of
   13   undertake any analysis to assign blame or                   13   scientific certainty that the opioid crisis would
   14   percentages to any one drug or any one manufacturer.        14   look any different in Cuyahoga or Summit Counties if
   15     Q. Okay. Are you offering any opinion as to               15   Endo did not market and sell opioids?
   16   which doctors in Summit or Cuyahoga Counties                16     A. You know, that's -- again, that's not
   17   prescribed opioids because they were influenced by          17   something that I examined, but if you -- if you look
   18   Endo's marketing?                                           18   at my opinions and my Opinion 7 is that the opioid
   19     A. I think my opinion is, is that all doctors             19   marketing expanded the opioid market. If you were
   20   in Summit and Cuyahoga Counties were influenced by          20   to take -- in a hypothetical situation, if you were
   21   opioid marketing, but I cannot draw a link between a        21   to take one manufacturer out, that would have left
   22   particular ad and a particular doctor and say that          22   some kind of a void, would somebody else have filled
   23   this ad caused that doctor to do some other                 23   that void? I just don't know the answer to that
   24   behavior. I've been asked that question a lot of            24   question, so I think the answer is I don't know.
   25   times today and I guess I am struggling with some           25     Q. Okay. Do you have Exhibit 1 in front of

                                                       Page 638                                                         Page 640
    1   way to answer it better, because I don't seem to be          1   you, your report?
    2   getting my point across very well with it, but at            2     A. I do, yes, sir.
    3   the end of the day, from a marketing perspective,            3     Q. My understanding is that you identified
    4   opioid marketing impacted doctors' prescribing. We           4   three marketing themes that you allege were used by
    5   see that in the results the companies obtained               5   the defendants in this case, and one of those
    6   themselves in their marketing metrics and other              6   themes, which I believe is cited on Page 82 of your
    7   documents.                                                   7   report, is that -- I'm quoting it. I should quote
    8         So to say that there is no link between                8   from the document.
    9   them, I can't do that, but again, I haven't                  9         Is that: "Dependence, tolerance, addiction
   10   quantitated it and I can't point to a specific              10   and withdrawal should not be a concern in
   11   doctor.                                                     11   prescribing opioids."
   12      Q. And you can't point to a specific                     12         Is that correct?
   13   manufacturer related to a doctor either; is that            13     A. That is one of the themes that I settled on,
   14   correct?                                                    14   yes.
   15      A. That's right. My analysis was in the                  15     Q. Okay. And I believe you testified that you
   16   aggregate, so I wouldn't point -- I wouldn't point          16   reviewed the FDA-approved prescribing information
   17   to any one manufacturer.                                    17   for the defendants in this lawsuit; is that correct?
   18      Q. Okay. Yesterday, if my memory serves me               18     A. Yes. I said that I made an effort to find
   19   correctly, I believe you testified that you reviewed        19   the package inserts for the various products
   20   defendants' sales calls notes; is that correct?             20   involved in this litigation over time, and while I
   21      A. Yes, but I think the sales calls notes were           21   can't -- I don't have a table that says I saw one
   22   primarily from just a couple manufacturers. I think         22   from each year, I think I've seen the vast majority
   23   it was primarily Purdue.                                    23   of the PIs that were available.
   24      Q. Do you remember if you reviewed Endo's sales          24     Q. Do you recall whether you reviewed Endo's --
   25   call notes?                                                 25   any of Endo's FDA-approved PIs for Opana ER?

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    1     A. I'm sure I did, yeah.                                   1   constantly being exposed to, and the other is, is
    2     Q. Are you aware that Endo's FDA-approved Opana            2   that it -- the information in the PI is expected to
    3   ER PI warned about the risks of dependence,                  3   be communicated in marketing. That's why so many
    4   tolerance and addiction?                                     4   times it's shown up in Table II. The question is
    5     A. Yes, I am.                                              5   what does all that marketing do, and that's what
    6     Q. And are you aware that among other places,              6   I've tried to analyze in my report.
    7   those risks were warned about in the black box               7     Q. I believe that you also testified that
    8   warning section of Endo's Opana ER PI?                       8   you've reviewed sales training materials as part of
    9     A. Yes.                                                    9   your analysis; is that correct?
   10     Q. You got a question earlier today about the             10     A. I have reviewed some sales training
   11   meaning or the significance of a black box warning,         11   materials, yes.
   12   and is it fair to say that a black box warning is a         12     Q. Did you review Endo's sales training
   13   concise and prominent way to warn about the serious         13   materials?
   14   risks associated with a prescription opioid product?        14     A. I would have to look to see specifically
   15     A. Precise I would agree with you. Prominent              15   what from Endo I might have seen. The sections in
   16   with respect to the PI itself, but in terms of the          16   my report that deal with objection handlers and
   17   overall marketing, no, I wouldn't agree with that,          17   those types of sales training materials would be
   18   so --                                                       18   where I would go to look.
   19     Q. But as to the PI, would you agree with that            19     Q. If it's helpful, there are a couple of sales
   20   statement, that the black box warning is a concise,         20   training materials for Endo that you cite in
   21   prominent warning containing the serious risks              21   Table II.
   22   associated with an opioid product?                          22     A. Okay.
   23     A. And if you add to that within the PI --                23     Q. So that would suggest that you, as part of
   24     Q. Within the PI?                                         24   your analysis, you reviewed Endo sales training
   25     A. Yes.                                                   25   materials?

                                                         Page 642                                                       Page 644
    1      Q. In your review did you identify any                    1     A. At least -- at least those documents, yes,
    2   FDA-approved PIs for Opana ER that did not warn              2   and my expect -- if they are cited in Table II, my
    3   about the risks of dependence, tolerance and                 3   expectation is they are probably cited elsewhere
    4   addiction?                                                   4   too.
    5      A. No, I did not.                                         5     Q. Are you aware that Endo trained its sales
    6      Q. I believe you've acknowledged in your                  6   representatives on the promotional messages that
    7   report, and in your testimony as well, that                  7   were approved for use with healthcare providers?
    8   pharmaceutical manufacturing materials -- excuse me.         8     A. The -- I think I answered that just a moment
    9   Strike that.                                                 9   ago when I said that the PI sets out the boundaries
   10         I believe that you've acknowledged in your            10   and that the messages contained in the PI are the
   11   report and in your testimony that pharmaceutical            11   ones that I would expect to see in the sales
   12   manufacturers' marketing materials must be                  12   training materials, so I think yes.
   13   consistent with the FDA-approved PI; is that                13     Q. Okay. And as part of your analysis did you
   14   correct?                                                    14   learn that Endo provided its sales reps with
   15      A. Yes, and beyond that I've said that the PI            15   approved promotional materials that they were
   16   provides the boundaries as far as, you know, the            16   permitted to use when they were detailing healthcare
   17   latitude that you have to -- the information. So            17   providers?
   18   it's not surprising at all that many of the                 18     A. Yes, Endo and others were -- had materials
   19   marketing messages are things that are found in the         19   that they had both approved for use and materials
   20   PIs, as we've seen in some of the other testimony           20   that were not for general distribution, yes.
   21   and documents that I've been shown today.                   21     Q. And often the materials that fall under the
   22         The thing that I feel like it's overlooked            22   latter category, not for general distribution, were
   23   in all of this is two things: Number one is that            23   labeled as such with a footer or other sort of
   24   the PI is not a prominent piece of information that         24   marketing; is that correct?
   25   people, you know, are constantly relying on, are            25     A. Yes.

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    1     Q. Did you cite any materials that fall under              1      A. Master visual aids? That's not ringing a
    2   that latter category, that were not for promotional          2   bell.
    3   use in Table II, do you recall?                              3      Q. Okay. There is one that you --
    4     A. I don't recall off the top of my head. I                4      A. Oh, yeah.
    5   feel like in my report, though, there are places             5      Q. There is one that you cite and I'm going to
    6   where materials that were not intended for                   6   show you that one in a moment. You cite it in
    7   distribution were cited, yes.                                7   Table II. I'm just curious, do you recall whether
    8     Q. You testified yesterday, I believe --                   8   or not you reviewed all of the master visual aids
    9     A. Can I add something to that?                            9   for Endo for Opana ER, or just that single --
   10     Q. Sure.                                                  10      A. The whole concept of the master visual aids,
   11     A. Specifically with respect to Endo, I know              11   I recall that term now, and I know that there were
   12   that there were materials that are cited with regard        12   numerous visual aids that were referred to in that
   13   to Endo in particular that were never distributed.          13   context, yeah.
   14   Whether they were marked not to be distributed or           14      Q. Do you understand that that master visual
   15   not, I can't recall, because it was -- it was -- the        15   aid for -- as far as Endo goes, it's the primary
   16   example that's coming to mind is one that, as I             16   document that Endo's sales representatives were
   17   mentioned this morning, and you maybe are going to          17   required to use when they were detailing doctors?
   18   ask me --                                                   18      A. As I recall, that was the purpose of that
   19     Q. I'm going to ask you about that.                       19   document.
   20     A. Okay. Well, I'll just save it. That's                  20      Q. In formulating your report, did you consider
   21   fine.                                                       21   Endo's guidance to its sales representatives
   22     Q. I believe you testified yesterday that you,            22   concerning the information that they were required
   23   in your analysis, you relied on defendants'                 23   to present to healthcare providers?
   24   marketing plans; is that correct?                           24      A. Could you do that one more time.
   25     A. Yes.                                                   25      Q. Sorry.
                                                         Page 646                                                    Page 648
    1      Q. And you would agree that marketing plans are           1     A. I lost you on the front end of that.
    2   not used by pharmaceutical companies in their                2     Q. Let me go a little slower on this one. In
    3   communications with healthcare providers; is that            3   formulating your report, did you consider Endo's
    4   fair?                                                        4   guidance to sales representatives concerning the
    5      A. Yes, that's fair. The marketing plans are              5   information that they were required to present to
    6   internal company documents that are very detailed,           6   healthcare providers?
    7   very specific, very much the rules of the road when          7     A. Yes.
    8   it comes to what we're going to do and not going to          8     Q. Okay. And so do you understand that Endo's
    9   do, and they are intended to guide and direct the            9   sales representatives were required to present the
   10   marketing effort.                                           10   complete indication for Opana ER?
   11      Q. And you haven't seen any instances where              11     A. Yes, I do know that.
   12   Endo's sales representatives took a marketing plan          12     Q. And do you understand that Endo's sales
   13   out into the field and presented that to a doctor;          13   representatives were required to present the product
   14   is that correct?                                            14   risks when they were detailing doctors?
   15      A. I have not, and that wouldn't make any sense          15     A. The Opana marketing plans definitely would
   16   for them to do that. It wouldn't be relevant to             16   support that, yes.
   17   their -- to their efforts with the doctors, but what        17     Q. And do you understand that Endo's sales
   18   the marketing plans do map out is the strategy, the         18   representatives were specifically instructed that
   19   themes, the core messages, the focus.                       19   they must present the black box warning and the
   20      Q. Marketing plans are not distributed to                20   important safety information for Opana ER?
   21   anyone outside the company for promotional purposes?        21     A. Yes. Also, the marketing plans would
   22      A. In my experience, I have not seen that                22   support that.
   23   happen, no.                                                 23     Q. Okay. Are you aware that Endo monitored its
   24      Q. Are you familiar with Endo's master visual            24   sales representatives to ensure that they complied
   25   aids for Opana ER?                                          25   with these promotional policies?

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    1     A. I know Endo monitored its employees, yes, to         1 you could implement or adopt the PhRMA code. Do you
    2   the extent for monitoring that specific -- those          2 happen to know specifically how Endo went about
    3   specific behaviors, and others, such as their sales       3 adopting that code and incorporating it into its
    4   performance and so forth.                                 4 compliance policies?
    5     Q. You identified in your report, I think it's          5    A. So, again, with regard to Endo specifically,
    6   maybe in a couple places, the PhRMA, P-h-R-M-A, Code      6 I didn't do that analysis. I looked at the
    7   of Interactions with Healthcare Providers as an           7 marketing, I looked at the marketing for Opana and
    8   example of a standard that pharmaceutical companies       8 how that fits into the big picture of marketing for
    9   should adhere to in their marketing. Is that right?       9 opioids, and then assessed whether the marketing of
   10     A. That's correct.                                     10 opioids adhered to that code.
   11     Q. Are you aware that Endo voluntarily adopted         11    Q. Do you understand that Endo took
   12   the PhRMA code?                                          12 disciplinary action against sales representatives
   13     A. I don't know that I was aware of that or            13 that failed to adhere to its compliance policies?
   14   not. I know that -- my understanding is, is that         14    A. I don't have specific examples that I
   15   all companies have adhered -- voluntarily adhered to     15 recall, but I'm sure that that's consistent with
   16   that.                                                    16 what my expectation would be for a pharmaceutical
   17     Q. Are you aware that Endo incorporated the            17 company.
   18   PhRMA code into its own compliance policies              18    Q. And as part of your analysis, did you review
   19   requiring that all of its employees follow those         19 Endo's compliance policies?
   20   requirements?                                            20    A. I know I've reviewed compliance policies but
   21     A. I don't have an opinion one way or the other        21 I can't specifically cite to an Endo document, no.
   22   about that. I -- it sounds like it would be              22    Q. Are you familiar with Endo's policy that it
   23   correct, if they are voluntarily adhering to the         23 only promoted Opana ER to experienced opioid
   24   code.                                                    24 prescribers?
   25     Q. Is that something that you considered in            25    A. I recall from the Opana marketing plans that

                                                      Page 650                                                      Page 652
    1   formulating your opinion?                                 1   that was -- that was the strategy that was employed,
    2     A. So, you know, in the opinion it -- there are         2   yes.
    3   different levels of adherence to the code. I mean,        3      Q. Do you agree that experienced opioid
    4   at one level we have: "Hey, that's a great idea."         4   prescribers are more likely to understand the risks
    5        At another level: "What are we doing in              5   associated with opioids?
    6   your planning?"                                           6         MS. BAISCH: Object to form.
    7        In another level: "What are we doing                 7      A. That, I don't know for sure. You know, that
    8   operationally?"                                           8   fits into marketing a couple of different ways.
    9        But the analysis that I undertook was                9   Experienced prescribers could be high prescribers,
   10   slightly different than that. It was to examine the      10   but they might not be, they might just be more
   11   marketing of the opioids without respect to Endo or      11   experienced. So it would have a different impact on
   12   Allergan or anybody else, but to look at the             12   the marketing assess -- marketing analysis,
   13   marketing that was implemented for the opioids, and      13   depending on the outcome of that.
   14   then to assess at the end of the day did that            14         In terms of the -- whether or not, you know,
   15   marketing, not Endo or somebody else, but did that       15   that impacted my analysis of Endo, it was part of
   16   marketing violate principles in those codes, and         16   Endo's marketing but again, I didn't look at Endo's
   17   that was the analysis that I undertook.                  17   marketing, I looked at the marketing of opioids.
   18        That's why looking at the individual                18      Q. As part of your analysis did you become
   19   behaviors of each company or for each drug were          19   familiar with Endo's internal promotional material
   20   important, but at the end of the day, what was most      20   review process?
   21   important in my analysis was what did the                21      A. I am aware that they have a promotional
   22   marketing -- what was the impact of the marketing,       22   review committee or a process for that. I did not
   23   why was it done, what impact did it have.                23   undertake to assess the rules their -- the rules of
   24     Q. You talked about -- this may be my                  24   the road or the criteria that they use.
   25   characterization -- a couple of different ways that      25      Q. And so you -- fair to say you didn't factor

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    1   the policies and procedures of that committee into           1   talking about it I am recalling it, yes.
    2   your analysis or your opinions?                              2     Q. Okay. Great. So this is a document that
    3      A. Again, I wasn't looking at the integrity of            3   you cite on Page 87 of your report, which, again, is
    4   their marketing messages. I was looking at what the          4   Exhibit 1, and my reading is that you allege that
    5   messages were. So I didn't need to undertake that            5   this document is an example of how Endo downplayed
    6   analysis to understand, you know, if it was approved         6   the risk of abuse and addiction. Is that fair?
    7   or not approved. I assume that anything that made            7     A. Okay. So we are at --
    8   it to market was approved. I know that there are             8     Q. 87.
    9   plenty of documents that discuss, you know, this is          9     A. 87. 36.
   10   being forwarded for approval or it's going to be            10     Q. It's the second document in the table on
   11   sent, or this has not yet been approved, so don't           11   page 87.
   12   use it for this or that or the other.                       12     A. So this is in the section of extended
   13          Again, the level of analysis that I did              13   release. This may be cited elsewhere in the table.
   14   was -- that wasn't critical. I needed to understand         14     Q. If I read -- if I go back to Page 86 of your
   15   what messages were used, if they were approved or           15   report --
   16   not approved, okay, but the messages that were              16     A. Okay.
   17   employed and what was the impact of those messages.         17     Q. Heading A --
   18      Q. Okay.                                                 18     A. Right.
   19          (Perri Exhibit 34 was marked for                     19     Q. -- says: Extended-release drugs and/or Q12
   20   identification.)                                            20   dosing had fewer peaks and valleys and less chance
   21   BY MR. HENNESSY:                                            21   of addiction and abuse.
   22      Q. Dr. Perri, I'll test my throwing skills.              22     A. Right.
   23   I'll toss to you what's been marked as Exhibit 34.          23     Q. So I was paraphrasing that last part. Is it
   24          MR. HENNESSY: And for the record, this is a          24   fair to say that you're citing this as an example of
   25      document that's been marked Exhibit 34. The              25   a document that downplayed the risk of abuse and

                                                         Page 654                                                     Page 656
    1     first page has a Bates stamp which I'll just               1   addiction?
    2     read: ENDO-CHI_LIT-00550036.                               2     A. And less chance of it. I wouldn't go as far
    3     A. Okay.                                                   3   with this table to say that. I do agree that my
    4     Q. Dr. Perri, do you recognize this document?              4   opinion overall is that these messages tended to
    5     A. Well, I certainly recognize parts of it.                5   downplay the risk of addiction, but in this table it
    6   I'm looking through the whole thing as we're                 6   would just be more the exact messages that were
    7   speaking here.                                               7   presented by the marketing documents that are cited
    8     Q. Maybe I'll -- if it's okay with you, I'll               8   within it.
    9   walk you through it.                                         9     Q. Okay.
   10     A. Okay.                                                  10     A. That title is paraphrased, so it's not
   11     Q. If you start with the cover, this is the               11   exactly what's in every document.
   12   Opana ER with Intac Digital MBA -- which stands for         12     Q. Fair enough.
   13   master visual aid -- Navigator.                             13     A. Okay.
   14     A. Right.                                                 14     Q. And you can put Exhibit 1 to the side. I'm
   15     Q. And you will see on the bottom of the first            15   going to walk you through Exhibit 34.
   16   page, ending in 36, it says: Confidential, for              16     A. Okay.
   17   internal use only, it's intended for sales training         17     Q. Okay. I'd like to start out -- and let me
   18   purposes.                                                   18   know if you need time to review any part of this,
   19     A. Right.                                                 19   but I wanted to start out on the page in the bottom
   20     Q. Do you -- fair to say or do you agree that             20   right that ends in 38. Are you there?
   21   this appears to be the sales training document              21     A. I am almost there.
   22   instructing Endo sales reps on how to present               22     Q. Okay. It's the --
   23   information in the master visual aid to healthcare          23     A. Okay. I'm there.
   24   providers?                                                  24     Q. -- third page.
   25     A. As I recall this document, which as we're              25     A. Oh, you said --

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    1     Q. 38.                                                    1   permitted to select whether or not they presented
    2     A. I'm looking at Page 38 of the slide --                 2   the risks in the black box warning and the Important
    3     Q. Oh, I apologize. I'm looking at the Bates              3   Safety Information when they were meeting with
    4   numbering at the bottom.                                    4   doctors?
    5     A. At Bates 38. Okay. That explains why I                 5     A. Yes, at least to the extent that they were
    6   wasn't getting there as fast as you thought I               6   using the iPad simulator that they had, certainly,
    7   should.                                                     7   yes.
    8     Q. And in particular, I wanted to draw your               8     Q. And this is one example of the master visual
    9   attention to the section on the right side of the           9   aid which, as I mentioned before and I think you
   10   page labeled "Usage Notes."                                10   agreed to, is the primary detailing document that
   11     A. Okay.                                                 11   Endo sales representatives used with doctors; is
   12     Q. And the middle paragraph there, can you read          12   that fair?
   13   that one to me?                                            13     A. Right, at a certain period of time, yes.
   14     A. "When you select your desired asset, the              14     Q. If you go on -- and this is the last thing
   15   required Full Important Safety Information (ISI) is        15   that we'll take a look at in the document -- on
   16   automatically displayed. It is mandatory to talk           16   Page 4 -- the Bates page ending in 46.
   17   through the ISI with the prescriber and tap Continue       17     A. Okay.
   18   at the bottom to go to your selected page."                18     Q. I think you'll -- I have to line up a couple
   19     Q. Okay. You can turn ahead to the next page             19   documents here. I think you will want to go also --
   20   ending in Bates 39, and -- bear with me for a              20   go back to Exhibit 1, because this is where the
   21   moment.                                                    21   language that you're quoting in Exhibit 1 shows up,
   22         Okay. The middle paragraph under sales               22   so if you go to Page 87 of your report.
   23   message, are you with me?                                  23     A. Okay.
   24     A. Uh-huh.                                               24     Q. Okay. Bear with me. I'm just trying to
   25     Q. Okay. Can you read that paragraph for me,             25   find -- this is where your language is cited. I'm
                                                        Page 658                                                    Page 660
    1   please?                                                     1   just trying to figure out where it is.
    2      A. "In order to make informed treatment                  2         Okay. I see it. Okay. So in Exhibit
    3   decisions, it is important that prescribers                 3   Number 34, we're on the page ending in Bates 46,
    4   understand the associated risks when prescribing            4   under Sales Message, in the second paragraph, I
    5   Opana ER with Intac, including the boxed warning.           5   believe you're quoting language from that paragraph
    6   It is your obligation to draw attention to all              6   there that reads: "The original formulation showed
    7   components of the boxed warning and provide a fair          7   a similar oxymorphone plasma concentration at all
    8   and balanced presentation to your healthcare                8   time points over 12 hours."
    9   professionals."                                             9     A. Yes.
   10      Q. Okay. Flipping ahead a couple pages to the           10     Q. Okay. So if you look at other -- I want to
   11   page ending in Bates 41, and there is a section on         11   point you to a couple other portions of this Page 46
   12   the right side, there is a box. I'd like you to            12   where you're quoting language in your report. If
   13   read the part that starts with "Balancing Claims."         13   you look at the sample dialogue that sales reps are
   14      A. "Balancing Claims: To ensure that                    14   given to use with healthcare providers, which
   15   prescribers are fully informed about the benefits          15   appears at the bottom of the document, it appears to
   16   and risks as well as appropriate use of Opana ER           16   me that it contains multiple warnings about the risk
   17   with Intac, it is required to balance your                 17   of abuse and addiction. Is that fair?
   18   presentation by reviewing the indication, boxed            18     A. Yes.
   19   warning, contraindications, warnings, precautions,         19     Q. The first one begins with: "Doctor, Opana
   20   and adverse events. Every product discussion must          20   ER with Intac contains oxymorphone which is an
   21   also include an offer to provide the Full                  21   opioid agonist and a Schedule II controlled
   22   Prescribing Information (PI) of Opana ER with Intac.       22   substance with an abuse liability similar to other
   23      Q. Thank you. Is it fair to say, based on the           23   opioid analgesics."
   24   pages that we've just read in this training                24         And then immediately after that it says:
   25   document, that Endo's sales representatives were not       25   "Doctor, routinely monitor all patients receiving

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    1 Opana ER with Intac for signs of misuse, abuse, and          1   were being used.
    2 addiction during treatment."                                 2          So that's why it didn't really matter if it
    3       Is it -- do you agree with my statement that           3   was for internal use only or external use. It
    4 there are multiple warnings on this page about abuse         4   didn't really matter if -- you know, for example,
    5 and addiction?                                               5   with the Endo document in Table II that never got
    6     A. Yes.                                                  6   used because it was incorrect, it was to simply show
    7     Q. You can put this one aside for a moment -- I          7   the processes that were in place and how the
    8   think for good.                                            8   marketing messages were developed.
    9         I'm going to ask you about Table II,                 9      Q. Okay. So to your last point, I looked
   10   although I don't think you need to look at it. I          10   through Table II. By my count there are at least 18
   11   believe you testified that Table II includes              11   Endo documents that are internal documents that
   12   references from documents that you know never became      12   weren't actually approved in final promotional
   13   live actual marketing documents that were used in         13   pieces, that weren't documents that were ever used
   14   the field. Is that fair?                                  14   with doctors.
   15     A. I don't know that they were never used in            15      A. Okay. Would that include Exhibit 34?
   16   there, but I know they were not used in the form          16      Q. I didn't include Exhibit 34 in there because
   17   they were presented in Table II, yes.                     17   it's a sales training document and those messages
   18     Q. So if they were used --                              18   were delivered to doctors.
   19     A. They would have been corrected.                      19      A. Okay.
   20     Q. -- they would have been corrected?                   20      Q. These were more of the category of marketing
   21     A. Yes.                                                 21   plans, other internal use only documents.
   22     Q. Okay. Is it fair to say that Table II                22      A. Okay. So, again, with any of the
   23   contains other documents that you don't know one way      23   documents that -- so 18 -- first of all, there are
   24   or the other if they ever turned into public              24   hundreds of documents in these table -- in Table II,
   25   marketing messages?                                       25   but when you said there were marketing plans, for
                                                       Page 662                                                         Page 664
    1     A. I -- it's fair to say that there are                  1   example, the marketing plans would never have been
    2   certainly other documents that didn't make it to           2   expected to be distributed to customers, even though
    3   market, for example, there are documents related to        3   they would have contained core messages that might
    4   Moxduo in here, so it's fair to say that there are         4   have been.
    5   some but I wouldn't say that it's the predominance         5         So we have to be careful not to, you know,
    6   of the documents by any means.                             6   distort the view of what we're actually looking at,
    7     Q. I looked through --                                   7   messages that were contemplated, messages that were
    8     A. Can I -- let me just add to that. These --            8   implemented, some that were not ever presented to
    9   like, for example, the Exhibit 34 that we were just        9   customers, I think that's a very small number,
   10   looking at, regardless of if this was presented,          10   certainly not 18, and overall, I think we just have
   11   because this is what the sales reps were being            11   to understand that this table is simply to identify
   12   trained to work with with doctors, so even though         12   messages that were found in the marketing materials
   13   this is not intended for and it was not to be             13   without making judgment about those messages.
   14   distributed, certainly these messages were going out      14      Q. If you don't mind, I would just like to ask
   15   there.                                                    15   a couple more questions about Table II and I think
   16         And when we look at Table II for this               16   we're close to wrapping up.
   17   particular document, it cited just the 12-hour            17         If a message is from an internal document
   18   dosing and the peaks and troughs, this is not a           18   and you haven't cited a document where that specific
   19   judgment being made about the product or the              19   message was ever used with a healthcare provider, is
   20   message. It's simply showing that this message was        20   it fair to say that you're not going to offer the
   21   used with respect to this product.                        21   opinion that that statement from the internal
   22         And, you know, as I've been answering               22   document influenced any prescribing decision?
   23   questions for the last two days, I've tried to make       23      A. Yes, I absolutely agree with that. I would
   24   that clear, that I didn't evaluate the messages from      24   never make that quantum leap, that a message that
   25   a falsehood perspective, it was simply what messages      25   was never presented to a customer influenced

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    1 prescribing, but it did influence marketing and it               1             CERTIFICATE
    2 was part of the marketing program, so it was                     2        I, SUSAN D. WASILEWSKI, Registered
    3 important for me to identify that.                               3 Professional Reporter, Certified Realtime Reporter
    4         And, you know, methodologically, it's very               4 and Certified Realtime Captioner, do hereby certify
    5   important for me to include everything that I saw so           5 that, pursuant to notice, the deposition of MATTHEW
    6   that if somebody else were to try to repeat this               6 PERRI, III, BS Pharm, Ph.D., RPh, was duly taken on
    7   analysis, they would see all the documents that I              7 Wednesday, April 24, 2019, at 8:35 a.m. before me.
    8   saw, so I find it important to be as complete as               8        The said MATTHEW PERRI, III, BS Pharm, Ph.D.,
    9   possible in those documents.                                   9 RPh, was duly sworn by me according to law to tell
   10     Q. Okay. So I think I'm onto my last topic,                 10 the truth, the whole truth and nothing but the truth
   11   and this relates to the document that you referenced          11 and thereupon did testify as set forth in the above
   12   earlier, an Endo document which is cited on Page 124          12 transcript of testimony. The testimony was taken
   13   of Exhibit 1.                                                 13 down stenographically by me. I do further certify
   14     A. Uh-huh. Okay.                                            14 that the above deposition is full, complete, and a
   15     Q. You beat me this time. Bear with me.                     15 true record of all the testimony given by the said
   16         Okay. I believe the document that you were              16 witness, and that a review of the transcript was
   17   referring to earlier in your testimony is at the              17 requested.
   18   very bottom of Page 124 of Exhibit 1.                         18
   19     A. It is.                                                   19 ______________________________________________________
   20     Q. It's the document with the Bates number                  20 Susan D. Wasilewski, RPR, CRR, CCP
   21   ENDO-CHI_LIT-00418075, and the message in your table          21 (The foregoing certification of this transcript does
   22   is: "True 12-hour dosing for Veterans and Military            22 not apply to any reproduction of the same by any
   23   Personnel with mild-to-moderate chronic pain."                23 means, unless under the direct control and/or
   24         Are you aware that this piece was never                 24 supervision of the certifying reporter.)
   25   actually used by Endo for promotion -- for any                25

                                                           Page 666                                                             Page 668
    1 promotional efforts?                                             1               INSTRUCTIONS TO WITNESS
    2     A. So I am aware that this piece wasn't used by              2
    3   Endo because there was an error in the cover -- the            3
    4   sort of the headline of this. It said                          4         Please read your deposition over carefully
    5   mild-to-moderate pain when it should have said                 5   and make any necessary corrections. You should
    6   moderate-to-severe.                                            6   state the reason in the appropriate space on the
    7         My understanding from -- was that that would             7   errata sheet for any corrections that are made.
    8   be corrected but that the balance of the information           8
    9   would still be used.                                           9        After doing so, please sign the errata sheet
   10     Q. Did you find an example where a final piece              10   and date it. It will be attached to your
   11   was ever used?                                                11   deposition.
   12     A. I haven't found that yet, but I need to look             12
   13   for that if I'm going to say that it was used.                13        It is imperative that you return the
   14     Q. And I looked and was not able to find a                  14   original errata sheet to the deposing attorney
   15   final example of this piece being used.                       15   within thirty (30) days of receipt of the deposition
   16     A. I want to ask -- I want to ask a question                16   transcript by you. If you fail to do so, the
   17   but I know that's not my -- so --                             17   deposition transcript may be deemed to be accurate
   18         MR. HENNESSY: Thank you very much for your              18   and may be used in court.
   19     time. I appreciate it.                                      19
   20         THE VIDEOGRAPHER: We are now going off the              20
   21     video record. The time is currently 4:55 p.m.               21
   22     This is the end of Media Number 6.                          22
   23         (Whereupon, the deposition concluded at                 23
   24   4:55 p.m.)                                                    24
   25                                                                 25


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    1              ------                                                1           LAWYER'S NOTES
    2              ERRATA                                                2 PAGE LINE
    3              ------                                                3 _____ _____ _____________________________________
    4 PAGE LINE CHANGE                                                   4 _____ _____ _____________________________________
    5 ____ ____ _________________________________________                5 _____ _____ _____________________________________
    6   REASON: _____________________________________________            6 _____ _____ _____________________________________
    7 ____ ____ _________________________________________                7 _____ _____ _____________________________________
    8   REASON: _____________________________________________            8 _____ _____ _____________________________________
    9 ____ ____ _________________________________________                9 _____ _____ _____________________________________
   10   REASON: _____________________________________________ 10 _____ _____ _____________________________________
   11 ____ ____ _________________________________________               11 _____ _____ _____________________________________
   12   REASON: _____________________________________________ 12 _____ _____ _____________________________________
   13 ____ ____ _________________________________________               13 _____ _____ _____________________________________
   14   REASON: _____________________________________________ 14 _____ _____ _____________________________________
   15 ____ ____ _________________________________________               15 _____ _____ _____________________________________
   16   REASON: _____________________________________________ 16 _____ _____ _____________________________________
   17 ____ ____ _________________________________________               17 _____ _____ _____________________________________
   18   REASON: _____________________________________________ 18 _____ _____ _____________________________________
   19 ____ ____ _________________________________________               19 _____ _____ _____________________________________
   20   REASON: _____________________________________________ 20 _____ _____ _____________________________________
   21 ____ ____ _________________________________________               21 _____ _____ _____________________________________
   22   REASON: _____________________________________________ 22 _____ _____ _____________________________________
   23 ____ ____ _________________________________________               23 _____ _____ _____________________________________
   24   REASON: _____________________________________________ 24 _____ _____ _____________________________________
   25                                                                   25

                                                             Page 670
    1          ACKNOWLEDGMENT OF DEPONENT
    2
    3       I, ______________________________, do hereby
    4 acknowledge that I have read the foregoing pages,
    5 352 through 669, and that the same is a correct
    6 transcription of the answers given by me to the
    7 questions therein propounded, except for the
    8 corrections or changes in form or substance, if any,
    9 noted in the attached Errata Sheet.
   10
   11
   12 ____________________________________________________
   13 MATTHEW PERRI, III, BS Pharm, Ph.D., RPh               DATE
   14
   15
   16
   17
   18 Subscribed and sworn to before me this
   19 ____ day of ______________, 20___.
   20 My Commission expires: _________________
   21
   22 ________________________________________
        Notary Public
   23
   24
   25


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